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           Note: The material enclosed below is a non-exhaustive sample of published
                 articles, books and other media concerning Plaintiffs and Alfa.

Terror is a Fact of Russian Competition, Moscow News, July 22, 1994 (“‘To become a
millionaire in our country it is not at all necessary to have a good head and specialized knowledge,’
says Aven, who is now the president of the ‘Alpha Bank’. ‘Often, it is enough to have active
support in the government, the parliament, local power structures and law-enforcement agencies.
One fine day your insignificant bank is authorized, for instance, to conduct operations with
budgetary funds. Or quotas are generously allotted to a company which is in no way connected
with production for the export of oil, timber and gas. In other words, you are appointed a
millionaire, as someone put it very aptly.’”) (G001)

Privatization Isn't Getting Any Cleaner, The Moscow Times, July 3, 1997 (“The terms of this
[state auction] process have been encumbered with ridiculous conditions which virtually guarantee
that Alpha Bank, a group with close ties to the [Kremlin] Cabinet, will win.”) (G004)

Auction of Russian Oil Firm Angers Investors, Wash. Post, Nov. 27, 1999 (“[T]he European
Bank for Reconstruction and Development issued a statement tonight calling the bankruptcy
auction ‘a sham’ and ‘wholly contrary to the concepts of fairness and transparency’ … Tyumen
[Oil] is jointly owned by one of Moscow's leading oligarchs, Mikhail Fridman of Alpha Bank[.]”)
(G005)

Rules of War, The Economist, Dec. 2, 1999 (“BP is furious about [Alfa-owned] TNK’s tactics,
and the Russian government's inability to put a stop to them … the episode has served mainly to
confirm most foreign investors’ suspicion that some of the best investments in Russia are in bribes
and guns.”) (G007)

Putin urged to apply the Pinochet stick, The Guardian, Mar. 30, 2000 (“Petr Aven, president of
Alfa … and a key business supporter of the newly elected president, said that Mr Putin should
model his regime on that of Augusto Pinochet of Chile, combining Reaganomics with dictatorial
controls.”) (G009)

The Autumn of the Oligarchs, N.Y. Times, Oct. 8, 2000 (“The accusation -- that the Alfa Group's
leaders had organized drug shipments from Central Asia to Europe -- was based on a United States
intelligence source, based in turn on an interview with an unnamed former K.G.B. agent. When I
asked Fridman about it, he shrugged and said, ‘That stuff's always around.’”) (G011)

Brains, Bare Knuckles Are Keys To Success of Firm in Rich Deal, Wall St. J., Feb. 22, 2001
(“Mikhail Fridman founded OAO Alfa Bank in 1991 and soon after recruited Pyotr Aven, former
minister of foreign economic relations, to raise Alfa's political profile. The partners were among a
handful of businessmen who helped to finance Boris Yeltsin's re-election campaign in 1996. The
Kremlin rewarded these men by selling them state-owned oil and metals companies at bargain-
basement prices. … Alfa Group remains among the most influential in the Kremlin. President
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Vladimir Putin included Alfa Group among those invited to a Kremlin gathering last month and
asked them to contribute millions to a fund to help veterans of Russia's war in Chechnya.”) (G023)

The New Face of Russia's Oligopoly, The Moscow Times, Nov. 1, 2001 (“Alfa has managed to
build one of the most powerful and effective political lobbies in the country. The appointment last
year of Vladislav Surkov, an active Alfa lobbyist, as the deputy head of the presidential
administration paved the way for other Alfa agents to follow in different branches of power[.]”)
(G026)

Power Broker in Russia’s Shifting Scene, Fin. Times, Aug. 28, 2003 (“Mr. Fridman makes no
bones about the way he and his counterparts made their money. ‘Of course we benefited from
events in the country over the past 10 years. Of course we understand that the distribution of state
property was not very objective. But we used our chance, and people are angry about it,’ he says.”)
(G035)

The ‘Evolving Oligarch’, Institutional Investor, Aug. 31, 2003 (“Fridman is a heavy contributor
to the United Russia Party, the political entity most closely linked to Putin, who remains highly
popular and heavily favored to win a second term. Fridman leaves no doubt that he will support
Putin and the United Russia Party. "Under Putin the right of business to exist is no longer in
question," says Fridman, who points out that threats to businesses and their owners were
commonplace during the Yeltsin era.”) (G036)

As Russia Squeezes Big Business, A Tycoon Decides to Pick a Fight, Wall St. J., Oct. 6, 2005
(“So far, Alfa has managed to avoid trouble with the Kremlin itself. Mr. Fridman has tried to
insulate himself by hiring former top government officials as advisers, including Pyotr Aven, a
former trade minister and an old friend of Mr. Putin who meets the president regularly.”) (G048)

Russian banker thanks Putin for help with huge Turkish mobile phone deal, BBC Monitoring
Former Soviet Union, Dec. 5, 2005 (“[Aven, captioned as president of the Alfa-Bank open joint-
stock company, addressing Putin in his office] ‘We paid 3.2bn dollars to buy a stake in Turkey's
biggest telephone operator, Turkcell. I'd like to say thank you, because the deal would not have
gone through without your own support[.]’”) (G058)

As the West Pushes Economic Sanctions Against Tehran, Russian Billionaire Dials Up Iran
Telecom Play, Fox News, June 30, 2007 (“‘We should find solutions that would not violate Iran's
right to use modern technologies,’ Russia's President Vladimir Putin said a month ago. Some of
those technologies have been aided by Alfa’s banking arm, which serves as the primary financial
agent for the nuclear power project. A year ago, Alfa made a huge loan – on ‘privileged terms,’
according to Ukraine's government – to finance a state-owned Ukrainian company’s ability to build
and sell aircraft to countries that include Iran.”) (G060)

Fate of TNK-BP joint venture lies in a Russian tussle, N.Y. Times, July 7, 2008 (“People close
to TNK-BP say there is strong evidence that German Khan, one of the billionaire co-owners and
an executive director at TNK-BP, encouraged the official pressure as part of a campaign to weaken
BP's control of the company. They pointed to signals including an unauthorized letter from Khan
in April to the Russian immigration authorities asking that the number of permits for foreigners at



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the company be cut drastically. … Khan declined to be interviewed but the Russian billionaire
Mikhail Fridman, another partner in the venture, said the wave of action facing TNK-BP was just
part of normal law enforcement[.]”) (G064)

Mikhail Fridman: Background Investigation, Stratfor, Aug. 2, 2007 (“The Duma’s International
Affairs Committee often has examined the impact Alfa’s behavior is having on Russia’s
international reputation. Duma committee reports regularly note that the ‘foreign economic
activities of Alfa Group are accumulating a critical mass of problems which are dangerous to the
reputation of Russian business and whole economy of the country.’ The Duma is a fully owned
and operated tool of the Kremlin, so Fridman need not worry about the Duma causing problems
unless the Kremlin wills it to be so. But it must never be forgotten that Fridman’s position, similar
to the position of any businessman in Russia, is wholly dependent upon the whim of the Kremlin.”)
(G068)

A Statement from Alfa-Bank On Recent Media Reports About Financing In Iran, Alfa Bank,
Sep. 4, 2007 (“A recent article published on the internet web site Foxnews.com, and republished
elsewhere, falsely stated that Alfa-Bank is the primary financial agent in the development of
Iran’s nuclear power plant at Bushehr and erroneously suggested that Alfa-Bank, and by extension
its Chairman, Mikhail Fridman, and the Alfa Group as a whole, plays a principal and central role
in the development of Iran’s nuclear power program and the sale of aircraft to the government of
Iran.”) (G095)

A $50 Billion Bailout in Russia Favors the Rich and Connected, N.Y. Times (Oct. 30, 2008)
(“Mikhail M. Fridman, the principal partner in Alfa Group, an investment company, was granted
a $2 billion letter of credit from [state bank] VEB that rescued the most valuable asset in the
group’s telecommunications holdings … By Friday, shares pledged as collateral for a loan from
Deutsche Bank had fallen below the triggers for margin calls, and the bank could have seized the
44 percent stake in VimpelCom in what would have been a major blow to the Alfa Group. ‘They
were minutes away,’ from losing the company, said a representative for a large European company
familiar with the talks. … But on Monday, a judge in the Siberian city of Omsk had issued a
surprise injunction freezing trades in VimpelCom shares owned by Altimo, Alfa telecom’s
subsidiary, essentially preventing Deutsche Bank from accessing its collateral even if it wanted to.
The case was unrelated to the loan negotiations, but the timing was suspicious, according to the
European executive. By Tuesday, the loan guarantee was in place and on Wednesday the court
released the shares.”) (G096)

BP, Russian billionaires, and the Kremlin: A Power Triangle That Never Was, The Oxford
Institute for Energy Studies, Nov. 2011 (“[T]his consortium of billionaires has traditionally
enjoyed excellent communication channels with the Kremlin. …[Alfa-owened] AAR could
present their objections to the BP–Rosneft deal directly to Vladimir Putin and Dmitry Medvedev”)
(G098)

TNK-BP Russian Partner Relishes Conflict; Taking Lessons from 'The Godfather,' Russian
Billionaire Expresses Pride in 'Tough Relations With Our Partners', Wall St. J., Nov. 14 2011
(“Bob Dudley, who then was chief executive of TNK-BP and now runs BP, had to leave Russia in
2008 amid a rising wave of pressure on foreign executives from regulators and courts in Russia.



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People close to BP blamed the problems on [Alfa-owned] AAR, in particular, Mr. Khan. Mr.
Dudley at the time said he held meetings on the balcony of his downtown Moscow office to avoid
eavesdropping. ‘It was a nice balcony,’ Mr. Khan recalls, saying he wasn't aware of eavesdropping.
… ‘There's nothing personal here, it's just business,’ Mr. Khan says.”) (G116)

In Bid for BP’s Stake of Venture, a Former Spy Becomes the Focus, N.Y. Times, July 24, 2012,
(“The former director of logistics accused one of the Russian shareholders, German Khan … of
funneling hundreds of millions of dollars in bribes to Russian officials in the guise of
subcontracts.”) (G117)

The Four Horsemen of Russia’s Economic Apocalypse, Forbes, Feb. 9, 2015 (“The closing of
the sale of TNK-BP … marked another move by Vladimir Putin to centralize power. Rosneft Chief
Executive Igor Sechin, often described as Russia's second-most-powerful man … was the central
figure behind the deal.”) (G119)

Mikhail Fridman: The Alpha oligarch, Fin. Times, Mar. 5, 2015 (“Westerners were amazed at
[Alfa-owned] AAR's audacity in stymying a transaction that had been negotiated by Igor Sechin,
Rosneft's powerful chairman, and blessed by Mr Putin himself. ‘It was like in Spinal Tap, the amp
that goes to 11,’ says the person close to TNK-BP. But Mr Fridman’s intervention did not appear
to harm his standing with the Kremlin. Within months, TNK-BP had been acquired by Rosneft,
and Alfa came away with $14bn in cash.”) (G124)

Russian Tycoon Fridman Should Make U.K. Feel Nervous, The Moscow Times, Mar. 10, 2015
(“Fridman’s access to top Russian officials is undisputed . . . Fridman's ties extend to the heart of
the Kremlin.”) (G126)

Whitewashing Putin's Kleptocracy, Hudson Institute, Nov. 9, 2015 (“Mr. Aven’s long-standing
business relations to Putin personally are no big secret in Russia. … It was Mr. Aven who made it
possible for Putin to originate at least part of his corruption schemes in St. Petersburg.”) (G130)

Putin’s older daughter: a specialist in biomedical science, Reuters, Nov. 10, 2015 (“Maria
[Faassen] is a PhD candidate at the Endocrinology Research Centre in Moscow, which runs a
charity project, Alfa-Endo ... Alfa-Endo is funded by Alfa Bank, a large Russian bank with
subsidiaries in the United States, Britain and Cyprus. … An official at the bank said: “Alfa Bank,
and broadly speaking Alfa Group, act as financial sponsors for the project and that’s it ... We are
not aware who else is participating in the project otherwise.”) (G133)

Exclusive “No Tie” Interview with head of the Alfa Banking Holding, Petr Aven on business,
childhood and friends, Jewish Business News, Nov. 19, 2015 (“I met with Mikhail Fridman in
May 1993. Although we are very different people, our union was built on a pragmatic basis: I
needed the money, and he needed the ideas and useful contacts at the government.”) (G135)

Lunch with the FT: Mikhail Fridman, Fin. Times, Apr. 1, 2016 (“Putin said he hoped Alfa and
its partners would invest the proceeds from the Rosneft deal in Russia. Fridman says he is still
committed to his home market, but ‘the Russian economy is not in the best shape. And generally
it would be inappropriate to put all our eggs in one basket.’”) (G143)



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Mikhail Fridman – the Teflon oligarch new to Londongrad, bne Intellinews, Apr. 11, 2016 (“A
former Alfa executive tells bne IntelliNews that Fridman and his partners were allowed to keep
the $14bn proceeds of their sale of TNK-BP offshore. ‘Abramovich was allowed to keep his
proceeds … and Fridman/Alfa were allowed to too,’ said the former Alfa executive. ‘This is
probably driven by their personal relations with Putin.’”) (G151)

PROFILE: Mikhail Fridman, chairman of Alfa Group, bne Intellinews, May 10, 2017 (“[T]he
state was forced to pay through the nose for the company and Fridman was effectively allowed to
exit Russia with the billions of dollars he’d earned from the deal. … Fridman has already invested
$1bn of his payout into New York real estate via a friend of his there. Ironically, he has been
allowed to do this despite Putin’s warning to keep the money in the motherland. The fact that he
could is a testament to the work that Aven has done behind the scenes to shore up Alfa political
krysha, or protection in government circles.”) (G155)

Petr Aven: The Russian oligarch with eye for art, not yachts, Fin. Times, July 15, 2017 (“Aven
chooses ‘Les maisonnettes rouges’ (1922) by Marc Chagall. ‘I bought this in an auction at
Sotheby's in London in 2015 [the recorded price is 3.3m],’ he says. ‘It turned out I was bidding
unknowingly against my business partner German Khan who had also started to collect works by
Russian painters of Jewish origin. The painting is simultaneously about Russia, the Jewish attitude
towards life - that of eternal movement - and of course it is also of the highest artistic quality.’”)
(G161)

BP chief 'poisoned' in Russia plot, claims former colleague, The Telegraph, Apr. 29, 2018 (“The
harassment of Western staff took place on many levels. They followed people; they broke into
their apartments. One was warned it wasn’t safe to return to Russia. “With Dudley and a few senior
managers they also started to open different court cases against them personally rather than just
BP. That was the first hint to Dudley he should get out. But he wouldn’t. He was stubborn. “He
thought he could run the company because he had the law on his side so he stuck it out in Moscow.
“This went on for several months and finally they decided to send him a better message by
poisoning his food.”) (G164)

When Trump won, Putin Deployed His Oligarchs, Politico, Apr. 18, 2019 (“Putin said he had
been struggling to get messages to Trump’s inner circle and urged Aven to take steps to protect
his bank from additional U.S. penalties, according to special counsel Robert Mueller’s report,
which details the episode. Aven perceived that as an order, not a request, according to Mueller,
and understood ‘that there would be consequences if he did not follow through.’ … According to
Mueller, Aven told Burt that ‘someone high in the Russian government’ had expressed ‘interest in
establishing a communication channel between the Kremlin and the Trump transition team.’ Steve
Hall, who served as the CIA’s chief of Russian operations during Barack Obama’s second term,
told POLITICO that tasking oligarchs to conduct ‘hybrid wars and information operations’ is par
for the course for Putin. ‘He’s going to rely on all the tools in his toolbox to go after these important
targets,’ he said.”) (G167)

Oligarchs, as U.S. Arts Patrons, Present a Softer Image of Russia, N.Y. Times, Oct. 6, 2019
(“These patrons have been quite public in their philanthropy, and there is little evidence that their



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donations have been directed or coordinated by Moscow. But they all enjoy good relations with
the Kremlin — a prerequisite to flourish in business in Russia — and their giving fits seamlessly
with President Vladimir V. Putin’s expanding efforts to use the ‘soft power’ of cultural diplomacy
as a tool of foreign policy. … Petr Aven, for example, leads one of Russia’s largest banks and has
contributed financially to exhibitions on Russian art at the Tate Modern and Royal Academy of
Arts in London, where he is also a trustee. … But a spokesman for Mr. Aven said ‘he has not
funded or contributed art to any exhibition at the behest of or in coordination with the government
of Russia.’”) (G172)

Defending the United States against Russian dark money, The Atlantic Council, Nov. 17, 2020
(“[T]he great concern is the Kremlin forcing big Russian private businessmen to work for it. On
the one hand, these businessmen have a large share of their assets in the West, notably in the United
States. On the other hand, they still have substantial assets in Russia. The Kremlin can beat them
both in Russia by confiscating their Russian assets and in the West through Western sanctions.
Therefore, Russian oligarchs are becoming ever more dependent on the Kremlin the richer they
get, because the Kremlin controls their assets both in the West (indirectly) and in Russia (directly)
and they have more to lose. The Mueller report offers ample evidence of Kremlin pressure on
private businessmen. ‘Petr Aven, a Russian national who heads Alfa-Bank … met on a quarterly
basis with Putin… Aven said that he took these meetings seriously and understood that any
suggestions or critiques that Putin made during these meetings were implicit directives, and that
there would be consequences for Aven if he did not follow through.’”) (G181)




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                                                    305    of    916 DOCUMENTS

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                                                          July    22,    1994

SECTION:     POLITICS;          No.     29

LENGTH: 2280       words

HEADLINE: Terror           is    a fact       of    Russian      competition

BYLINE:     Igor   Baranovsky

HIGHLIGHT:
The struggle     for the country's   currency markets                            and   the   redivision       of    property
has taken    the lives   of more than 700 businessmen                             in   the   past    year    and    a half.

BODY:


      As was expected,       the decree      ''On urgent      measures      for the protection           of the
population     from banditry       and other     manifestations         of organized          crime"    has not
substantially      improved     the position      of Russian       citizens,        including
entrepreneurs.       Criminal      terror   continues       to gather       strength.       Since    the year's
beginning,     it has claimed        the lives    of more than 50 businessmen                  in Moscow alone.
Nor have murders       subsided      after  the presidential           edict.                                   •
       On June 15, deputy       director-general           of the firm "Ural"          was killed     by two
gunshots,     one in the chest        and another        in the temple,        on the doorstep        of his
company in Nizhni        Kislovsky      Lane. A week later,           Nikolai     Belousov,     director-
general     of the Chekhov printing           company,      was killed      in the entrance        of his
house.    He was shot point-blank            with a PM pistol.         During     the day in early        July,
unknown persons       riddled     two employees        of the firm "Trimeks"            with submachine        gun
bullets     on Prospect     Mira.    Criminals      recently     created      a bloodbath      on the 13th
floor    of Moscow State       University's       chemical      department      hostel,     where the
"Alliance"     company rents       premises.      As a result       of the raid,        one person      was
killed     and two were seriously           wounded.
      To be sure,        these    crimes     are not on the same level            as the assassination
attempt      on Boris      Berezovsky,       chairman    of the "LogoVAZ" board of directors                 and
director-general           of the "AWA" company            (though    they hold the same place             on the
scale     of human tragedies).            But even these       murders,      which are neither         the most
refined      nor cunning,       are seldom solved.          According      to data   from the Moscow
Procurator's        Office,     only in 15-20 cases           out of 100 do investigators              manage to
track     offenders     down. Contract          killings    of particularly        important     Russian
businessmen        are never      solved;,      the percentage      of successful       investigations        is
zero.
     The investigation                has    been   completed.          Should   one   forget     about     it?
      The impunity     of the perpetrators           of the bloodiest    and loudest                        crimes   seems
to frighten     Russian     businessmen       the most.     This is why many prefer                         to remain
anonymous     when discussing       this    slippery     subject.  For example,    one                      of Russia's
biggest    bankers    shared    an interesting        idea with me.
                                                                                                       DEPOSITION
                                                                                                         EXHIBIT
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        "Ten to fifteen        thousand     dollars     and you are gone,"          complained        the
financier.        "It's   simple     and not expensive           as the prices      go now. Why don't
killers     demand a hundred           or two hundred         thousand      dollars   for our lives          from
their     employers?     Because       they risk     practically         nothing:   they shoot,         throw away
the pistol       and disappear.          If the militia         caught    them even every other            time and
murders     were subject         to show trials,        then the number ·of people             fond of shooting
would decrease.         In any case,        the price       of a businessman's         life   would rise
sharply,      for real     risk    would require        real     money. You will       agree     that    not
everyone,       even very rich people,            could     afford     to pay hundreds       of thousands         of
dollars     for a contract         killer."
       It looks,     however,    like   the process       is going    in the opposite             direction;
human lives       are getting      cheaper.     The reasons      for this       are the incredible            ease
with which criminals          earn their       daily   bread   and their        practical       invulnerability
before    the law. Let us recall            the most scandalous         recent       murders:      the shooting
of Vladimir       Rovensky    and Ilia      Medkov, presidents        of the Techno-bank               and DIAM
bank,    and of Nikolai       Likhachev,       chairman     of the board of directors                of
Rosselkhozbank.        None of these        crimes    has been successfully             investigated.         Another
still    unsolved     mystery    is the death        of Otari    Kvantrishvili.
       It seems there    are few chances         for positive       results    in the investigation      of
the attempt     on Boris     Berezovsky's      life.     No progress       has been made, with the
exception     of the numerous      versions      offered      and vigorously      discussed   by the
press.    Nor have the two billion          roubles      allocated     by AvtoVAZ to apprehend       the
culprits     had any result.
      We tried     to clarify     some details      of the assassination        attempt   with
Berezovsky      himself.     But, through     his confidential       aides,    he refused    point  blank
to make any comment.          At present,     Berezovsky     is likely      in a distant   foreign    land,
avoiding     any contact      with the press      or the investigators.         Is he motivated     by
haug~tiness,       extreme    preoccupation      with his affairs,       or fear?     The most likely
motive    is fear.
      A stone      in   the    mouth
      Law enforcement            officers    believe     that    most    contract      killings      can   not    be
solved   because   of         fear.
      "As a rule,    future    victims   always   know, or can at                   least    guess    who intends to
eliminate     them and why," says Colonel         Dmitry     Medvedev,                head of the 10th division
of the main department         for combating     organized     crime.               "However,      for several
reasons,    foremost    the fear of retaliatory         action    from              criminal     organizations,
businessmen      do not report      such threats    to the militia."
      Businessmen's          fear   is well founded.           There is still         no witness        protection       law
in Russia.       If something         happens     to you after          you have talked         to the militia,
nobody will        be responsible.          Besides,      you never        know what kind of law-enforcement
officer     will    take your report.           It is no secret            that  different        people     work in law
enforcement        agencies.      And, finally,         where is the guarantee               that    they are not
informers      for your rival?           In 1993 alone,         671 militia       members were convicted               for
various     service     crimes,       including       contacts       with criminal       organizations.          One
could rely       on private       protection        organizations,           more than 140 have official
licenses.        But statistics          are unsatisfactory             here too:     since     the beginning        of
the year 65 crimes            were committed         against       the guards     of private         agencies,     while
they themselves         committed        68 crimes.       So you have to think             ten times       before
asking    them for help.
     "Our work is also made terribly                difficult    by the refined         methods of
mercenary   killers,"        continues      Colonel    Medvedev.     "Political-criminal        structures
today actually        'import'     professional      murderers.    If a person        has to be removed,


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say,  in Moscow, a killer      is ordered  from Tbilisi,                    or even from Berlin   or: Vienna,
and vice   versa.   The pistol   goes in the trash     can,                 the gloves  are thrown next to
it,  and the killer    flies   home the same day.'
      Medvedev believes     that the cause of the majority           of crimes       against
businessmen     is the growing   criminalization       of Russian      industrial       and bank
structures     and the paralysis    that    has seized   our legislative          and judicial
systems.    This view is shared     by many direct      participants       in the economic
process.
      Joining    the   ranks      of    the   millionaires      through     violence
      According    to Peter        Aven, a former        minister      of   foreign     trade  well known in
business     and political         circles,       a symbiotic     cancer      composed     of business,
criminality     and power,         ie.,     corruption,      is eating      into    the body of the Russian
economy.
       "To become a millionaire          in our country       it is not at all necessary              to have a
good head and specialized            knowledge,"     says Aven, who is now the president                 of the
"Alpha Bank".        "Often,    it is enough to have active             support     in the government,       the
parliament,      local    power structures        and law-enforcement           agencies.   One fine day
your insignificant          bank is authorized,        for instance,        to conduct     operations     with
budgetary     funds.     Or quotas    are generously      allotted       to a company which is in no
way connected       with production        for the export       of oil,     timber     and gas.    In other
words,    you are appointed        a millionaire,       as someone put it very aptly.
       Nowadays,     says Aven, it is not immediately            clear    whether     you are dealing
with a bandit       or a businessman.        These two seemingly        opposed     personalities         can
often     be incorporated        into one person.      Unfortunately,        people     are now used to
criminal     methods,     and sometimes      they are simply       encouraged      to use them. Where
the law is silent,         where there     are no definite       rules    of ownership,        where
arbitration       is inactive,       where the law enforcement         agencies      display     complete
impotence,      the mafia      inevitably    begins  to proliferate.        And the mafia uses the
language     of terror.
     Nor is its  arsenal   limited   to murder,                intimidation        and beatings;      it actively
uses television,    the press    and the servants                 of Themis,       it engages    to   strike
blows to the reputations      of its   recalcitrant                 competitors.
       "I was also warned once that      if I did not obey my competitors'           rules     of the
game, a powerful      attack  would be mounted    against      me and my bank,   first     in the
press,"    says Peter    Aven. "I was shown crazy,      utterly    unfounded,   compromising
material.     Only my firm determination     to go to court       saved the situation        that
time."
     Hundreds    of businessmen       are subjected    daily   to criminal   terr6r  in Russia~
While this    continues,       our honest  businesses     will   be bound firmly,   hand and foot,
by the invisible       fetters    of fear.    Shall   we wait until     they also turn to crime?



LOAD-DATE: February         20,        1995




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The Washington Post


Auction of Russian Oil Firm Angers Investors

By David Hoffman
November 27, 1999

The bankruptcy auction of a Siberian oil company today intensified a fresh conflict over the riches of the
former Soviet Union that continues to force foreign investors to the sidelines.

The oil company Chernogorneft, which sits astride the northern part of the huge Samotlor oil field in western
Siberia, was sold to Tyumen Oil Co. for $176 million. Tyumen, Russia's sixth-largest oil company, already
controls the southern part of the Samotlor field. The auction was held in the city of Nizhnevartovsk, about
1,600 miles east of Moscow.

The sale triggered howls of protest from the owners of Chernogorneft's parent company, Sidanco. They said
the bankruptcy process was flawed and the auction unnecessary, and earlier had filed suit in New York and
Russia in an attempt to stop the sale.

Among those contesting the sale are BP Amoco PLC, which invested half a billion dollars in Sidanco in 1997,
and the Sputnik Fund, an investment fund run by financier Boris Jordan, which includes investments by
George Soros and the Harvard Endowment.

The investors have said the Chernogorneft sale is another key test case of whether Russia will protect foreign
investors. While direct foreign investment in Russia was never huge during the boom years of 1997 and 1998,
it now has slowed to a trickle. One reason, analysts said, is the lack of protection for minority shareholders
and foreign investors.

Russia also has some of the world's worst credit ratings after last year's default on its domestic debts. This has
made it even more difficult for Russian firms, which need capital to restructure, to attract overseas loans and
capital.

In London, the European Bank for Reconstruction and Development issued a statement tonight calling the
bankruptcy auction "a sham" and "wholly contrary to the concepts of fairness and transparency" that "could
have severe repercussions on the investment climate in Russia." Justice, the bank said, "has been perverted."

Sidanco was one of the vertically integrated oil majors carved out of the state-owned Soviet oil industry, and it
was bought in 1995-96 by the Russian tycoon Vladimir Potanin and his allies through a series of controversial
auctions at rock-bottom prices.

However, Sidanco now is falling apart, with key production units being bankrupted and sold off at auctions.
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Sidanco's owners have accused Tyumen of foul play in the courts in making a bid for the oil production units,
which Tyumen denies.

Despite the protests and lawsuits, the bankruptcy sale of Chernogorneft went ahead as scheduled, and
Tyumen was announced as the winner by the Russian Federal Property Fund. The winning bid of $176 million
is but a fraction of the annual value of the company's production of 125,000 barrels a day of crude oil, worth
about $1.1 billion at current world oil prices.

BP Amoco, which holds 10 percent of Sidanco, called the bankruptcy process "seriously flawed" and said it
was reviewing its future in Russia as a result. On Thursday BP Amoco said it believed the tender was illegal
and that Chernogorneft was a viable, profit-making company.

Potanin's holding company, Interros, which owns 40 percent of Sidanco, also protested the sale today, saying
it "was conducted in an atmosphere of unprecedented pressure on the court system."

Tyumen President Simon Kukes replied to the criticism by saying "it is critical for the Russian oil industry to
remain . . . friendly to foreign investments." He said the oil company "is prepared to enter into a long-term
strategic alliance" with BP Amoco and other investors that "would ensure that these investors do not suffer a
loss from the sale of Chernogorneft." He did not offer details.

Tyumen is jointly owned by one of Moscow's leading oligarchs, Mikhail Fridman of Alpha Bank, and New
York-based Access Industries Inc., which is seeking $489 million in U.S. Export-Import Bank credits.




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Rules of war
   economist.com/business/1999/12/02/rules-of-war

The Economist                                                                    December 2, 1999


Russia


WOULDN'T it be clever to spend almost nothing and buy the bankrupt owner of an oilfield
next door to yours? That, roughly, was the thinking at TNK, one of Russia's biggest oil
companies, which has used the quirky local bankruptcy law, and some sympathetic local
judges, to buy Chernogorneft, a subsidiary of Sidanco, another large (and bankrupt) Russian
oil company. The move also put TNK at loggerheads with BP Amoco, a rather bigger oil
company, which in 1997 had paid a juicy $571m for 10% of Sidanco.

Along with other foreign shareholders, BP is furious about TNK's tactics, and the Russian
government's inability to put a stop to them. Chernogorneft, it says, was artificially
bankrupted. Then, it claims, TNK squeezed out foreign debt-holders and intimidated judges
and journalists, while a TNK-installed administrator plundered Chernogorneft. Its debts have
soared, despite a nearly threefold increase in the oil price. On November 26th the firm, with
an output last year worth $1.2 billion at today's high prices, was auctioned off for just $176m.
As a result, TNK's offers of a peace deal are—at least in public—being rebuffed. “Successful
marriages do not begin with a rape,” comments a supporter of BP.

Other charges against TNK include that it is bankrupt itself, that its sources of funds are
unclear, and that behind the scenes it is run by bandits. “Our companies don't like people
who bring guns to meetings,” says one western diplomat. (TNK's chief executive, Simon
Kukes, says that one of the company's senior figures, German Khan, used indeed to carry a
gun, but that a new rule introduced four months ago means that he no longer brings it to
meetings.)

A clear case of sinister Russians taking advantage of innocent westerners? In fact, TNK's
opponents do not come out of the saga too well, either. For a start, Russian bankruptcy laws
do unfairly favour creditors over shareholders. “We bought the debt,” argues Len Blavatnik, a
Russian-born American citizen who manages a big stake in TNK. “These are hostile, but
totally legitimate actions.”

Naivety may have played its part too. BP charged into Russia (determined to match its arch-
rival, Royal Dutch/Shell) only to fall foul of Sidanco's dodgy finances (and even dodgier
management) within a few months. Having misjudged Sidanco, BP's chairman, Sir John
Browne now refuses to talk to Mr Blavatnik (Harvard-educated, no less). That seems oddly
prim and proper for a multinational that is used to operating in the roughest parts of the
world.

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And sometimes the protestations of outrage at TNK's behaviour are not completely
convincing. Another of TNK's opponents, the Sputnik Fund, is headed by Boris Jordan, a
flamboyant American-born Moscow financier and former associate of Vladimir Potanin, the
head of Uneximbank, and former owner of Sidanco. TNK says his real motive for kicking up
a fuss is to distract his own shareholders' attention from the fund's spectacular losses in
Russia. Mr Jordan hotly denies this.

Moreover, the losers in this tussle soon abandon the moral high ground that they so readily
assume. “If they just stuck to bribing judges, we could play that game too,” says one of
TNK's many rivals, revealingly, purporting to be disgusted by its alleged resort to the wicked
stick of intimidation, rather than the harmless carrot of bribery.

Nonetheless, TNK now seems to be in hot water. Mr Jordan's fund last month sued Mr
Blavatnik in New York. Mr Kukes (also an American citizen) may be next. Some of TNK's
standard lines—that its prompt payment of taxes and wages make local judges' friendliness
entirely understandable—may sound rather thin to an American court. TNK's opponents will
doubtless also investigate whether there is anything to rumours of money laundering, an
unwelcome topic among Russian émigrés in New York. And Sputnik is trying to block an
American-government credit guarantee for the modernisation of TNK's main refinery.

Yet TNK and its shareholders, which include the Russian government, have a few cards to
play too. Some say that Mr Jordan may be countersued in America on some pretext or other.
Russia's energy minister has said that he may review the operating licence of BP Amoco's
other prize asset, Russia Petroleum. This runs the huge Kovykta gas field in eastern Siberia,
from which BP hopes to sell gas to China in the next century. If BP ends up politically
isolated over Chernogorneft, it may be squeezed out of Kovykta.

For all BP's protests, a complete pull-out from Russia looks unlikely. There are signs that the
firm is already negotiating, both with TNK, and, over Kovykta, with Russia's gas giant,
Gazprom. Mr Kukes, who was once a gifted chemist at Amoco, speaks glowingly of his rival.
“We want them to minimise their losses,” he says, airing a future joint venture as a possible
compromise. “John Browne was deceived and cheated...If he's a courageous man he will
think about his shareholders and swallow a lot of pride.”

Maybe so. But the episode has served mainly to confirm most foreign investors' suspicion
that some of the best investments in Russia are in bribes and guns.

This article appeared in the Business section of the print edition under the headline "Rules of
war"




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Putin urged to apply the Pinochet stick
   theguardian.com/world/2000/mar/31/russia.iantraynor

Ian Traynor                                                                         March 31, 2000




Vladimir Putin should resort to totalitarian methods to push through radical economic reform
and redeem his promise to make Russia great again, one of Russia's most successful
bankers suggests.

Petr Aven, president of Alfa, Russia's biggest and most successful private bank, and a key
business supporter of the newly elected president, said that Mr Putin should model his
regime on that of Augusto Pinochet of Chile, combining Reaganomics with dictatorial
controls.

"The only way ahead is for fast liberal reforms, building public support for that path but also
using totalitarian force to achieve that. Russia has no other choice," he said in a Guardian
interview.

"I'm a supporter of Pinochet, not as a person but as a politician who produced results for his
country. He was not corrupt. He supported his team of economists for 10 years. You need
strength for that. I see that parallel here. There are similarities in the situation."

Mr Aven's advocacy of radical Thatcherism comes at the end of a decade of mass
privatisation of Russian industry, a process which has been notoriously corrupt and has
discredited the very notion of reform.

Campaigning in opposition to "thievery" of national assets, the communists did better than

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expected in last weekend's presidential election that brought Mr Putin, the Kremlin's choice,
to power. The communists took 30% of the vote, presenting the president with a bedrock of
resistance if he follows Mr Aven's advice.

German Gref, an adviser drawing up an economic blueprint for Mr Putin and tipped to be his
economics minister, said yesterday that the policies due out in mid-May would try to make
the transition to a normal market system "in the shortest period possible".

The policies aimed to produce "a managed market economy" that also tried to "preserve
social stability".

Mr Aven argued for a more radical approach, cutting welfare and social provision to stimulate
higher economic growth. His prescriptions coincided with warnings about Mr Putin's
authoritarianism from other well connected international figures.

In a book about to be published, the billionaire speculator and philanthropist George Soros
says Mr Putin harbours dictatorial tendencies. He blames misapplication of the free-market
gospel as one of the reasons for Russia's economic crisis.

And in an interview in the Czech press, the American foreign policy guru Henry Kissinger
predicted that Russia under Mr Putin would be like Portugal under the 1932-68 dictatorship
of Antonio Salazar: "With certain democratic elements but basically authoritarian".

Mr Aven is convinced that Mr Putin is the strong leader Russia needs, but is worried that his
innate caution and his willingness to do deals with the communists will make him fudge and
temporise.

"Nobody follows the law in this country," he said. "Pinochet tried to enforce obedience to the
law and sometimes that's difficult for a country. Sometimes you need to use force. The only
role of the state is to use force when needed."

Mr Aven, both of whose whose grandfathers died in Stalin's gulag, denied that he was urging
a return to the repression of the Soviet era. But he said rampant criminality and corruption
could not be tackled by applying the law.

"You can't always fight criminals by staying within the law. You can't always do it peacefully."

Russia's powerful regional governors would also have to toe the line, he said, and since they
were certain to defend their fiefdoms ruthlessly Mr Putin would have "to use force to
suppress them".

Mr Aven, a former foreign Russian trade minister, is well regarded as an economist. Mr
Putin, he said, did not have an economic policy, but he had the right economic instincts and
leadership qualities.

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     The Autumn Of the Oligarchs
     By John Lloyd

     Oct. 8, 2000



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     Vladimir Putin, president of Russia, looked down the gorgeous hall in the Kremlin of
     which he was now master. Seated before him, on a muggy summer day, were some 30
     men who represented the better part of Russia's capitalist class. They were known as
     oligarchs, from the Greek-derived ''oligarchy,'' meaning rule of the few. In the Yeltsin era
     of the 1990's, so much power passed into their hands that the word had fit them like a
     glove. Putin -- a diminutive man who had made lieutenant colonel in the K.G.B. -- was
     here to tell them that their rule was over.

     ''You built this state yourselves, to a great degree,'' he began, ''through the political or
     semipolitical structures under your control, so there is no point in blaming the reflection
     in the mirror.'' The attack was the verbal equivalent of deashibari -- a judo move designed
     to throw the opponent instantly -- which Putin has said is his favorite gambit. They were,
     in truth, already off balance. The oligarchic period had made them all very rich. But for
     most of them, it was an unstable, robber-baron kind of wealth that could be snatched
     away at any time. Not far from the gilded hall, they knew, Putin was keeping kompromat
     on them, material gathered by the security agencies on their rise to wealth -- piles that
     were, a Putin adviser said, ''meters high.''

     But if he has the information and the power of the security services at his back, they have
     the money. Russian capitalism is a deformed and ugly beast, but the men around the table
     made it and own it. ''I think Putin understands that he can't just move against business,''
     one of the most powerful of them, Mikhail Fridman, had said a few days before the
     meeting. ''It's too important now.''

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     The talk around the table was not heated. There were no surprises. It was the kind of
     solemn, carefully orchestrated show at which Russia excels. Its outcome, however, will be
     as weighty for the country as any meeting Putin has convened in his short presidency.
     For it points up two areas of critical choice. The first is whether Russia's top businessmen
     can throw off a decade of corruption, strong-arm tactics, internecine feuds and cheating
     foreigners to emerge as credible financial and industrial leaders. The other, more
     immediate, questions are whether the independent media, such as they are, can be
     preserved -- and whether they can develop.

     Since assuming the presidency, Putin has exhibited increasing impatience with dissenting
     media voices and the magnates who employ them, Vladimir Gusinsky and Boris
     Berezovsky. In June, Gusinsky was arrested and jailed briefly on charges of
     embezzlement. The charges were dropped, but not before the heavily indebted Gusinsky
     signed a deal transferring Media-Most, his conglomerate of newspaper and broadcasting
     properties, to Gazprom, the government-dominated energy company, for $300 million.
     Now he is saying he agreed to the transaction in jail, under duress, and the government is
     threatening new investigations.

     In August, old wounds were rubbed afresh by the treatment Putin received for his
     handling of the Kursk tragedy. After offering a few consoling words to relatives of the
     victims, he ripped into the media, who were ''destroying the country and the military'' by
     evading taxes: ''They want to influence the masses and show the army and the political
     leadership of the country that we need them, that they had us hooked, that we should be
     afraid of them, that we should listen to them and let them plunder the country, the army
     and the fleet. That is their real aim. Unfortunately, we cannot order them to stop, although
     that would be the right thing to do.''

     With Berezovsky, as with Gusinsky, he did the next best thing, which was to try to buy
     him out. So far, Berezovsky has resisted official arm-twisting to sell his 49 percent stake
     in the ORT television network, offering instead to give the shares to journalists and
     intellectuals. ''I will not do anything under pressure,'' he says. ''I am prepared to go to jail
     if necessary.''

     The two media moguls, who have little popular support, serve a dual purpose for Putin.
     By attacking them as corrupt, the president intimidates all the other oligarchs, bringing
     them into line. By destroying Berezovsky and Gusinsky, he could bring the independent
     media under government control, all under the guise of fighting corruption. Berezovsky
     and Gusinsky, no fools, know this is the game that is being played, and they are shouting
     about it to their most receptive audience -- the West.


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     Berezovsky, who played a major role in bringing Putin to power, is particularly exercised.
     ''The first thing Putin did was to consolidate political power,'' he said during a recent
     swing through the United States to rally political support. ''Next, it will be the media.
     When he has economic problems, then he will think he has to control oil companies, gas
     companies.''

     Shrewdly, or perhaps in desperation, Berezovsky has sought to parry Putin's thrusts by
     turning the issue into a global referendum on the president himself. ''His target is to make
     Russia into a real, liberal democracy,'' Beresovsky says. ''But he thinks the way to do that
     is authoritarian. I told him, 'You try to find simple solutions to complex problems.' He
     doesn't understand the scale of the problems.''

     Berezovsky, a ruthless businessman who was not above using his ORT network for
     political ends in the 1996 presidential campaign, makes an awkward messenger for
     democracy and freedom. But the lines have been drawn. ''Maybe I'm stupid to fight him,''
     Berezovsky says, adding that it is not just democracy that's at issue. ''If he continues this
     way, he'll also destroy business in Russia.''

     Perhaps, but his erstwhile colleagues in the business elite are betting exactly the
     opposite. If they behave themselves, they believe -- pay their taxes, stop meddling in
     politics and forswear sweetheart deals from unscrupulous politicians -- then Putin will
     spare them the fate of their media-owning brethren. This would allow them to consolidate
     their gains and emerge as pillars of a new and respectable business community. That is
     their hope, at any rate.

     Mikhail Fridman and Pyotr Aven built and run the Alfa Group of companies. During our
     talk in his high-ceilinged office, Fridman directed me to a recent newspaper interview
     with the Russian prime minister, Mikhail Kasyanov -- once known as Misha 2 Percent for
     his alleged habit of demanding a commission on deals he sanctioned when he was finance
     minister. Kasyanov said that Yeltsin had allowed business to do much as it liked, but that
     those days were over. Fridman agreed with him: ''Business was young in Yeltsin's days,
     and I think it was right that it wasn't prosecuted. It was completely informal, this
     protection from the law. It was never written down, but we all understood it.''

     This protection was both from the law, an uncertain commodity still in Russia, and from
     the new political classes who hated both the oligarchs and Yeltsin. Their weapon -- as
     Putin's is now -- was often kompromat. I saw one of these dossiers last year in Moscow. It
     purported to be the product of the Duma's security committee under the chairmanship of
     the Communist deputy, Viktor Ilyukhin. ''Mikhail Fridman,'' it read, ''born in 1964 in the
     city of Lvov, former Ukrainian Republic, a Jew. Pyotr Aven, born 1955 in Moscow, a Jew.''

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     It said that Fridman had used criminals to further his business activities, that Aven had
     dealt in drugs, that Fridman corrupted senior police officials in Kazhakstan and that Aven
     was fired from his job as trade minister after an intelligence agency investigation showed
     ''embezzlement, damage to the economic interests of the country and criminal ties with
     the secret service of Israel.'' The allegation of drug running also turned up in a report
     published in August by the Washington-based Center for Public Integrity. The accusation
     -- that the Alfa Group's leaders had organized drug shipments from Central Asia to
     Europe -- was based on a United States intelligence source, based in turn on an interview
     with an unnamed former K.G.B. agent. When I asked Fridman about it, he shrugged and
     said, ''That stuff's always around.''

     In the course of the interview, which took place about a week before the showdown with
     Putin, Fridman's cell phone rang. He spoke softly at first, but then became forceful and
     louder. ''Tell him we must have it soon,'' he told the caller. ''We're ready for it now.'' He
     clicked off the phone. ''That was Nemtsov.'' Boris Nemtsov, a former prime minister, is
     now the leader of the Union of Right Forces, an economically liberal party that receives
     major financial support from Fridman and Aven. That evening, the TV news would show
     Nemtsov saying that Putin had agreed to meet and that this should put an end to the
     attacks on the ''oligarchs.''

     Fridman continued: ''I think the best plan would be if Putin were to declare an amnesty
     on everything that happened in the past. There were breaches of the law, but to open all
     that up again, to undo privatizations three or four years after they happened, it's crazy.''

     Aven, speaking in his office down the hall, surrounded by his extraordinary collection of
     Russian 19th-century paintings, offered a scathing assessment of the Yeltsin period:
     ''Those who were closest to Yeltsin behaved as if they were running the government. Put
     yourself in Putin's shoes. You can't have that kind of relationship!''

     Yet state power and private business have been intertwined for more than a decade. The
     oligarchs quickly learned that they could not guarantee their wealth and power without a
     network of contacts and clients in the sprawling and ever-growing presidential and
     government bureaucracy. In the late 1980's, Mikhail Khodorkovsky, who built up the
     Menatep group of companies and the oil company Yukos, traded a career in the
     Komsomol, the Communist youth organization, for a risky future in the emerging private
     sector. He took care at each stage to attract the support of the state and benefited from
     that closeness by winning a string of lucrative state contracts. Vladimir Potanin,
     chairman of a large conglomerate, Interros, followed his father, a senior trade official, into
     the foreign trade ministry. His connections there enabled him to land government
     accounts for his new bank, Oneximbank.
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     Fridman, a Ukrainian Jew and very much an outsider, saw his Alfa Group take off when
     he recruited Aven, the first trade minister of the new Russian government. And the new
     kid on the block, Roman Abramovich, now probably the most powerful, wealthy and
     certainly the most discreet of the oligarchs, grew strong under the tutelage of Berezovsky
     within the Kremlin ''family.''

     The apogee of oligarchic influence was reached in 1996, with their collective decision to
     underwrite Yeltsin's re-election campaign in return for huge slices of state property at
     extraordinarily low prices -- the so-called ''loans for shares'' deal. It made many of them,
     already rich, superrich. It made oil barons of Khodorkovsky, Berezovsky, Potanin,
     Abramovich and, later, Aven and Fridman.

     But the party ended in August 1998, when the ruble collapsed, the economy nose-dived
     and living standards fell by 20 percent. After that, they could never sail their yachts into
     Nice harbor with a shipload of models -- as Potanin was known to do -- with the same
     insouciance. Russia was -- is -- near collapse; many Russians are close to hunger. For
     now, and for some time to come, discretion will be the watchword.

     Putin came to power through Yeltsin and his ''family,'' including the court oligarchs. But
     though he ran with the system, he is increasingly defying it. Instead, he is building his
     Kremlin power base around the National Security Council. He has put an old K.G.B. friend
     from St. Petersburg, Sergei Ivanov, at its head: no large decisions are taken without his
     consultation. The most important of his three immediate deputies is Oleg Chernov, a man
     wholly hidden from the public gaze but credited with formidable intelligence. He is now
     seen as the oligarchs' nemesis.

     Chernov has been entrusted with some of the most delicate work of the new presidency.
     He has been making contact with American business leaders, trying to rekindle an
     interest in Russia that was demolished in the ruble collapse. Top level sessions between
     selected business executives and Putin are scheduled for next month.

     At the same time, Chernov has worked on those meters-high towers of files -- especially
     on the cash flows of the oligarchs and where their money is stashed. He has made contact
     with the Swiss procurator general's office, which is plowing through a huge investigation
     into Russian companies registered in the country -- in particular those controlled or
     created by Berezovsky. The National Security Council, whose top leadership is composed
     almost entirely of former K.G.B. officials, is the sword of Damocles above the oligarchs'
     heads, its files the guarantee of their continued good behavior.

     The most plugged-in of the oligarchs had known for some time what the atmosphere was
     in the Kremlin and had resolved to make a deal to avoid a conflict they might lose.
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     Vladimir Potanin, sitting on the edge of a chair in his grand office, had been better
     plugged in than anyone. Yet I was surprised by how shaken he seemed, how earnestly he
     wished for peace. He, like many of the oligarchs, had been threatened. He had received
     what he described as a ''racketeering letter, a discredit to the state,'' from the Russian
     procurator general, accusing him of paying $140 million less than fair value for one of the
     jewels of his empire, Norilsk Nickel, among the world's biggest nickel producers and the
     largest producer of palladium.

     ''Earlier this year,'' he told me, ''I convened a meeting of a number of my colleagues and
     said to them, 'We must admit we're not popular!' Someone suggested hiring an image
     consultancy. I said that we have to go further than that. Ordinary people who can't afford
     to go to visit their families in Russia see us going to St.-Tropez and calling it a business
     trip. We have to make sure we pay all of our personal taxes. We should be irreproachable
     personally.'' I asked what the outcome was. ''We didn't agree.''

     But he was eager to show that he knew the game was up. ''We're like clay at the
     moment,'' he said. ''We've been made soft by the attacks, and now we're waiting to be
     molded, though, of course, we won't stay like this forever. We know, most of us, that we
     can't fight the central power.''

     Thus, they sued for peace, and it seems they have got it. By the end of the Kremlin
     meeting, Putin had committed himself to the amnesty that Fridman and Potanin had
     called for. ''The president reiterated his position, that authorities would not review the
     outcome of privatizations,'' read a news release from Putin's office. ''But it is
     unacceptable for competing companies to use state institutions and law enforcement
     agencies to achieve their goals.''

     But Putin has not entirely ruled out further investigating the privatizations. ''I believe it
     will depend on whether or not his reforms cause a strong business revival,'' says
     Aleksandr Tsipko, the chief political analyst at the Gorbachev Fund in Moscow. ''If they
     do not, I think he will take the natural resources back into state ownership, leaving the
     industry in private hands.''

     Under this kind of pressure, the banking and energy oligarchs have been scrambling to
     show loyalty. Potanin told me that ''we were very much children of our times. That is how
     it was then. Now, we have to change. Those who cannot will have themselves to blame for
     anything that happens.''

     One thing they cannot change is their ethnic identity. In a country where Jewishness is
     best kept quiet, nearly all of the oligarchs are Jewish. Most of them keep a low profile.
     ''People already hate us because we're in business,'' Mikhail Khodorkovsky, the sardonic
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     head of Yukos oil, told the writer Chrystia Freeland. ''Why give them something else?''

     To their dismay, Gusinsky has. A very public supporter of Israel and the president of the
     Russian branch of the World Jewish Congress, Gusinsky hasn't hesitated to blame anti-
     Semitism in the Kremlin for his business problems. ''He should not have done that,'' Aven
     says. ''Fridman gives half a million dollars a year to Jewish charities -- of his own money!
     But quietly. There are Jews in the Kremlin, appointed under Putin. There is anti-Semitism
     lower down, in the middle ranks of the security services and the government, but that has
     always been so.''

     Since the meeting, the Kremlin has sought to capitalize on the new malleability of the
     oligarchs. Chernov has expressed surprise at the details they have confided. These
     include revelations about the finances of Prime Minister Kasyanov, who had formerly
     been a client of Berezovsky's and Abramovich's, and about those of the former prime
     minister, Viktor Chernomyrdin, said to be one of the richest men in Russia.

     And business is changing, eroding the world in which the oligarchs lived for much of the
     90's. Outside directors, including Western fund managers, are forcing themselves on the
     boards of the privatized companies. While the threat of prosecution is mostly in abeyance,
     the oligarchs are still being pushed hard to pay taxes -- pressure backed by figures that
     show, for example, that Abramovich's Sibneft paid one-third of what other oil companies
     paid in taxes. The push on taxes is underpinned by a new code described by Putin as ''the
     most important event in the country's life.'' The vast gas and electricity monopolies --
     Gazprom and RAO-UES -- are now being hounded by the state. Putin pushed
     Chernomyrdin out of the chairmanship of Gazprom and will appoint a new chief executive
     soon; the company's tax payments are being investigated, as are those of RAO-UES.

     If the story ended here it would be an anticlimax -- Putin told the oligarchs to shape up
     and they did. But it is complicated by the issue of press freedom, and we are sure to hear
     more from the two oligarchs who remain unreconciled -- Berezovsky and Gusinsky.
     Though many of the oligarchs have some media properties, only these two control big
     television channels as well as newspapers, magazines and publishing houses. If the
     Kremlin squashes them, as both have been at pains to point out, it also squashes the
     independent media.

     Boris Berezovsky was the iconic figure of the oligarchic age. No one was closer to
     Yeltsin's ''family'' -- the little group composed of the former president's younger daughter,
     Tatyana Dyachenko, and his closest aides and drinking and bathing buddies. He had links
     with the leaders of the Chechen revolt and manipulated them for political and personal
     gain. He reshaped Russia's media. He survived two assassination attempts. When for

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     some months he was deputy secretary of the National Security Council, he used his
     position to jet about the old Soviet Union and negotiate with the presidents and ministers
     of the former republics.

     Yet he usually disposed of shares in his companies -- exercising only ''influence.'' Like T.S.
     Eliot's mystery cat, Macavity, he was at once ubiquitous and not (quite) there. Now he
     claims to have virtually nothing. ''I was at the Israeli Embassy,'' he said, ''and had to fill in
     a form in which it asked my profession. I thought of putting 'Unemployed.''' Indeed, in an
     interview, Berezovsky looks a changed man. Gone is his hawkish, aggressive manner. His
     hair has thinned noticeably, and he seems older and more humble, perhaps a bit too self-
     consciously.

     George Soros, the American financier, tried and failed to do business with Berezovsky in
     the late 90's, when the Russian was at the height of his power. Berezovsky, Soros wrote in
     The New York Review of Books, ''could not make the transition to legitimacy; his only
     chance of survival was to keep people entangled in the web of illegitimate relations that
     he had established.'' He has failed in this, but not for want of trying. He got to know Putin
     and supported his bid for the presidency. He assisted Yeltsin's closest aides -- his chief of
     staff, Aleksandr Voloshin, and his former chief, Valentin Yumashev -- in creating Unity, a
     pro-Putin group that came from nothing to be the second biggest party in the Duma.

     But now Berezovsky is out in the cold, having renounced his seat in the Duma and the
     immunity from prosecution that it brings. While he has said goodbye to the Duma,
     however, he has not left politics. His new manifestation is as an oppositionist-democrat --
     freedom fighter, almost. He explained the switch in his customary swift, nervy and
     elegant manner:

     ''Nowadays, the president and his circle just don't understand what I'm proposing and
     don't understand the consequences of what they're doing. So while I don't rule out any
     further opportunities to convince the powers that be, I think that persuasion has to move
     to another level -- that is, of forming a constructive opposition to the presidential
     authority. The one way to have a dialogue with power in Russia is to have power
     yourself.'' With almost 49 percent of the ORT channel and as the one who pays the bills
     and salaries, his power to counter power remains immense.

     The challenge posed by Vladimir Gusinsky is, in some ways, even sharper. For Gusinsky
     was never part of Putin's inner circle. Rather, he is an oppositionist, as he was to Yeltsin in
     the latter period of his presidency. He is a familiar figure in the West: a wealthy press
     baron who takes on an administration he dislikes. But such a figure has never existed in
     Russia. It is an open question whether it can now.

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     Gusinsky has already been exiled once -- by Yeltsin. Putin's security services went one
     further, imprisoning him for four days in June. Released, he was confined to Moscow, but
     released again in July after Putin's tte--tte with President Clinton at the economic summit
     meeting in Okinawa. As soon as the order was lifted, Gusinsky took his private jet to
     Spain, where he remains today in his villa.

     Gusinsky is not a good man among rogues. A former -- and unsuccessful -- theater
     director, he is volatile of temper, has a long memory for a grudge and employs a small
     army of ex-K.G.B. men who are notoriously tough in the service of their master. Leonid
     Skoptsov, main aide to Kakha Bendukidze, told me that his boss had met Gusinsky one
     day in the corridors of the Russian Duma, shortly after he had bought the Uralmash plant.
     Gusinsky asked how much he paid for it, and Bendukidze named a sum of around $1
     million. ''That's nothing!'' Gusinsky said, laughing, ''I paid that for the deputy minister of
     finance. And it will be a better investment!''

     Gusinsky was the only one of the major business figures to back a rival to Putin -- Yuri
     Luzhkov- right up to and through the elections in March. When Gusinsky met him in the
     late 1980's, Luzhkov was a middling-to-senior Moscow bureaucrat. His appetite for work,
     his ambition and his control of the city's housing stock propelled him to become, in 1992, a
     hugely powerful and popular mayor -- so powerful and popular that, by 1998, he thought
     himself ready to stand for the presidency of Russia, with the support of Gusinsky's media.

     Until late 1999, it seemed as if he had little competition -- certainly not from the buttoned-
     up, former K.G.B. officer whom the Kremlin, incredibly, had made prime minister and
     seemed to think would succeed Yeltsin. Putin's triumph -- which owed much to an
     onslaught on Luzhkov from Berezovsky's ORT channel -- has left the Moscow mayor
     fearful and uncharacteristically humble. And not without reason: in August, the interior
     ministry announced an investigation into allegations of corruption on the part of 30 city
     hall officials, two of them senior.

     But Gusinsky did not follow Luzhkov's example. His media kept up -- even stepped up --
     their critical coverage of Putin and of the war in Chechnya that Putin had, as prime
     minister, unleashed and continues as president. Gusinsky has attracted some of the most
     independent-minded and talented journalists in Russia, people who say they are there
     because they believe in a free press and will fight for it. These include Yevgeny Kiselyev
     of NTV and Mikhail Berger, who edits Media-Most's main daily newspaper, Sevodnya
     (Today).

     I went to see Berger in the paper's down-at-the-heels quarters just off Leningrad Avenue.
     ''Gusinsky doesn't direct us what to write,'' he said, as his senior colleagues milled

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     outside his sparse office waiting for the morning editorial meeting. ''All of the editors in
     the group have the same mentality. We're liberals; we believe in a liberal society. That's
     what annoys the Kremlin.''

     He told me of a meeting between several chief editors of daily newspapers and Putin
     earlier in the year, in the Kremlin: ''I asked him why he never consented to be
     interviewed for Sevodnya or on NTV. He said: 'I talk to journalists who have the same
     opinions as I do. When the journalists there share my point of view, then I'll give you an
     interview.'''

     The impression I gained from Berger, of one determined to carry on pulling on the bear's
     tail, was deepened by talking to Igor Shenderovich. He is the main creative mind behind
     ''Kukly'' (''Puppets''), a weekly show on NTV that satirizes politicians and other public
     figures. Shenderovich calmly and humorously talked of Putin as one who ''obviously has
     an inferiority complex. In that he is very different from Yeltsin. Yeltsin, for all his obvious
     failings, felt himself to be a president. Putin does not.''

     The previous episode of ''Kukly'' had shown Putin as Girolamo Savonarola, the monk who
     held Florence in a puritanical grip for a few years at the end of the 15th century.
     Eventually, he was deposed and hanged by the faction that could no longer bear his
     apocalyptic tirades against corruption. It was, no doubt, unfair, as was Berger's depiction
     of a thin-skinned politician overreacting to liberal criticism. But that goes with the turf of
     a democratic leader. Gusinsky's stable of journalists are issuing an implicit challenge to
     Putin: Can you take it? Are you a democratic leader?

     If he answers in the affirmative, it will be in conflict with at least some part of his nature. I
     went to see Yevgeny Kiselyev, the general director of NTV, in his office in the Ostankino
     TV center, a little before a fire badly damaged its broadcasting tower. He told me that a
     high Kremlin official had called on him at the end of last year with a list of ''desires.'' He
     had noted them down on a piece of paper, which he produced and read. At the top of the
     list was the desire that ''Kukly'' drop the puppet of Vladimir Putin, then still the prime
     minister.

     Kiselyev and his team decided they would give their visitor what he wanted. In the next
     episode, there was no prime minister. Instead Aleksandr Voloshin, the highest official in
     the Kremlin, was shown as Moses, bringing down tablets to the Israelites from a supreme
     being whose existence was shrouded in clouds above Mount Sinai.

     But Moses-Voloshin and the Israelites have a problem. They don't know how to address
     the supreme being. In the end, they settle on the title ''Lord God,'' or in Russian, ''Gospod
     Bog,'' and then decide to shorten it to the initials G.B. As every adult viewer in Russia
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     recognized, G.B. is a shortening for ''gosudarstvennaya bezopasnost,'' or state security.
     The supreme being was the highest state security functionary of them all, the former
     K.G.B. colonel, Vladimir Putin.

     Far more serious, for Putin and Russia, was the sinking of the Kursk attack submarine in
     August. The media were sharply critical of the naval authorities for lying about the date
     of the submarine's disappearance and the date of the request for foreign assistance, for
     their refusal to release the names of the crew and for the shabby treatment of the
     relatives of the victims. But they reserved their harshest words for the failure of Vladimir
     Putin, then on holiday in the Black Sea, to fly to the headquarters of the Northern Fleet to
     meet in timely fashion with the anxious relatives.

     The oligarch-owned channels did suffer discrimination in reporting the story. Only the
     state-controlled channel, RTR, was allowed to cover the belated meeting, in the closed
     port of Vidyayevo, between the president and the relatives. In an interview with The
     Moscow News, a correspondent for the German television channel RTL claimed that
     RTR's chief, Oleg Dobrodeyev -- who was using RTL's satellite transmission facilities
     because RTR had none of their own on the spot -- screened out the more bitter moments
     and looked for shots ''where the atmosphere was more or less calm.'' It is an allegation
     that Arkady Mamontov, the RTR correspondent, angrily denies. ''Everything that was
     said into the camera was instantly transmitted,'' he says. ''I never got orders not to ask
     tricky questions.''

     Putin's priorities are, first, to save the state from disintegration; second, to get some
     economic growth; and third, to draw the countries that were republics of the former
     Soviet Union closer to it. His economy, artificially buoyed by high oil prices, remains
     stubbornly unreformed; his army remains stuck in a murderous guerrilla war in
     Chechnya; and Russia is falling behind daily in the global struggle for economic
     advantage and modernization. As he wrestles with these problems, the questions of how
     to deepen democracy or to assure freedom for his tormentors take second place. Indeed,
     his thoughts are more likely to be, How do we get control of their media or, failing that,
     transfer control to people more likely to like us?

     The Russia Putin has inherited has not yet made the transition from authoritarianism to
     solid democratic habit. Boris Yeltsin was too careless of institutions, too absent from the
     construction of the new state, to bequeath more than an anarchic market grafted on top of
     a decaying command economy. Putin can still return to autocracy, whip his business class
     into line, muzzle the media. The new political season now starting in Moscow should
     answer a looming question: Is the new leader of Russia capable of recognizing that some
     scourges are essential to democratic practice and must be tolerated? The signs are not all
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     that encouraging.

     ''Putin thinks the Russian people are not prepared for democracy,'' says one insider, who
     refused to be identified. ''He says, 'We need to push them toward democracy, using
     power.'

     ''I asked him, 'Don't you think this is a contradiction?'

     ''I don't think so,' he said.''




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Brains, Bare Knuckles Are Keys To Success
of Firm in Rich Deal
By Jeanne Whalen Staﬀ Reporter of The Wall Street Journal
Feb. 22, 2001 12:01 am ET

MOSCOW -- Alfa Group, the owner of the trading firm merging with Marc Rich &
Co. Investment AG, is pushing hard to westernize the empire it built with brains
and bare knuckles during Russia's crony capitalism.




Mikhail Fridman, chairman of Alfa Group, shakes hands with Russian President Boris
Yeltsin at a meeting of business leaders in June 1998. Mr. Fridman, once a major fundraiser
for Mr. Yeltsin, has used aggressive tactics to turn Alfa into a global financial player.

With its stakes in banking, oil and supermarket retailing, the powerful financial-
industrial group has fared better than most conglomerates since Russia's 1998
financial crash thanks to tighter management, political clout and aggressive --
and sometimes murky -- tactics that have burned the likes of BP Amoco PLC.

Mikhail Fridman founded OAO Alfa Bank in 1991 and soon after recruited Pyotr
Aven, former minister of foreign economic relations, to raise Alfa's political
profile. The partners were among a handful of businessmen who helped to finance
Boris Yeltsin's re-election campaign in 1996. The Kremlin rewarded these men by

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selling them state-owned oil and metals companies at bargain-basement prices.


Lean and Mean
Alfa didn't win as many prized assets as other groups, a fact that compelled it to
make the most of what it got and to build other businesses from scratch. Alfa
Bank, the backbone of Alfa Group, preserved its reputation after Russia's 1998
collapse by honoring commitments to creditors and depositors while most other
banks were imploding.

One significant reason Alfa Bank survived the crash was that it was fortunate
enough to decrease its exposure to domestic treasury bills before the state
defaulted on the paper in August 1998. "When the house of cards fell, they had
already taken some of their cards oﬀ the table," said Kim Iskyan, a banking analyst
with Renaissance Capital in Moscow.

Alfa won many new clients afterward by aggressively trumpeting its liquidity,
taking out full-page advertisements in newspapers to announce that its
automated teller machines were dispensing hard currency while others around
Moscow weren't operating.

Alfa Bank is now among Russia's leading banks in most areas of commercial and
investment banking. It had assets of $1.34 billion (1.47 billion euros) and net
income of $50 million at the end of 1999, according to audits conducted in
accordance with international accounting standards.


Chief Executive Alex Knaster says he was chiefly concerned with "survival" when
he joined Alfa Bank from Credit Suisse First Boston in the summer of 1998. "Now
our focus is on growth and market-share gains through the quality of our service
and the eﬃciency of operations." The bank has shelled out big money to hire
specialists from abroad and doesn't scrimp on festive events to promote its image.
For instance, Mr. Fridman last month hosted the bank's 10-year anniversary
celebration at the Pushkin Museum of Fine Arts in Moscow.

Alfa Group has shown a darker side of its aggression in its oil-industry operations.
The group has nearly doubled the output of its chief asset, Tyumen Oil , through a
mixture of investment and controversial acquisitions. Tyumen won its biggest
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coup in 1999 by wresting away big Siberian oil fields owned in part by BP Amoco.
The U.K. company and many industry analysts said Tyumen won by manipulating
a bankruptcy proceeding waged in Siberian courts. The European Bank for
Reconstruction and Development called the bankruptcy a "sham." Tyumen at the
time said that the bankruptcy proceedings were fully fair and legal.

Alfa Group and partner Access-Renova Industries bought Tyumen through two
privatization auctions in 1997 and 1998. President Simon Kukes has since boosted
the company's chain of gasoline stations to 700, acquired new oil and gas reserves
through the courts and privatization auctions, and won $500 million in loan
guarantees from the U.S. Export-Import Bank.


Heavy Trading
Mr. Fridman's first venture was Alfa-Eco, a commodities-trading firm he founded
in 1989 to trade oil, sugar and steel. In 1992, Alfa founded Crown Resources , using
it later to trade Tyumen's oil. With an estimated $5 billion in annual-trading
volume, the Swiss-based company has focused on oil markets in Europe and the
Middle East. Crown estimates that the company it will create through the Marc
Rich & Co. merger could accomplish $20 billion in trading volume in the next two
years.

Alfa Group also runs several dozen supermarkets in Moscow under the
Perekriostok brand, which earned about $85 million in revenue in 1999.

Messrs. Fridman and Aven have always been among Russia's lower-profile
tycoons, shying away from public statements while other oligarchs have waged
public-relations battles against each other through the media. But Alfa Group
remains among the most influential in the Kremlin. President Vladimir Putin
included Alfa Group among those invited to a Kremlin gathering last month and
asked them to contribute millions to a fund to help veterans of Russia's war in
Chechnya.

-- Peter McKay contributed to this report.

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The New Face of Russia's Oligopoly
   themoscowtimes.com/archive/the-new-face-of-russias-oligopoly

Alla Startseva                                                                 November 1, 2001




A jovial President Vladimir Putin wowed a standing room only crowd at the World Economic
Forum this week, fielding questions from every direction and clearly pleasing the more than
350 business leaders in attendance.

And why not? The coy confidence with which the former KGB colonel defended his
economic record most say is well-deserved. His litany of achievements (tax reform, land
reform, ruble stability, reasonable inflation, etc.) have helped produce unprecedented annual
economic growth of nearly 7 percent over the last two years.

Yet all is not well and much needs to be done if, as Putin put it at the forum, the average
Russian will "be happy" by 2010. Indeed, 10 years after the collapse of the Soviet Union and
just over three years since the devastating financial meltdown of August 1998, history seems
to be repeating itself.

During the Boris Yeltsin era of "bandit capitalism," as many have called it, much of the
nation's wealth ended up in the hands of a small coterie of Kremlin-connected intriguers who
came to be known as oligarchs. Some of those oligarchs, like MOST-Bank and NTV founder
Vladimir Gusinsky, have been forced into exile. But others, like Uneximbank founder Vladimir
Potanin, Alfa Bank founder Mikhail Fridman and Roman Abramovich, Boris Berezovsky's
prot?g?, not only emerged from the 1998 crisis relatively unscathed, but have actually

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multiplied their wealth and expanded into a wide variety of sectors.

As in the pre-crisis years, a huge sliceof the nation's GDP is controlled by a handful of
powerful industrialists that have at times appeared to violate if not the letter than certainly the
spirit of the law. And like the pre-crisis years, the true extent of these industrialists' empires is
literally impossible to calculate.

But under Putin, overt political activity has transformed into aggressive lobbying; corporate
governance has become a topic of discussion and action; and the idea of taking enormous
profits and investing them domestically instead of exporting them abroad looks appealing.

Call it the new face of Russian oligopoly.

The Holding Companies

Over the last couple of years, a handful of companies, like Alfa Group, Interros and what is
now called Millhouse, have turned themselves into monster conglomerates by snapping up
chunks of major enterprises in non-core sectors with the profits from their core business --
exploiting natural resources.

They still pump oil, dig up metals and bank, but now they also insure, produce turbines, build
telecommunications systems, trade grain and even raise pigs. They each contribute a
significant share of the nation's GDP and belong to a group of insanely wealthy individuals.

But the reason behind this shopping spree may not simply be, as some believe, greed or lust
for power, but the absence of a proper banking system -- and orders from the Kremlin to
invest here.

"The question is what the oligarchs are doing with their money. They could take it out of the
country as they used to, but Putin has told them they would be in trouble if they do," said Al
Breach, economist with Goldman Sachs.

With, apparently, a directive from above and an unwillingness to entrust cash to anyone but
themselves, Alfa Group, Interros and Millhouse are gorging on new assets.

"Both in economic terms and in political terms it makes sense to invest. The question is what
to invest in," Breach said.

Millhouse Capital

Technically Millhouse is only a few months old, but it is purely a child of the Yeltsin era. Last
week Sibneft, Russia's No. 6 oil producer, announced that its core shareholders had shifted
control of a huge amount of their assets, including 88 percent of Sibneft, to a newly
registered British company called Millhouse Capital.

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The news was big because it helped clarify one of the most enduring mysteries in Russian
business: What exactly does Roman Abramovich, Sibneft's "core shareholder," actually
own?

Overnight, Millhouse came to control not only Sibneft, which expects profits of more than
$1.2 billion this year, but 50 percent of Russian Aluminum, the world's second largest
aluminum company and a multibillion dollar conglomerate in itself.

The holding also includes a 26 percent stake in Russia's flagship airline, Aeroflot, electric
power stations, and enterprises in the automobile, truck, bus, pulp and paper processing,
insurance and banking sectors.

The lack of transparency surrounding the mysterious Abramovich and the fact that many of
the new conglomerate's divisions are not public companies make it difficult to put a price tag
on the new business heavyweight.

However, according to James Fenkner, Troika Dialog equity strategist, Millhouse is probably
worth $5 billion and contributes about 3 percent to 4 percent of Russia's GDP.

Just like the other major holdings that survived the crisis, Millhouse was built with cash from
exporting oil and metals.

Before 1998, large-scale holdings were predominately created around banks, the majority of
which collapsed as a result of the ruble devaluation and debt default that August.

Sibneft itself was created in 1995-96 with help from well-connected ex-oligarch Alexander
Smolensky's now-defunct SBS-Agro bank and companies affiliated with it.

There, at its birth, was also currently exiled media tycoon Boris Berezovsky. The latter's
relationship with the company remains a mystery, because Sibneft denies that Berezovsky
owns any stake in the company, but the former Kremlin insider has periodically said that he
owns up to half of it.

In 1995, however, Berezovsky's presence was undeniable. Around that time a series of firms
connected to the powerful entrepreneur snapped up Sibneft for next to nothing in a chain of
loans-for-shares auctions.

Sibneft was carved out of state-run oil giant Rosneft and originally created to be the financial
tap for Berezovsky-controlled ORT, a nationwide television channel.

The loans-for-shares scheme itself, under which investors lent the government money in
return for the right to manage state-owned stakes in partly privatized companies, was widely
criticized, as stakes often went to the very companies organizing the loan tenders for the
government.

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Abramovich's involvement with Sibneft stretches back at least until 1996, when Runicom, a
Swiss company whose Moscow office Abramovich headed, bought a 12.2 percent stake in
Sibneft at a cash auction. Subsequently, Abramovich became head of Sibneft's Moscow
office. The 35-year-old businessman once said that he controls a 44 percent stake in Sibneft,
but some reports suggest a figure twice as high.

In the years to follow the company became one of the leaders in the industry, cleaning up its
image and paying out a record dividend. But it horrified the investment community last month
when it announced, with few details, that it had secretly sold, just before announcing a huge
dividend, a 27 percent stake in the company back to the same "core shareholders" it bought
the stake from last December.

Sibneft has also been pursuing acquisitions in areas totally unrelated to its core businesses,
such as Omsky Bekon, the top meat processor in the country.

Last year Sibneft's shareholders snapped up about a third of the Russian aluminum industry
and then merged on a 50-50 basis with Oleg Deripaska's Siberian Aluminum Group to form
Russian Aluminum, or RusAl, which now controls 75 percent of the country's aluminum
production. About 80 percent of RusAl's output is exported and it has a turnover of over $4
billion a year.

Despite the questionable synergy of such a wide array of companies, analysts say that such
diversity is a natural stage in Russia's economic development.

"Different groups have different investment strategies. Such groups used to exist all over the
world. This is just no longer a fashion in the West. You concentrate on one thing you know
well," Breach said.

"Russia is not ready to adopt this model yet," he added.

The rules of the game are rather similar to all holdings, or in fact the entire Russian economy
-- lending to outside corporate groups is minimal, while Russia's investment requirements
are extremely high.

As a result a company capable of providing sustainable cash inflows from its mineral export
arm to other group members in need of investment creates a big holding.

"Behind the creation of conglomerates such as Millhouse more than anything is the
weakness of Russian banking system, Fenkner said. There is no proper way to invest and
diversify."

Interros

In contrast to newcomer Millhouse, which seems to be taking a kid-in-the-candy-store

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approach and snapping up everything it finds appealing, Vladimir Potanin's Interros group is
nurturing the gem of its empire and cautiously liquidating its oil and gas assets and
branching into machine-building and agriculture for what appears to be the long haul.

That gem is Norilsk Nickel, which in addition to having a fifth of the global nickel market
controls two-thirds of the world's palladium and one-fifth of its platinum.

Interros evolved in 1992 with the creation of the International Finance Company, or MFK
bank. The next year, Uneximbank was created and, with the help of Potanin's political clout,
became one of the most powerful financial institutions in the country. One of the few chosen
government agent banks, Unexim handled some of the most lucrative state accounts,
including customs accounts, until the 1998 crisis.

The most auspicious periods in the group's history happened to coincide with Potanin's
tenure as deputy prime minister from the fall of 1996 to spring of 1997.

In 1995, Potanin began the acquisition of Norilsk Nickel, first receiving a 38 percent stake as
collateral for a loan in the controversial loans-for-shares scheme and then buying it out in
1997.

Earlier that year, Potanin got hold of a controlling stake in the Sidanco oil company and later,
together with George Soros, bought a 25 percent stake in national telephone monopoly
Svyazinvest in a deal that gave new meaning to the word controversial. Accusations of
insider dealing for the Svyazinvest stake were splashed across the papers for months and
Soros later called it the worst investment he had ever made.

After the crisis, Interros, which some now estimate to be worth upward of $4 billion,
underwent a major transformation. Rosbank came to replace Unexim as the group's pocket
bank and absorbed the former behemoth earlier this year after the restructuring of its debt.
Sidanco was taken over by Alfa Group's Tyumen Oil Co. after a battle that raged for years.
And Interros announced its intention to sell its interest in the multibillion-dollar Kovykta gas
project.

Interros also lost interest in Svyazinvest, which Potanin once called a "tasty morsel," and has
sold part of its stake to Soros. Thus, Norilsk Nickel remains Interros' main asset, and is
arguably worth more than all the failed projects combined -- it accounts for the lion's share of
the roughly 3 percent of Russia's GDP that Potanin controls.

Norilsk Nickel, which had been suffering from glaring mismanagement before Potanin took
over, became a dream asset. While many are still bitter at Potanin's good fortune in the
privatization game, few would argue that his team quickly turned the plant around. The swift
streamlining of the management coincided with the ruble devaluation, and the previously
loss-making Arctic Circle giant began turning a profit for the first time in 1998.

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Although Norilsk is expanding and has projects as far afield as Australia, basing your empire
on raw materials is always risky, so Potanin is making a foray into machine building.

"You have to have something in hi-tech, which uses intellectual added-value," he has said.
Interros' high-tech holdings currently include jet-engine builder Perm Motors and Siloviye
Mashiny, a consortium uniting several plants whose main product is turbines.

Balancing high-tech with low-tech, Interros last month set up an agricultural company, Agros,
with a charter capital of $100 million and a working capital of $200 million, and bought a
stake in major agricultural company Roskhleboprodukt with some of the $1 billion it earned
selling Sidanco to Alfa and British Petroleum. Through Agros, Interros hopes to control 7
percent of the world grain market and join the world's top five grain producers down the road.

Despite spinning off some units, Interros remains diversified, retaining a few pieces of its old
empire, including several mass media names, including national daily Izvestia, which was
Potanin's main weapon in the 1997-98 propaganda battle over Svyazinvest, and
Komsomolskaya Pravda. There is also the influential news agency Prime-TASS and the
high-brow Expert business magazine. The group also owns a 34 percent stake in the
Novolipetsk steel mill, as well as insurance and asset-management companies, and plans to
create a banking holding with Rosbank and MFK as its core.

Potanin's strategy now looks more like that of Alfa Group, with which he tried and failed to
create a union in the mid 1990s, than Millhouse's.

"Interros is completing the asset restructuring process which was started in 1998, and one of
the obvious signs of this process is spinning off or selling off non-core assets," Potanin has
said.

The Interros transformation may be an indication that the division of assets between rival
groups, which has sent shockwaves through the country for years, is subsiding, at least in
some sectors.

Alfa Group

Mikhail Fridman's Alfa Group is the slickest and nimblest of the three major financial
industrial groups and it may be the mightiest.

The brokerage Renaissance Capital puts the value of Alfa near $8 billion and its increasing
financial and political power is hard to overestimate.

Andrei Ryabov, a political analyst at the Moscow Carnegie Center, said that since the crisis,
Alfa has managed to build one of the most powerful and effective political lobbies in the
country. The appointment last year of Vladislav Surkov, an active Alfa lobbyist, as the deputy
head of the presidential administration paved the way for other Alfa agents to follow in

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different branches of power, he said.

Unlike Potanin and Abramovich, Fridman was considered a Kremlin outsider and before the
crisis was often derided by other oligarchs for not having connections with the nomenklatura.

In the 1980s Fridman tried virtually every kind of business there was at the time. He started
a courier service, an apartment rental agency, he sold Siberian wool shawls, imported
Western cigarettes, perfume, computers, Xerox machines and he even bred white mice for
laboratories before he hit paydirt with the creation in 1988 of the small commodities-trading
firm Alfa Eko, which in a few years turned into the powerful financial-industrial consortium
Alfa Group.

In 1991 Fridman founded OAO Alfa Bank, the heart of the group, and soon afterward
recruited Pyotr Aven, former minister of foreign economic relations in Yegor Gaidar's first
Cabinet, to raise Alfa's political profile.

Their first big-league battle ended in defeat, when they lost the battle for Sibneft to
Berezovsky and his associates.

Alfa didn't win as many prized assets as other groups, a fact that compelled it to make the
most of what it got and to build other businesses from scratch.

"Alfa, earlier than anyone else, comprehended the problems of Russian legislation," and
acquired assets through the bankruptcy process, said Renaissance Capital economist Alexei
Moiseyev.

A well-calculated financial policy, caution and thrift helped Alfa to increase its influence step
by step.

Alfa Bank has always been the backbone of the group -- while other conglomerates spent
most of their efforts acquiring production assets, Fridman and Aven focused on banking.

As a result, former rivals like MOST-Bank, SBS-Agro, Menatep, Inkombank, Uneximbank,
Mosbiznesbank and Rossysky Kredit now stand as empty shells, but Alfa Bank not only
emerged from the 1998 crash, it also bolstered its reputation by honoring commitments to
creditors and depositors.

"The bank was a core business for Alfa, so they joined forces, with significant support from
the government, to save the bank," said Mikhail Matovnikov, deputy head of Interfax Rating
Agency.

Alfa Bank is now a leading private bank with a nationwide network and a credit portfolio of
$1.3 billion and assets of $2 billion.


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Its biggest asset is Tyumen Oil Co., or TNK, the No. 2 oil company in the country by
reserves and No. 4 in production. Alfa got control of TNK in 1997, when the Kremlin, after
Alfa helped Yeltsin's re-election campaign the previous year, sold a 40 percent stake for
$810 million. Alfa, which now has a 50-50 partnership in the company with an affiliated firm,
Access-Renova, watched TNK's revenues grow from $2.3 billion in 1997 to $4 billion in
2000.

Last year an 85 percent stake in the coveted Onako oil firm was sold for $1.08 billion to a
little-known firm owned by TNK.

Meanwhile, Fridman nurtured Alfa Eko into one of the largest exporters of oil and importers
of sugar and tea in the country and a major metals player through companies like Achinsky
Alumina Plant, Zlatoustovsky Metallurgical Plant and Taganrog Pipe Plant. It also controls 8
percent of all wine imports and, after last year's scandalous deal with the Trading House of
Descendants of Pyotr Smirnov, expects to soon become one of the largest vodka producers
in the country.

Alfa owns Perekryostok, Moscow's top supermarket chain with expected turnover this year of
$220 million from its 33 stores. The group also operates a real estate arm, Alfa Estate, and
Alfa Cement, which has 25 percent of Russia's cement market.

And the group shows no signs of slowing down.

Alfa, which already has representative offices in New York and London, this week
announced the creation of a subsidiary in the Netherlands to facilitate trading operations
between Russia and EU countries. And last week it officially launched Alfa Insurance, which
includes the East European Insurance Agency, Alfa Garantiya and Ostra Kiev.

In April, Alfa stepped into the telecoms business, buying a 43.8 percent stake in Russia's
leading Internet company, Golden Telecom, for $110 million. A month later, it paid $247
million for a chunk of No. 2 mobile operator Vimpelcom and Vimpelcom-R, its regional arm.

This summer, Crown Resources USA, a newly established subsidiary of the Alfa Group's
Swiss subsidiary, Trading Resources, announced it would focus on aluminum trading. Until
recently, Crown Resources traded in oil and petroleum products.

"The Alfa approach is bringing in a foreign strategic investor in the hope of selling the
company on. Alfa gives the political contacts and capital to some extent. You sort the
company out with the help of the foreigners who bring in the expertise and the goal is to sell
the company on" said Goldman Sachs' Breach.

"We are neither bankers, nor oil men, nor telecommunicationsists -- we are investors,"
Fridman said. "We invest in projects and withdraw from them if we believe it is the right time,


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place and price. We are sure that one day we will withdraw from oil and banking assets and
will possibly be investing in other assets," said Fridman.

No one doubts the size of Alfa's operation. But, like Interros and Millhouse, no one really
knows exactly how much they own, either.

"It is hard to say who controls what and how," said Alexander Astapovich, deputy head of the
Bureau of Economic Analysis. "The lack of transparency is the same in all big holdings."

The lack of transparency and the lack of a functioning banking system, analysts say, are
causes for worry, as giant financial industrial groups like Interros, Millhouse and Alfa look
poised to grab more of their already sizeable share of the national economic pie.

"These companies -- Interros, Millhouse, Alfa, etc. -- are going to be the center of the
Russian economy's growth for the major part of the following decade," said Renaissance
Capital's Moiseyev.

Unless, that is, history repeats itself.




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Power broker in Russia's shifting scene.
By ARKADY OSTROVSKY AND ANDREW JACK.
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Mikhail Fridman (pictured), head of the powerful Russian group Alfa, has done more than most of his rivals to establish corporate partnerships with the west. But he makes clear that operating in his country remains a highly distinctive
business.

Sitting in his Moscow office, Mr Fridman - Russia's third-richest man, with an estimated wealth of $4.3bn (GBP2.7bn) according to Forbes Magazine - defends the privacy of his group and his reluctance to adopt full public disclosure of
ownership.

"The rules of business are quite different to western standards," he says. "I don't want to lie and play this game. To say one can be completely clean and transparent is not realistic."

Mr Fridman is a veteran Russian oligarch, one of the original seven who bankrolled former president Boris Yeltsin's election in 1996 in return for participation in cut-price "loans for shares" privatisations. Since then some of his peers have
lost their businesses and gone into self-imposed exile. Mr Fridman has bridged the transition to the new regime of President Vladimir Putin more smoothly than most, and has gone further in restructuring and selling interests in his
businesses.

Mr Fridman makes no bones about the way he and his counterparts made their money. "Of course we benefited from events in the country over the past 10 years. Of course we understand that the distribution of state property was not
very objective. But we used our chance, and people are angry about it," he says.

The centrepiece of his empire is the oil group TNK, which recently combined its assets with BP to create a $14bn joint venture, a flagship deal blessed and praised by Mr Putin as a sign of Russia's openness to foreign investment.
Sceptics say the deal is a form of insurance policy for Mr Fridman in Russia's still politically unstable environment.

"Fridman has created a transnational company which is now outside the Kremlin's jurisdiction," says Igor Bunin, a Russian political analyst. Mr Fridman rejects this argument, insisting that business - not politics - was his only
consideration.

The deal, approved this week by the Russian anti-monopoly ministry, poses significant challenges for both sides. Russia's poor environmental standards constitute one of them. Mixing Anglo-Saxon corporate culture, epitomised by BP,
with Russian practices is another. Behind the affable public face of Mr Fridman, observers talk of associates, including German Khan, another important Alfa shareholder described by many as one of the country's most ruthless
businessmen.

Alfa itself has been criticised for its aggressive approach, illustrated last December when it joined with Sibneft to bid for the state oil group Slavneft, depriving the government of the extra revenue that a more competitive auction might
have generated.

Buying TNK at privatisation, for more than $800m, forced Alfa to raise substantial debt, helping to pioneer links between Russian companies and foreign banks. Its need to join forces at TNK with Access/Renova, another powerful
Russian business group, also gave it an early taste of co-operating with those outside its own tight circle, rare in a country where a strong majority shareholder is the norm.

Its business strategy is different from those of other groups. While his peers focused on one core asset - usually oil or metals - Mr Fridman diversified, moving into growing sectors of the economy and playing the role of a venture capital
fund. His talent, observers and competitors say, lies in spotting trends.

Alfa also stands out for riding the recent turbulence in Russia's own political landscape. With the transition from Mr Yeltsin to Mr Putin, many observers still see it as among the most influential lobbyists in parliament and the Kremlin,
where a number of its former employees work.

In the years since Mr Putin ordered the oligarchs to keep out of politics, Mr Fridman has been cautious and discreet, observing the new rules of the game.

"Of course we lobby our interests in parliament; but we don't get involved in politics," he says. When a chairman of a commercial TV channel 25 per cent owned by Alfa asked Mr Fridman's permission to hire an outspoken Russian
journalist, Mr Fridman replied: "Only if you can guarantee that there will be no telephone calls from the Kremlin."

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The 'evolving oligarch'
  institutionalinvestor.com/article/b15135r36rgw6y/the-evolving-oligarch


Mikhail Fridman's headquarters in Moscow has the look and feel of an old-time Hollywood
mogul's lair: The ceiling vaults 20 feet, colossal abstract paintings hang on the walls,
designer chairs induce soothing comfort, and a broad staircase leads to a very private
alcove. In this opulent setting Fridman is summarizing a few of the basic tenets behind his
improbable rise from window cleaner to billionaire oligarch in barely a dozen years.

Rule No. 1: Only make investments that offer potentially huge returns. "When we began, we
never thought of investing in . . ." -- here Fridman pauses, straining to locate objects of
insignificance amid all this splendor -- ". . . in cups or ashtrays, for example. We looked for
really big businesses, like banking and oil."

Rule No. 2: Foreign investors are welcome, but only after Russian insiders have won the
most lucrative battles for assets (see box, page 126). A case in point is the recent merger of
Fridman's oil company with BP, which didn't take place until the British petroleum giant had
been forced to forgo several years of profits in an earlier investment in the same property.

Rule No. 3: Don't expect reforms to change Russian capitalism's robber baron mentality
anytime soon. "It's not that I object to reforms, but businessmen can't wait around for the
government to act," he says.

Rule No. 4: "Eventually, everything we own is for sale -- probably to foreign investors," says
Fridman.

And rule No. 5: No matter how much wealth you amass, stick to business and leave politics
to the professionals. Mikhail Khodorkovsky, Russia's richest oligarch, appears to have gotten
himself into deep trouble by breaching that barrier (see page 9). After hinting at presidential
ambitions, he and his Yukos Oil Co. recently came under criminal investigation. On the other
hand, the more prudent Fridman -- a tall, burly 39-year-old with an impish grin who is
Russia's third-richest man -- has emerged as President Vladimir Putin's favorite oligarch; he
even got the Russian leader to show up for the June signing ceremony in London of the
merger of his company, Tyumen Oil Co., or TNK, with BP.

That $6.15 billion deal, which covers oil and gas production, has made Fridman a household
name in Russia. But he was already superrich from investments in oil, telecommunications,
banking, food distribution and commodities trading funneled through his Alfa Group
Consortium. That financial-industrial conglomerate was cobbled from the profits of a motley
assortment of capitalist ventures -- from nightclubs to laboratory-animal breeding --
undertaken by Fridman as a university student and young factory engineer in the waning
days of the Soviet era.

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It's the kind of incredibly swift rags-to-riches story that has induced investors to become
bullish on Russia once again. Memories of the devastating financial crisis are fading. In the
first six months of 2003, share prices on the local bourse, the Russian Trading System stock
exchange, climbed about a third. Russian corporate bond issuance reached $3.5 billion in
the same period, easily topping the total for all of 2002. And, fueled by oil exports, GDP grew
by 4.3 percent in 2002 and surged at a more than 7 percent annual rate in the first half of
this year.

Although most of Fridman's Alfa Group investments are privately held, the publicly traded
shares in the two telecoms controlled by the group -- fixed-line operator Golden Telecom and
wireless operator JSC Vimpel-Communications, both with clients mainly in Moscow and St.
Petersburg -- have easily outperformed the local stock market. Golden Telecom (Nasdaq
symbol: GLDN) soared from a 52-week low of 10.15 last October to 30.55 in July.
VimpelCom (NYSE symbol: VIP) rose from a 52-week low of 20.62 in July 2002 to 49.02 a
year later.

Business oligarchs like Fridman continue to power the Russian economy -- and to hold the
fate of minority shareholders in their hands. According to a December 2001 study by
Brunswick UBS Warburg, a Moscow-based investment bank, eight financial-industrial groups
control the 64 largest private companies in Russia. Among the prominent oligarchs cited in
the study alongside Fridman and Khodorkovsky were Roman Abramovich (Russia's second-
richest man, who is merging his oil operations with Khodorkovsky's), Oleg Deripaska (who
owns the largest aluminum producer in the country) and Vladimir Potanin (who used part of
his oil proceeds to corner Russia's nickel output). Critics contend that this concentration of
wealth creates barriers to competition, makes it more difficult for new businesses to get
started and offers portfolio investors very limited choices on the local equity markets. The big
financial-industrial groups "aren't acting very differently from monopolies anywhere else,"
says Christof Ruehl, chief economist at the World Bank's Moscow office."

Both the World Bank and the International Monetary Fund are urging Moscow to press
ahead with structural reforms that would diversify the economy beyond its heavy
dependence on oil and other natural-resource exports. With most banks linked to the big
financial-industrial groups, credit is virtually unavailable for other businesses. "Sounder
financial institutions and stronger financial intermediation will be key to improving the climate
for private sector activity, particularly for small and medium-size enterprises," asserted an
IMF report in May. According to a World Bank study released last year, such businesses
account for only 12 percent of Russia's GDP, compared with more than 50 percent in the
U.S. and much of the European Union.

Defenders of the Russian capitalist model argue not only that it isn't broken but that it doesn't
need fixing. Only China's economy is expanding faster, they note. Besides, say the optimists,
oligarchs have moderated their hard-boiled approach to business. But skeptics remain. "With

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Russia's kind of growth, it's hard to convince people that business and banking reforms are
urgent," says Stephen Jennings, chief executive officer of Renaissance Capital, a leading
Moscow-based investment bank.

Fridman is often cited as a paragon of the evolving oligarch. "He played some rough games
earlier in his career," says Marshall Goldman, a Harvard University economics professor
whose recent book, The Piratization of Russia: Russian Reform Goes Awry, offers a
scathing vision of buccaneer capitalism. "But nowadays he looks like one of the more
enlightened entrepreneurs."

Nothing better illustrates Fridman's progress from notoriety to celebrity than his dealings with
his new partner, U.K. oil giant BP. Even though BP once sued Fridman for seizing valuable
petroleum fields for which the British company had paid close to a half-billion dollars, this
past June BP signed a deal to pay $6.15 billion -- the largest foreign investment in post-
Communist Russia's history -- for half of Fridman's TNK, which controls the same oil fields.
Between these two bookends is a rough-and-tumble saga about "learning to do business in
Russia -- the hard way," says Robert Dudley, the BP vice president who has been named
chief executive officer of the joint venture, TNK-BP.

It all began in 1997, when BP spent $471 million for a 10 percent share in Sidanco Oil Co.,
which owned rich deposits in western Siberia and was controlled by oligarch Potanin.
Potanin plunged Sidanco deeply into debt, and Fridman, the rival oil tycoon running Alfa
Group, swiftly moved to take over the Sidanco subsidiaries that held the largest petroleum
fields. In 1999, Fridman had a Siberian court declare the Sidanco units bankrupt and then
purchased them cheaply for his own company, TNK.

"Legally, we acted properly," says Fridman. "True, our bankruptcy laws can be contradictory
-- even our judges don't always understand them."

Fridman says that BP was an unfortunate bystander in his battle with Potanin, but he insists
that the British company refused to listen to his explanations and instead took legal and
political action against him. Besides fighting TNK and Fridman in Russian courts, BP sought
to regain the oil fields by appealing directly to Putin and then prevailing upon British Prime
Minister Tony Blair to make a written plea to the Russian leader. In Washington, BP lobbyists
stalled a $500 million loan that TNK was seeking from the Export-Import Bank of the United
States. But all this global clout didn't mean much in Moscow or Siberia. "BP is a big,
influential company in the world," says Fridman. "On the other hand, in Russia we are
stronger."

So why did these bitter foes become partners? BP was driven by the need for new reserves.
With oil fields in Alaska and the North Sea depleting, Russia offered the most promising
venue outside the Middle East. And in Siberia, Fridman controlled some of the most


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attractive fields, including the Sidanco properties. BP dropped its legal and political actions
against Fridman and began exploring the possibility of going into business with him. Not
wishing to be gored again, BP first tested Fridman's reliability by purchasing an additional 15
percent of shares in Sidanco in 2001. According to BP's Dudley, there were no hitches in co-
managing Sidanco with TNK or getting Fridman to agree on long-term company strategy.
Convinced it could work with the oligarch, BP signed the deal with TNK earlier this year,
creating the third-largest oil company in Russia, with assets of about $14 billion and
production of some 1.2 million barrels a day.

"Sometimes you can build mutual trust through adversity," says Dudley. Still, BP must have
wondered again about its new Russian partner's trustworthiness when a few weeks later, on
the eve of the June 26 signing ceremony in London that would be attended by both Blair and
Putin, an awkward hitch developed. It seemed that TNK had purchased an interest in
another Russian oil company, Slavneft, last December, adding about $600 million in debt to
TNK's books. Apparently not informed about this extra burden, BP balked at paying the
previously agreed-upon $6.75 billion for half of TNK and signed the final accord only after all-
night negotiations reduced that figure to $6.15 billion. BP says that it may yet include the
Slavneft stake in the joint venture but that it will insist upon some rigorous due diligence
before deciding.

Though BP was paying a second time for access to the same reserves it had bought in
1997, it still got its Russian oil cheaply. According to a Renaissance Capital analysis, BP
purchased TNK's reserves at about one third the price per barrel that it would have paid for
oil in countries with more reliable track records. Dudley concurs: "BP believes it paid a fair
price, because the risks are clearly there."

For Fridman, the deal was a no-brainer. With BP's technical and marketing prowess, he
says, "the company's performance will improve, and our shares will rise many times if we
decide to sell them in the future." Some analysts view Fridman as the clear winner. "He took
a global operator like BP and made them play to his terms," says James Fenkner, chief
strategist at Troika Dialog, a Moscow-based brokerage. Adds William Browder, chief
executive officer of Hermitage Capital Management, a Moscow-based fund, "Fridman was
one of the first oligarchs to figure out that his assets would become even more valuable if he
brought in foreign investors."

But Fridman isn't gloating. He still has to contend with a $1.5 billion racketeering suit filed
against him and his Russian partners in U.S. District Court for the Northern District of New
York last year by Canada's Norex Petroleum, another minority shareholder in Sidanco's oil
units. "We're demanding the return of the oil and other assets taken from us by TNK and Alfa
Group," says Norex president Phil Murray. Fridman responds that Norex is hoping for an out-
of-court settlement. "But we are not prepared to bargain with them, because it's a question of
our reputation," he says. "They are accusing us of terrible crimes."

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A smooth partnership with BP would go a long way toward enhancing Fridman's reputation.
Under the agreement BP's Dudley will be in charge of the joint venture's day-to-day
management, while Fridman as chairman of the board will seek to smooth out any political
road bumps and arrange further acquisitions. "One of the strengths of Russian partners is
that they know the landscape and what new opportunities are out there," says Dudley.

IN HIS METEORIC CAREER FRIDMAN HAS certainly demonstrated a nose for new
business opportunities. Born in the Ukrainian city of Lvov, he came to Moscow in the 1980s
to study metallurgical engineering. While still at university he earned money as a private
window washer and as co-owner of a discotheque -- activities that were officially illegal in the
Soviet Union. Later, though employed as an engineer in a state electrical-machinery factory,
Fridman found time to start a private courier service, an apartment rental agency for
foreigners, a company that imported cigarettes and perfumes and another that sold used
computers. He even bred white mice for laboratories. Fridman says his business mentor was
his grandmother, who owned a kitchenware shop back in Lvov. "When I first got started, I
went to her for advice," he recalls. "She told me, 'Never have dealings with the Reds.'"

When Communism collapsed in 1991, Fridman was ready for the new, capitalist era. With
the profits from his sundry businesses, he paid the required $100,000 fee to establish a bank
-- Alfa Bank -- that would become the core of his Alfa Group Consortium, which has holdings
in oil, telecommunications and supermarkets, among other ventures. Fridman's Alfa Group
has often acted in partnership with Access/Renova Group, a New Yorkbased investment firm
owned by Russian émigrés Victor Vekselberg and Len Blavatnik. Alfa and Access/Renova
each owned half of TNK and now hold equal 25 percent shares in TNK-BP.

The sale of state companies to the new private sector was marred by bribery, phony loans-
for-shares schemes and the hiring of private paramilitary forces to seize disputed properties.
In 1995 alone more than 400 businessmen and their political associates were murdered by
rivals. "It was no different from the Wild West in the U.S. 150 years ago," says Fridman.

Fridman emerged from these capitalist wars with a mega-fortune, thanks in large measure to
his being part of a group of seven entrepreneurs who helped finance Boris Yeltsin's 1996
presidential election campaign. Grateful for his unexpected victory, Yeltsin allowed these
men to acquire for a pittance some of the state's most valuable natural-resource and
industrial enterprises. When Putin ran for president three years ago, he vowed that
"oligarchs will cease to exist as a class."

But aside from Boris Berezovsky and Vladimir Gusinsky -- who were forced abroad after
clashing with Putin -- the new president allowed the oligarchs free rein until recently. In fact,
there are now 17 known Russian billionaires. But with parliamentary elections in December
and his own reelection campaign pending next March, Putin appears to have turned up the
heat on some of the oligarchs, who as a group are deeply resented by many voters.

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Khodorkovsky, the Yukos oil tycoon, has been the main focus of this campaign. In early July
Russian police arrested Platon Lebedev, a close Khodorkovsky associate at Yukos, and
accused him of stealing state property during the 1994 privatization of a fertilizer plant. Since
then police investigators have searched Yukos offices, presumably for damaging evidence
against Khodorkovsky. The incidents come several months after hints by Khodorkovsky that
he might someday run for president and after he announced his financial support for several
political parties that oppose Putin.

Like most oligarchs, however, Fridman is a heavy contributor to the United Russia Party, the
political entity most closely linked to Putin, who remains highly popular and heavily favored
to win a second term. Fridman leaves no doubt that he will support Putin and the United
Russia Party. "Under Putin the right of business to exist is no longer in question," says
Fridman, who points out that threats to businesses and their owners were commonplace
during the Yeltsin era.

Business-related murders have dropped to about a score a year. Heavily armed private
security squads have almost disappeared. Nowadays, Fridman rarely deploys more than a
couple of visible bodyguards and feels safe enough to indulge his passion for jazz at
Moscow clubs on sudden whims (though apparently he worries enough about his family's
safety to install his wife and two young daughters in Paris, where he visits them on
weekends). The tycoons' new image is reflected in their clothing: Gangsta-rap leather
jackets are out; Armani suits are in. Even more startling, oligarchs have become cultural
philanthropists, and Fridman is among the most generous, contributing hundreds of
thousands of dollars each year to the arts, especially the Bolshoi Theatre (see box at left).

Most of Fridman's philanthropy falls under the auspices of Alfa Bank, the enterprise he uses
to project his more modern, sophisticated business side. With a net income of $105 million
on assets of $4.12 billion at the end of last year (compared with $85 million in net income on
$2.7 billion in assets in 2001), Alfa is the largest private bank in Russia. But it still holds less
than 5 percent of a market dominated by state-owned Sberbank, which last year had $33
billion in assets, 40 percent of total bank deposits and 30 percent of all loans.

Alfa Bank CEO Pyotr Aven points out that the state bank can offer lower interest rates on
loans than his bank because of its near-monopoly on the savings accounts of pensioners,
military personnel and just about anybody living outside the major cities. "Sberbank's
presence destroys the possibility of fair competition," Aven says.

Nonetheless, Alfa, which made its mark in corporate lending, is moving relentlessly into the
less-profitable retail sector. "We want Alfa to be more 'sellable' -- and at the highest possible
price -- should we decide to sell it someday," says Aven, who believes that if Alfa becomes a
stronger universal bank, it will increase its allure to potential buyers abroad. This year it is
launching 25 Alfa Express outlets in Moscow -- highly automated, minimally staffed branches

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that appeal to upscale clients. But for now Alfa arouses little interest among foreign buyers.
Says a Moscow representative of a large Western bank, "No private bank has a significant
enough market share to make it worth buying."

Alfa currently has a B credit rating from Standard & Poor's, placing it near the top of Russia's
private banks. But Alfa has inevitably been tainted by the weaknesses of the Russian
banking system. According to an April report by S&P, up to 75 percent, or $43 billion, of all
corporate loans by Russian banks are "problematic" and "face a high degree of risk."
Moreover, the bulk of these loans were made to the oligarchs who own them. "Many private
banks exist to serve their financial-industrial groups," says Ekaterina Trofimova, the S&P
analyst who wrote the report. There is a near-absence of credits for small and medium-size
enterprises, or SMEs, which play a much smaller role in Russia than in Eastern Europe.

Fridman acknowledges Alfa's fondness for related-company loans. And though he concedes
that more SMEs would create a healthier, more balanced Russian economy, he makes no
excuses for virtually ignoring smaller enterprises (they receive less than 10 percent of Alfa's
commercial loans). "If we continue to loan to our group companies, it's because they are
fast-growing, profitable businesses that are much safer clients," he says. He also dismisses
criticism by credit rating agencies that Alfa Bank should reduce its exposure to related
companies in favor of less-risky government bonds. That advice, he points out, would have
been disastrous in the 1998 financial crisis, when the government defaulted on many of its
debts. Thanks to holdings worth hundreds of millions of dollars in oil producer TNK, a related
company, Alfa Bank was able to weather the storm and distinguish itself as one of the few
banks that continued to allow withdrawals by its customers.

Over the past three years, Alfa has in fact reduced its loans to related companies to about
15 percent of its portfolio, a low share compared with other Russian private banks. "Alfa has
improved in this respect more than almost any other bank," says Trofimova, "but it continues
to abuse its balance sheet by taking on too much credit risk from its group companies." As a
glaring example, she cites the use of Alfa Bank loans to finance Alfa Group's acquisition of a
controlling 48 percent stake in Golden Telecom, a fixed-line telecom operator that targets
mainly corporate clients in the major Russian cities. With a current $749 million market
capitalization, Golden Telecom had $29.8 million in net income on revenues of $199 million
last year, compared with a loss of $39 million from $140 million in revenues in 2001.

For Fridman, though, Golden Telecom is a fine example of the synergy between the bank
and the rest of Alfa Group. "Banking isn't so profitable as our other investments, but when
we make loans, we become aware of new business opportunities," he says. "That's how we
got into the telecom sector." Besides Golden Telecom, Alfa has a 25 percent stake in JSC
Vimpel-Communications, the second-largest cellular phone company in Russia, with a
market capitalization of $2.1 billion and net income of $130 million from $768 million in
revenues last year, compared with net income of $47 million from $423 million in revenues in

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2001.

Rounding out Alfa Group's holdings are commodities trader Alfa-Eco Group ($13.8 million in
net income in 2002) and supermarket chain Trade House Perekriostok (net income of $7.9
million in 2002 on revenues of $305 million). But all these businesses -- banking, telecoms,
commodities and retail -- are dwarfed by Alfa Group's oil holdings in TNK and Sidanco,
which accounted for more than 80 percent of the group's net income of $800 million last year
(virtually unchanged from $797 million in 2001) on total assets of $6.84 billion, despite the
huge run-up in oil prices.

Though Fridman prefers to run his varied conglomerate wearing banker's pinstripes,
ensconced in Alfa Bank's elegant Moscow headquarters, the bulk of his fortune comes from
the rough oil trade in the Siberian wilds. According to Forbes magazine, he has a personal
worth of $4.3 billion, behind only Khodorkovsky and Abramovich, who agreed to merge their
oil companies, Yukos and Sibneft, after the TNK-BP deal was announced.

Fridman views himself as an investor more than an oilman or a business manager. He
intends to funnel most of the proceeds from any enterprise he sells back into Russia's
bountiful oil and gas fields. "He needs businesses of the scale that only natural resources
can provide," says Renaissance Capital's Jennings, meaning that no other businesses can
provide the huge returns that Fridman insists upon.

Those are also likely to be the businesses that will continue to arouse the greatest interest
among foreign investors -- and pose the biggest risks. Recently, progress has been made in
improving transparency, strengthening minority shareholders' rights and ensuring better
corporate governance. The quality of corporate management has improved, according to
some investment bankers and fund managers. Businesses are less likely to be stripped of
cash and assets without any concern for minority shareholders. But perversely, corporate
scandals in the U.S. have somewhat reduced the pressure for further business reforms in
Russia. Nowadays it's fashionable in Moscow to drolly point out that cases like WorldCom's
Bernard Ebbers and Enron Corp.'s Kenneth Lay aren't unique to the U.S. "We still have
some Siberian provinces that resemble Texas," says Timerbulat Karimov, an oil and gas
analyst at Aton Capital Group, a Moscow brokerage firm. "We even have our own Kenny
Boys."

Fridman couldn't agree more. "Even in Western countries businesspeople don't always
follow the letter of the law," he says. "No matter how much legislation is passed here, it still is
going to take years for Russian businessmen to behave in ways that foreigners consider
normal."


Fridman on BP, investing and guns
Observers of Russia's coarse capitalism tend to name Mikhail Fridman as their favorite

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oligarch. "A very disciplined investor" and "a guy with an understanding of business that few
people here have" are some of the more positive comments he elicits. "At least he's not
linked to any awful stories of violence" goes the more grudging sort of comment. In an
hourlong interview at his Moscow headquarters with Institutional Investor Contributing Editor
Jonathan Kandell, Fridman spoke with his well-known mix of charm, candor and gallows
humor about what investors can expect from Russia nowadays -- and about his own
business plans.

Institutional Investor: What has to be done in the Russian business world to change
the perception abroad that investing here is still too risky for minority shareholders?

Fridman: We understand the need for more transparency, international accounting
standards and better corporate governance if we want access to capital markets. But the
biggest problem for foreign investors is a lack of experience and understanding of the
business climate here.

Should foreigners wait until Russian insiders have divided up the spoils before
investing in the country?

It is very risky to participate in the privatization of a company at its earliest stages. This isn't
like investing in U.S. Treasury notes. People have to be ready for a fight, though hopefully
they can do it in the courts nowadays instead of with guns [laughter].

BP at one point accused you of illegally seizing its oil reserves. How were you able to
overcome all that bitterness and get BP to agree to a merger?

We both had to demonstrate flexibility and a deeper understanding of the other side's
motivations. Legally, we acted properly, and I think they now recognize this. As far as ethical
considerations, that's another matter. From BP's point of view, our behavior was
unreasonable.

Under the merger there is an equal partnership between BP and your Tyumen Oil Co.,
but who has the ultimate say in case of disagreements?

President [Vladimir] Putin asked us the same question. The answer is, we have an informal
but clear understanding of each side's sphere of responsibility. Everything concerning
technical issues will be in the hands of BP. Of course, our decisions will prevail in everything
concerning Russian issues. The biggest potential conflict could arise in strategies abroad.
For example, Tyumen wants a presence in Eastern Europe, and that might put us in
competition with BP operations in those countries.

What are your strategies for your telecommunications companies?

We don't intend to keep anything until we die. But it is a matter of deciding when it is best to

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sell. In the case of selling one half of TNK to BP, it made sense because it would improve the
company's performance and value. In telecommunications it makes no sense to sell at this
point because we are in the early stages of a very fast-growing market.

Is Alfa Bank for sale as well?

Eventually, we will sell or merge with a foreign partner. But it's premature for now because
Western banks aren't very active in Russia yet, and we wouldn't get a good enough price.

Where do you think you will make future investments?

Energy is still the most promising business in Russia. The oil market has more or less been
divided up. But we are just at the beginning stages of the natural-gas market. Sooner or later
the reform of the gas market will be carried out, and we want to participate.

Views on the Russian economy seem to be polarized, with many investment banks extolling
its high growth while organizations like the International Monetary Fund and World Bank
warn of serious problems ahead.

That reminds me of what Tolstoy wrote in Anna Karenina: "Happy families are all alike; every
unhappy family is unhappy in its own way." We are a country of many unhappy families, and
there is no one cure for our troubles. But to really know what Russia needs, you have to live
here for many years not just be a foreign expert on a short stay. Outsiders ask how we can
live with so much turbulence. But we have adapted, and things are getting better. We are
ready for whatever comes.

You are only in your 30s and already a multibillionaire. Where do you want to be 20
years from now?

My goal is to lead as interesting a life as possible. I still prefer spending time at the office to
going on vacation. As long as I feel that way, I'll keep doing the same thing.


Ballet school
Becoming a major patron of the opera has always lent a patina of class to new money, no
matter how outrageously that money was acquired. Jay Gould and J.P. Morgan, robber
barons of America's Gilded Age, contributed heavily to New York's newborn Metropolitan
Opera. Now, more than a century later, Mikhail Fridman and Russia's other maligned
oligarchs are making generous donations to the Bolshoi Theatre, home to Moscow's
legendary opera and ballet companies.

Representatives of a dozen private enterprises, including Fridman's Alfa Bank, each pony up
$250,000 a year to sit on the Bolshoi's board of trustees. Though Fridman neither likes opera
nor attends performances, he knows that such contributions can enhance his public image.

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"Russia has always been proud of the Bolshoi," says Alexander Gafin, the Alfa Bank vice
president who sits on the theater's board of trustees.

The injection of private philanthropy comes not a moment too soon for the Bolshoi. Built in
1856, the former cultural jewel box of czarist and Soviet Russia has deteriorated so seriously
that the theater itself poses a safety threat. "If renovation is put off any longer, there will be
nothing left to renovate," Tamara Nosenko, a Moscow representative of the United Nations
Educational, Scientific and Cultural Organization, warned in a June press conference. The
rot isn't evident from the orchestra and dress circle seats, where tuxedoed and gowned
season ticket holders can gaze around at all that luxurious red velvet and gilded plaster. But
with rescue efforts barely under way, a peek behind the scenes reveals a drearier reality.
Stage machinery hasn't been replaced since the start of the 20th century. Paint peels from
corridor walls; floors creak; musicians squint at tattered score sheets. It's easy to imagine a
Phantom lurking in those dark, musty stairwells and basement chambers.

The Bolshoi was kept afloat as a cultural showcase during the Communist era, but the 1991
collapse of the Soviet regime plunged the theater into crisis. Budgets were cut, and
administrators had no idea how to find new, private sources of financing. "They knew nothing
of fundraising, nothing of market forces like what productions would draw audiences and
how much customers should be charged," says Anatoly Iksanov, who took over as the
Bolshoi's general director three years ago.

The capitalist underpinnings of the new cultural era were no mystery to Iksanov. In 1991 he
was studying theater management in the U.S. on a Ford Foundation grant. Returning to
Russia, he wrote a book on American fundraising techniques that gained him an invitation to
head the Bolshoi. Because his budget precluded hiring a large staff to canvass widely for
donations, Iksanov decided to seek the bulk of private contributions from a small number of
big banks and businesses. Today 60 percent of the Bolshoi's annual budget is covered by
state subsidies, and the rest comes from philanthropy, ticket sales and the rental of the
theater for social and corporate galas. The state-to-private funding ratio is on a par with
Western European opera houses, though the Bolshoi's $35 million annual budget is only a
fraction of the expenditures at London's Royal Opera House at Covent Garden or the Met in
New York.

The transition away from state control wasn't smooth for the artists. When Alexandra
Dursenieva, a leading mezzo-soprano, joined the Bolshoi in 1994, the organization was
ripped apart by dissension between state-coddled veterans and reform-minded newcomers.
"Big-name old-timers were being pushed out," she recalls. "I performed often abroad, so I
could see how far behind the Bolshoi had fallen." But lately, she adds, there is more money
for musicians, singers, sets and new productions. "Famous foreign artists are invited to
perform here," she says. "We are moving forward in long strides, and all those bad years
seem worthwhile now."

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To extend opera's reach to a broader audience, Iksanov is looking into the possibility of radio
broadcasts. Well aware that Texaco (now ChevronTexaco Corp.) sponsored Metropolitan
Opera broadcasts on Saturday afternoons for more than six decades, he is hoping that a
similar arrangement with a big petroleum producer could benefit the Bolshoi. Fridman's
recent deal to merge his oil company with BP presents such an opportunity. "Maybe through
Alfa we can get BP to join our board," says the Bolshoi director, who adds that he hasn't yet
broached the subject with Gafin, Fridman's representative on the Bolshoi board.

Over the past few years, the Bolshoi has rid itself of a mediocre repertoire of state-imposed
operas and ballets heavily laden with Marxist ideology. But the struggle for artistic
independence hasn't ended with the new age of private philanthropy. "We make it clear to
trustees and other private donors that they cannot interfere in the artistic field," says Iksanov.
Instead, he tries to keep them focused on their areas of expertise as business managers,
bankers and lawyers: determining how spending can be cut and income targets met or how
to best take advantage of the Bolshoi brand in marketing consumer products. "But there is
always some big donor who will ask that his favorite opera or ballet be produced," says
Iksanov, "and we have to insist that what goes on stage is up to us."

The most talked-about opera of the recently ended season was not any oligarch's first
choice: Imaginatively staged and sung in its original English for the first time in Russia, The
Rake's Progress by Igor Stravinsky told the story of a dreamy young man who unexpectedly
gains a fortune but loses his moral bearings. Not the kind of allegory that's likely to enthrall
Russia's new magnates. -- J.K.




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As Russia Squeezes Big Business, A Tycoon
Decides to Pick a Fight
Mikhail Fridman Takes On
Putin's Telecom Minister;
Avoiding Another Yukos


By Gregory L. White Staﬀ Reporter of THE WALL STREET
JOURNAL
Oct. 6, 2005 12:01 am ET

MOSCOW -- Two have fled the country. Another is in jail, his oil empire in ruins.
Russian President Vladimir Putin has largely succeeded in his campaign pledge to
make oligarchs -- the powerful tycoons who emerged in the chaos of post-Soviet
Russia -- disappear "as a class."

Now, most of the country's super-rich are either packing up or hunkering down
and trying to stay on the government's good side.




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Except Mikhail Fridman. Using bare-knuckles business tactics, the 41-year-old
built an $8 billion empire spanning oil, telecoms, banking and retail. Now, he's
picking a fight with Leonid Reiman, Russia's telecommunications minister and a
longtime Putin friend.

Last fall, lawyers for units of Mr. Fridman's Alfa Group lined up Anthony
Georgiou, a former Reiman partner, to provide testimony to a British Virgin
Islands court that he'd paid over $1 million in bribes to Mr. Reiman. He testified
that the payments happened when the future minister was a top executive at a
Russian state phone company in St. Petersburg in the early 1990s. Based in part

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on allegations raised in the case, German prosecutors have opened an
investigation into whether Western banks facilitated any criminal activity.

Mr. Reiman has strenuously denied any wrongdoing, and late last year accused
Alfa of smearing him to prevail in a business dispute. "Alfa, because it's an old
oligarchic structure, is trying to use the traditional means by which they've
resolved conflicts many times over many years -- by putting pressure on oﬃcials,"
Mr. Reiman told reporters.

In fact, Mr. Fridman makes little pretense that this is just about clean
government. He's in a vicious battle over a stake in Russia's No. 3 mobile-phone
company. His lawyers are using the corruption charges to fight oﬀ a legal
challenge from a Bermuda-registered investment fund that claims it owns the
stake. Mr. Fridman has oﬀered to drop the lawsuits if the other side agrees to
settle.

In Russian business, where hostile takeovers often involve burly men with masks
and submachine guns, toughness has long been a key to success. But Mr. Fridman,
whose hardball tactics are legendary, is charting a lonely course of resistance at a
time when the state is increasingly squeezing private business.

"It's our style, our strategy and we're not changing it. We do a lot of things that
might seem aggressive to some people," the baby-faced Mr. Fridman says with a
smile, sitting in his spartan white oﬃce in downtown Moscow.

So far, Alfa has managed to avoid trouble with the Kremlin itself. Mr. Fridman has
tried to insulate himself by hiring former top government oﬃcials as advisers,
including Pyotr Aven, a former trade minister and an old friend of Mr. Putin who
meets the president regularly.

Mr. Fridman says he's careful to avoid anything that the Kremlin would see as a
challenge to its control of national politics. That's widely believed to be what got
billionaire Mikhail Khodorkovsky in trouble: He was contributing tens of millions
of dollars to a broad range of political parties. He's now serving an eight-year
prison sentence on fraud and tax-evasion charges. His OAO Yukos oil company
was slapped with $28 billion in back-tax claims and largely nationalized last year.

Where Mr. Khodorkovsky was often openly critical of the Kremlin during his
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frequent trips to the U.S., Mr. Fridman is much more careful. In January, he flew to
New York to open a lecture series his bank endowed at the Council on Foreign
Relations. The speaker was Russian Defense Minister Sergei Ivanov, a Putin
confidante and a man frequently tipped as a potential presidential successor. Mr.
Fridman introduced him as "an outstanding politician."

Alfa also has lined up some high-profile insurance. The oil company it controlled is
now half-owned by BP PLC, in a deal for which Mr. Fridman made sure to get
public backing from Mr. Putin and United Kingdom Prime Minister Tony Blair. In
the wake of the Yukos case, which has battered business confidence and badly
tarnished Mr. Putin's international reputation, Mr. Fridman says he doesn't think
the Kremlin will risk another open clash with big business.




Still, these days every new back-tax claim against a company linked to Alfa spurs a
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wave of speculation in the local press that Mr. Fridman is about to face the same
fate as Mr. Khodorkovsky.

A devoted movie and theater buﬀ, Mr. Fridman is also known to take a turn at the
piano at Color of the Night, the Moscow jazz bar he owns. He still looks a bit like
the nerdy kid from school, his brown hair untouched by grey. The self-described
adrenaline junkie has a taste for adventure that extends beyond the oﬃce to
annual oﬀ-road rallies through the jungles and deserts of Africa, Asia and Latin
America.


Limited Information
Public information about the Alfa Group is limited, since it's a private company
owned by Mr. Fridman and two university friends. Run roughly like a giant
private-equity fund, the group holds assets valued at about $20 billion, says Mr.
Fridman, who adds that his stake is "more than 40%." The assets are owned by a
complex web of holding companies located in discreet oﬀshore jurisdictions like
Gibraltar. Managers of the various businesses -- banking, oil, trading, retail and
telecoms -- own minority stakes in the individual units, sometimes alongside
outside partners.

"We're financial investors," says Mr. Fridman, who keeps an apartment in
downtown Moscow and commutes regularly to Paris, where his wife and two
daughters have lived since the early 1990s. "We don't consider ourselves experts
in the industries we're in."

Colleagues say Mr. Fridman led the group's push in the late 1990s into the oil
business, which now delivers most of the profits. Telecom has been the focus for
expansion since then -- Russia has been among the world's fastest-growing
wireless markets for the past several years. Mr. Fridman says he aims to cobble
his stakes in the region together into a regional network and then negotiate an
equity alliance with a global player like Vodafone Group PLC.

For Mr. Fridman, a Jewish kid from Lvov in what's now Ukraine, persistence has
long been a business signature. As a student in Moscow in the 1980s, he says he
was blocked from continuing his studies because of anti-Semitism in the Soviet
education system. So he started a window-washing cooperative, becoming one of

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the first to take advantage of the chance to open a private business.

After the collapse of the Soviet Union in 1991, he built his fortune trading
everything from Oriental rugs to Cuban sugar to Russian crude. As the
government began privatizing thousands of state companies, Mr. Fridman pushed
the group into the oil business. He lined up two Russian émigré partners who
helped cobble together a patchwork of formerly state-owned companies into a
group they called Tyumen Oil Co., known by its Russian abbreviation TNK.

It was a heady time for Mr. Fridman and his fellow oligarchs. They'd made
millions as capitalism was just taking root in the early 1990s and used their
fortunes to build vast political clout. In 1996, Mr. Fridman and a handful of
tycoons teamed up to finance President Boris Yeltsin's 1996 re-election campaign.
Using their close connections with the Kremlin, they snapped up the country's
richest assets in often-rigged privatizations and, in some cases, were awarded
with top government jobs. Boris Berezovsky, for example, whose interests ran
from oil to television, was named deputy secretary of Russia's powerful Security
Council.

Along the way, Alfa cemented its reputation for aggressive tactics. Alfa often took
advantage of gaps in the bankruptcy law that allowed small creditors to take
control of debtor companies.

Oﬃcials at Norex Petroleum Ltd., a small Canadian oilfield-services company,
contend Alfa went a step further in 2000, when it moved to take control of a
Siberian joint-venture Norex had with a TNK unit. In a lawsuit filed in U.S. District
Court in New York, Norex alleges that TNK took over with 20 machine-gun-toting
guards. One executive was quoted in the lawsuit as saying that a top Alfa oﬃcial
vowed to "run over [the company] like a steamroller" if they resisted. Alfa says
it's confident that its takeover of the company was legal but won't comment on
details of the case, which hasn't yet gone to trial. Norex is seeking to recover $1.5
billion.

But even as Alfa was still throwing its weight around, twilight was setting in on
the era of the oligarchs. Mr. Putin came to power in 2000 vowing to reassert
Kremlin authority. Within a year, two of the most politically influential oligarchs,
Vladimir Gusinsky and Mr. Berezovsky, had left the country under threat of

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prosecution, leaving the bulk of their empires behind. Oil tycoon Roman
Abramovich quietly began selling oﬀ his holdings and spent more and more time
in London, where he bought Britain's Chelsea soccer team. Last month, state gas
company OAO Gazprom announced a deal to buy the oil company he controls, OAO
Sibneft, for $13.1 billion.

Sensing the winds shift, Mr. Fridman realized he needed to move fast to get a
foreign partner for TNK, a move that would provide both political insurance and
cash. "We knew at some point that opportunity would be gone," he says.

Tempted by Siberia's vast reserves, BP was already on the prowl for a Russian
deal. But Alfa had to rebuild relations with the British giant that had soured in the
late 1990s when Alfa, in a battle with another oligarch, stripped key assets out of
BP's previous investment in Russia. Mr. Fridman patched things up with BP CEO
John Browne. BP wound up paying $7 billion in 2003 for half of the oil company
Alfa owned with two partners. "There is a toughness built into the culture of
Russia," Mr. Browne said at the time. "You have to cooperate."

Mr. Fridman's timing was impeccable. Although analysts touted the BP deal as the
first of many foreign investments in the oil patch, the Kremlin soon closed the
door on such big deals with foreigners and geared up to attack Yukos.

But it wasn't long before Mr. Fridman got into a government-relations mess of his
own. In a complex series of transactions in the summer of 2003, Alfa had bought a
25% stake in Megafon, Russia's No. 3 cellphone company. The stake had previously
been owned by LV Finance, an investment firm controlled by Leonid Mayevsky, a
former legislator.

Within days, a little-known Bermuda investment fund called IPOC International
Growth Fund Ltd. contested the sale, claiming it was entitled to the shares under a
pair of option agreements dating to 2001. IPOC went to court in Bermuda and the
British Virgin Islands, where some of the Alfa companies holding the Megafon
shares were registered. IPOC also launched arbitration proceedings against LV
Finance in Switzerland, where the 2001 option agreements had been executed.

Lawyers for LV Finance, cooperating with Alfa's legal team, argued IPOC hadn't
properly paid for the options. They also sought to convince the courts that IPOC

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was in eﬀect a criminal enterprise, thereby rendering any of its contracts illegal
and voiding its claim to the Megafon shares.

In written arguments in the BVI case, Alfa lawyers asserted that an aﬃdavit from
former IPOC President Vidya Sharma showed IPOC was "simply a front for
laundering the proceeds of criminal conduct in Russia for...Leonid Reiman."

Alfa lawyers argued in court papers in the BVI that IPOC was part of a complex
network of companies that served to conceal Mr. Reiman's ownership of large
stakes in Russian telecom companies, including Megafon. They alleged the fund
got its money from corrupt dealings in Russia involving the minister.

IPOC denied the allegations and accused Alfa of paying witnesses. In fact, Alfa did
pay $7 million to Mr. Georgiou, the former partner of Mr. Reiman. Alfa said the
payment was to buy out most of Mr. Georgiou's Russian businesses, which he
feared would suﬀer after his testimony.

Mr. Reiman denies any wrongdoing. Jeﬀrey Galmond, a Danish lawyer who has
known Mr. Reiman since the late 1980s, has testified that he's the owner of IPOC
and its related companies -- holdings that could be worth more than $1 billion. He
says the corruption allegations are just an eﬀort to distract from what he says is
Alfa's fraudulent acquisition of the shares.

"It looks to me as an attempt simply to crush a competitor by Alfa," he told a civil
proceeding in Geneva last year. "They are all over the place and there is, in my
personal opinion, no limit to what they are capable of doing."

The conflict has been tense. At the Geneva hearing, the presiding arbiter
complained his house was being watched and his garbage searched. He said police
told him the surveillance was linked to the case, although the culprits were never
caught. Acting on an IPOC complaint, Russian police are investigating possible
fraud charges against Mr. Mayevsky for his role in the Megafon share sale. He
briefly fled Russia to avoid arrest.

Mr. Galmond says he got the money for IPOC from a series of lucrative deals in
Russian telecoms and real estate in the 1990s. In court testimony, he admits that
Mr. Reiman's work "played an important part in the creation of my own success
and wealth," but says that took place before Mr. Reiman became minister. Mr.
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Galmond acknowledges he bought a summer house on the Danish coast in 1993
that he says he and Mr. Reiman shared, but denies any wrongdoing.

Court rulings are still pending in most of the cases. Prosecutors in Frankfurt,
tipped oﬀ in part by the allegations from Alfa and LV Finance, are already
investigating whether Germany's Commerzbank AG , which worked with Mr.
Galmond, was involved in money laundering as a result, according to a spokesman
for the prosecutor. Commerzbank denies it broke any laws, but a senior executive
involved in the case resigned this summer and the bank has vowed to tighten
internal oversight.


No Signs of Concern
So far, the Kremlin is showing no sign that it's concerned about the allegations.
Last year, Mr. Putin even took the unusual step of intervening to restore Mr.
Reiman's ministerial job when he was about to lose it in a government reshuﬄe.
He'd left nearly all the other appointments to his prime minister to decide.

As the grudge match dragged on, some of Alfa's other investments in Russia ran
into trouble. In December, telecoms company OAO Vimpelcom, in which Alfa owns
a big stake, was told it owed $160 million in unpaid taxes and fines. Vimpelcom's
American depositary receipts, which trade on the New York Stock Exchange,
plummeted 30% in two days. The company later got the tax claim sharply reduced
and the stock has recovered. And in April, authorities slapped Alfa's main oil
investment with $790 million in back-tax claims for 2001.

But unlike Yukos, which was crippled by tax assessments and saw executives
jailed, tax and regulatory problems so far haven't fazed Alfa or its companies. The
regulatory issues have cleared up and in August, TNK-BP said it settled the tax
claims for $250 million. Auditors are still looking at company taxes for 2002 and
2003.

Mr. Fridman says the Megafon fight is worth it: He estimates Alfa's stake is now
valued at about four times the $300 million he paid for it in 2003.

"We understood that there would be unhappiness on the part of certain bosses in
the telecommunications ministry, but we were ready for that," Mr. Fridman says,

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adding that Alfa's legal position is "ironclad."

—David Crawford in Berlin contributed to this article.

Write to Gregory L. White at greg.white@wsj.com




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Russian banker thanks Putin for help with huge Turkish mobile phone deal

BBC Monitoring Former Soviet Union ,
5 December 2005 15:41,
164 words,
English,
BBCSUP,
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Text of report by Russian Channel One TV on 5 December
[Presenter] There has been a major foreign deal involving a Russian bank. Alfa-Grup bought a stake in a leading Turkish mobile phone operator. This was announced today by the head of Alfa-Bank, Petr Aven, at his
meeting with Vladimir Putin.
[Aven, captioned as president of the Alfa-Bank open joint-stock company, addressing Putin in his office] We paid 3.2bn dollars to buy a stake in Turkey's biggest telephone operator, Turkcell. I'd like to say thank you,
because the deal would not have gone through without your own support or the political support of our leadership.. It is a great success for us, and Russia's largest foreign investment.
[Putin] We discussed it with the [Turkish] prime minister when we met in Sochi.
Source: Channel One TV, Moscow, in Russian 1800 gmt 5 Dec 05
a3995a83
British Broadcasting Corporation

Document BBCSUP0020051205e1c5003ml


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                           STORY   ·   Published June 30, 2007   ·   Last Update January 13, 2015


   As the West Pushes Economic Sanctions Against
 Tehran, Russian Billionaire Dials Up Iran Telecom Play
                                                       By | Fox News




NEW YORK – How hard is it to pressure Iran into halting its program to obtain nuclear weapons?
Consider the case of Mikhail Fridman.

Fridman, 43, is a secretive Russian billionaire who is spreading his corporate reach into Western
Europe, the U.S. — and beyond. He also is a key ﬁgure in Russia's dangerous policy of selling
nuclear technology to the Islamic Republic of Iran.

And now, it seems, he has been quietly trying to buy up a major stake in Iran's
telecommunications industry — ignoring strenuous U.S. efforts to use ﬁnancial pressure on Iran's
economy and force its radical Islamist government to stop its effort to gain nuclear weapons.

Along the way, Fridman has added a star-studded cast of former British and American
government oﬃcials to his corporate payroll, in advisory capacities. And, he is seeking to expand
still further, using loans from Western banks and maybe even from ordinary shareholders, as he
ﬂirts with the notion of selling public shares on London’s stock exchange.

Fridman is the Russian oligarch behind Alfa Group – a private, oil-banking-telecom conglomerate
that includes Russia's largest private bank, Alfa Bank. He is considered one of the half-dozen
richest men in Russia, and his business empire, which is waging brutal corporate battles from
Moscow to Indonesia, New York and Scandinavia, has been called by the London Sunday Times
“one of the most controversial business empires on the planet.”

Increasingly, that controversy includes Alfa’s relations with Iran.

Ties between Russia and Iran lie at the center of the crisis surrounding Iran's secretive nuclear
program, which includes a massive effort at uranium enrichment, a critical source of nuclear
explosives. That crisis is sure to be discussed by President George W. Bush and Russian

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President Vladimir Putin in their two-day Kennebunkport meeting over the weekend.

Iran has been sanctioned twice by the United Nations Security Council for failing to halt its
enrichment programs, but those sanctions have had little or no effect — and a major reason is
Russia.

In addition to selling Iran a $1 billion nuclear plant that is now under construction in the province
of Bushehr, Russia has become a major supplier of conventional arms and aircraft to Iran. And,
since December, Russia has succeeded in watering down both sets of U.N. sanctions against
Tehran – with American and British oﬃcials now back at their drawing boards drafting a third.

“We should ﬁnd solutions that would not violate Iran's right to use modern technologies,” Russia's
President Vladimir Putin said a month ago.

Some of those technologies have been aided by Alfa’s banking arm, which serves as the primary
ﬁnancial agent for the nuclear power project. A year ago, Alfa made a huge loan – on “privileged
terms,” according to Ukraine's government – to ﬁnance a state-owned Ukrainian company’s ability
to build and sell aircraft to countries that include Iran.

And those ﬁnancial ties apparently extend further than Alfa wants the world to know.

FOX News has obtained documents that lay out a secret effort, codenamed “1979 Project”, over
the past nine months by Altimo, the $20 billion telecom arm of Alfa Group, to purchase a
controlling share in an Iranian mobile phone company called Iraphone.

The documents show a concerted effort on the part of both buyers and sellers to keep the deal a
secret, at the same time the conglomerate is trying to expand its markets — and its respectability
— in the West. The paper trail shows that that the transaction was being funneled through a shell
company called Amigo — an entity owned by Sky Mobile of Kyrgyzstan, which was itself
purchased by Altimo last June.

Neither U.S. nor U.N. sanctions prevent foreign companies from trading with the mullahs in most
industries. But Alfa’s secretive and convoluted mobile-phone deal sheds light on Russian
business practices that are increasingly dangerous in a world gripped by Islamic terrorism.

“We cannot overstate how cautious banks have to be when doing business with Iran — directly or
indirectly,” says Treasury Department spokesperson Molly Millerwise, who declined to comment
on Alfa. “Iran is notoriously opaque in how it operates in the global ﬁnancial system, subjecting
banks to the real possibility of facilitating terrorism or proliferation-related transactions.”

So cautious has Altimo been about dealing with Iran that it has never mentioned the subject.

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Nonetheless, Altimo’s bid to purchase Iraphone began last September, and the documents
obtained by FOX News show that Altimo was on the verge of closing the Iraphone deal in May –
paying just $11 million for 49 percent of Iraphone (with 51 percent held by local Iranians, as the
country’s rules require).

But that is just the beginning of Altimo’s Iranian expansion plan. There also are promises by
Altimo in the documents to spend as much as $300 million to develop Iran's ﬂedgling cellular-
phone industry.

And ﬁnally, there is evidence of a political dimension: hints of an effort to “dilute” the minority
shares of a former Iranian president, Ali Akbar Hashemi Rafsanjani, who apparently owned stock
in Iraphone – and drive him from the company. Such a move could help strengthen the hand of
Iran's radical president Mahmoud Ahmadinejad, who has threatened to wipe Israel “off the map.”

There also are indications that the takeover effort brings Altimo close to the edge of U.S.
sanctions against Iran. The documents include copies of email exchanges as recently as April
between Iraphone’s Iranian founder, Mohammad Mohammedi, and a top Altimo executive named
Andrei Zemnitsky that discuss obtaining a loan from Iran’s state-owned Bank Saderat.

Last September, the U.S. Treasury – citing Bank Saderat’s extensive banking ties with Hezbollah
and other terror groups – banned it from any direct or indirect access to the U.S. ﬁnancial
system.

Non-American ﬁnancial institutions that deal with Bank Saderat, and also do banking business in
the U.S., run the risk of violating the Treasury order – but only if the transactions are directly and
clearly linked.

Queried by FOX News about the venture, Iraphone’s Mohammedi didn’t respond. An Altimo
spokesman in London at ﬁrst maintained that the Alfa telecom arm had no interests or dealings
in Iran. But when told that FOX News had evidence about Altimo’s Iranphone deal, he sent an
email two hours later stating that “they [Altimo] don’t wish to make any comment on this.”
Reached by telephone, Altimo’s top executive in Kyrgyzstan, also declined to discuss it.

Whether the Iraphone deal closed on schedule last month as planned, or whether Altimo spun it
off in another convoluted transaction, is uncertain. A minority partner in Iraphone, Shahrokh
Zarkeshan, tells FOX News that Altimo “is not active anymore” — having sold its stake back to
Mohammedi — the same Iranian businessman who sold Iraphone to Altimo in the ﬁrst place.

“It [the venture] continues, but without them [Altimo],” Zarkeshan said. Asked what happened to
Altimo, he laughed nervously and said “Wow — it’s a very complicated question,” but declined to
elaborate.

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But sources with knowledge of Altimo tell FOX News that the Russian telcom secretly maintains
its big stake and is now ordering equipment and enlisting founder Mohammedi to lobby Iran’s
telecom ministry on its behalf. So why no public announcement?

“One day when the Americans and Iranians make peace, they [Altimo] will then suddenly
seemingly buy into Iran – when in fact they did it years before,” speculates one insider.

That day of peace is clearly not on the horizon. But even as Altimo secretly moved to purchase its
stake in Iraphone, it was moving to bolster its image in the West by taking on board some stellar
U.S. and British advisors.

Just days after making its ﬁrst Iran move last September, in fact, Altimo announced it had formed
an advisory board of prominent former government oﬃcials “to support its new global image and
strategy,” guide it on future purchases, and “help establish new contacts at a high level” in the
west.

The board includes Britain's former foreign secretary, Lord Douglas Hurd;Britain's former
ambassador to Russia, Sir Roderic Lyne; and, Peter S. Watson, who served on the National
Security Council in the ﬁrst Bush White House, and then chaired the U.S. International Trade
Commission during the Clinton presidency.

In 2001, Watson was appointed by President George W. Bush to head up the Overseas Private
Investment Corporation. A year later, he inked a multi-million dollar investment fund with Alfa
Group that was described as the ﬁrst such deal between a U.S. government organization and a
private company in Russia.

There is no evidence that Altimo’s advisory board — which meets three or four times a year in
London — knows anything about the Iran venture. Watson didn’t respond to repeated requests by
FOX News for an interview.

With more than half its revenues now coming from outside Russia, Altimo in March also opened
a “joint” headquarters in London to go with its base in Moscow. The company’s website says the
London headquarters is “an expression of our commitment to the internationalism and best
practice approach with which we are building our business.”

Altimo also is exploring a public launch on London's stock exchange, because — as its CEO told a
London newspaper recently — “New York has become really diﬃcult because of the need to
conform to all these regulations.” Barring such a London ﬂoat, Altimo is seeking to fold its assets
into a major western telecom operator.

So far, there are no takers.

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In the U.S., Altimo has the largest single stake in a publicly–traded mobile-phone company on
NASDAQ, called Golden Telecom. (Altimo’s shares in the company are owned by a Cyprus shell.)
And Altimo now has a controlling stake in VimpelCom, the ﬁrst Russian company listed on the
NYSE.

Atop all that, Alfa and Altimo have been developing deep relations with a number of European
banks that have differing policies toward Iran. One major Swiss bank, Credit Suisse, announced in
January that it was not accepting new business in Iran, effective immediately. But last month,
Altimo announced it had secured a $750 million loan from Credit Suisse in a reﬁnancing deal that
included about $100 million in new money for Altimo to fund acquisitions.

Germany's Deutsche Bank is Altimo’s top lender. In March, Altimo announced it had raised $1.5
billion in a bond-issuance deal organized by Deutsche Bank. The proceeds, said Altimo at the
time, would ﬁnance its expansion in Europe and Asia. A spokesman for Deutsche tells FOX News
that $350 million of those bank funds were for “reﬁnancing Altimo’s own debt” — with “the rest”
going to buy more shares in VimpelCom.

One internal document obtained by FOX News, however, suggested that “part” of the Deutsche
Bank proceeds could be used on the Iran project.

Money — after all — is fungible. That is what makes any efforts for a total blockade of Iran's
economy so diﬃcult to achieve. And also what makes Altimo’s secretive maneuvering in Iran so
intriguing.




Coronavirus                                   U.S.
                                              Crime
                                              Military
                                              Education
                                              Terror
                                              Immigration
                                              Economy
                                              Personal Freedoms
                                              Fox News Investigates




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                            https://www.nytimes.com/2008/07/07/business/worldbusiness/07iht-
                            bp.4.14305383.html



Fate of TNK-BP joint venture lies in a Russian tussle

July 7, 2008


MOSCOW — The fate of one of the largest foreign investments in Russia hangs in the
balance amid signs of a shifting mood at the Kremlin that may have misled investors and
one of the biggest oil companies in the world.

TNK-BP, a $38 billion oil company that produces as much crude oil as Britain, recently
had its offices raided by security services and its board paralyzed. Then its technical
experts were barred from working and the company was hit with court cases and labor
inspections.

As investors scrutinize the saga to read the runes for future projects in Russia, there are
some signs that the root of the dispute may not have been at the Kremlin, but rather in
the boardrooms of Russian billionaires.

TNK-BP, a highly lucrative 50-50 joint venture between BP of Britain and four Russian
billionaires, began in 2003 amid much fanfare in a deal blessed by Vladimir Putin, then
the president of Russia. It produces a quarter of BP's global oil output and posted a net
profit of $5.7 billion last year.

TNK-BP's first five years were a success story. Former BP managers who worked at the
venture talk with pride of how they improved management of oil fields using the latest
technologies, cutting back on leaks and giving a lift to operating efficiency.

But the company's ownership structure, which gives management control to the foreign
oil company, became an anachronism after the Kremlin initiated a drive in 2003 to get
back state control of all large energy assets in Russia.

So when the Russian tax authorities began investigating TNK-BP this year, and followed
up with allegations of labor code violations, a series of security service sweeps and court
cases, many assumed that the Kremlin was trying to pressure the TNK-BP to accept a
state partner.

A similar barrage of official pressure was unleashed in 2006 against Shell, to force it to

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sell a controlling stake in the giant Sakhalin natural gas venture to the Russian state-
dominated energy champion, Gazprom.

The situation with TNK-BP this year seemed likely to be a replay, but officials, including
President Dmitri Medvedev, have repeatedly said that the state does not want a stake in
the company.

"Something has changed in the past few months," said a person close to BP, speaking on
condition of anonymity because of the sensitivity of the case. "The government has
changed. Players have moved around. Power is more dispersed."


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Asked what the Kremlin wants out of the affair, one TNK-BP manager shrugged his
shoulders and said, "Nobody knows."

People close to TNK-BP say there is strong evidence that German Khan, one of the
billionaire co-owners and an executive director at TNK-BP, encouraged the official
pressure as part of a campaign to weaken BP's control of the company. They pointed to
signals including an unauthorized letter from Khan in April to the Russian immigration
authorities asking that the number of permits for foreigners at the company be cut
drastically. The note contradicted instructions from TNK-BP's chief executive, Robert
Dudley.

Khan declined to be interviewed but the Russian billionaire Mikhail Fridman, another
partner in the venture, said the wave of action facing TNK-BP was just part of normal law
enforcement, and that Khan has also been questioned by officials as part of regular
checks.

The aim of the Russian shareholders, Fridman added, is simply to improve operating
performance at TNK-BP and to remove a "parallel management structure" in which
TNK-BP reports to BP and furthers BP interests at those of the Russians.


          Business & Economy: Latest Updates ›
          Updated March 10, 2022


          • Justice Dept. names director to pursue cases of Covid-19 relief fraud.


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          • The I.R.S. plans to hire 10,000 workers to clear a tax return backlog.

          • The war in Ukraine is likely to slow global growth, the I.M.F. warns.




"The performance of TNK-BP is just awful compared with its peers," Fridman said, giving
as examples the shrinking market capitalization of the company and its declining
production.

Independent analysts disagree. "We believe TNK-BP Holding's results are strong,
confirming its ranking as one of the most efficient oil companies in Russia," said the local
brokerage Renaissance Capital in a comment this week on 2007 results.

But BP may have misjudged the shift in political mood at the Kremlin after Medvedev's
inauguration in May. Medvedev pledged to end the expansion of state control that
characterized the Putin era.

Top executives in London had discussed a possible asset swap with Gazprom involving
the Russian partners, but they failed to spot the changing mood in Moscow or fully grasp
the dangers faced by TNK-BP, industry insiders say.

Changes have also taken place at the top of BP. John Browne, who brought the company
to its present size and masterminded the original TNK-BP deal, left the company and was
replaced by Tony Hayward.

Fridman is critical of what he terms BP's "arrogance," and says that problems at TNK-BP
arose because BP was trying to cut a deal with Gazprom behind the Russian co-owners'
backs because it thought Gazprom was a "sexier" partner.

"They misjudged if they thought that Gazprom would easily push us out of business,"
Fridman said in an interview. "I said many times to Hayward we are not selling and
nobody will push us. It is not the intention of Putin or Medvedev, despite all these
rumors."

Hayward has asked Lamar McKay, an executive in the U.S. office known to be a
troubleshooter, to run a round of behind-the-scenes diplomacy before a board meeting in
Cyprus scheduled for Friday. But he can expect some challenges ahead.

In early June, Hayward met the top Russian official in charge of the oil industry, the
former Kremlin deputy chief of staff Igor Sechin, and complained about tactics used by
the Russian partners in the TNK-BP venture.

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According to two senior executives with knowledge of the meeting, Sechin called in Khan
and Piotr Aven, a deputy of Fridman, and gave them a public dressing-down in front of
Hayward.

Hayward then flew to the St. Petersburg Economic Forum, the main annual event for
foreign investors in Russia, and made some optimistic remarks about BP's future in the
country.

On leaving the forum, he was presented with an ultimatum by Fridman demanding that
he agree to a sharp reduction in the number of BP employees in the TNK-BP venture and
to an increase in representation for Russians on the company board.

Having previously asked Hayward to present a proposal for the Russian owners to
convert their TNK-BP stakes into BP shares, Fridman then took the proposal and
brandished it in front of the Russian press, allegedly as proof of the British company's
arrogance in dealing with Russian partners.

Meanwhile, TNK-BP insiders feel that Hayward was too quick to take the Sechin meeting
at face value.

Peter Sutherland, the BP chairman, then publicly attacked the Russian partners,
accusing them of corporate raiding tactics and criticizing the Kremlin for not stopping
them.

But after Hayward pulled out of a big investment forum in Moscow this month, criticism
against him mounted in Russia.

BP's options now seem limited. If the Kremlin sticks to its pledges of not intervening and
not taking a state share in TNK-BP, and if the Russian partners refuse to back down, then
BP faces potentially endless litigation and fighting in the boardroom, unless it concedes to
some of the Russian demands.

Meanwhile, BP seems to be pinning its hopes on a campaign of international pressure to
shame the Russian authorities into defending its interests.

"This is a struggle for the future of foreign investment in Russia," said a senior manager
at TNK-BP said. "The question is: Will Russia go the same way as Venezuela?"
A version of this article appears in print on in The International Herald Tribune




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                                MIKHAIL FRIDMAN:
                              Background Investigation




                                     Aug. 2, 2007
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                              MIKHAIL FRIDMAN:
                            Background Investigation

Summary

Mikhail Fridman was one of the original Russian oligarchs who robbed the Russian state
blind in the 1990s. He also is one of only a handful from the early days who is not dead,
exiled or in prison. His friends (few) and enemies (many) describe him as slick, nimble,
evolving, patient, calculating, combative, vindictive, and above all, underestimated. Fridman
has repeatedly outmaneuvered far more politically and economically powerful rivals to end
up on top, crushing his foes in the process. His skilled allies, impeccable business acumen,
lack of a temper and utter absence of emotional attachment to his business holdings has
made him rich, and will keep him so for a long time to come.

Basic Background

                              Mikhail Maratovich (Misha) Fridman was born on April 21, 1964, to
                              a Jewish family in Lviv, Ukraine. Fridman’s parents were part of the
                              middle class and belonged to the Communist Party, working as
                              engineers in the defense manufacturing industry. In 1986, Fridman
                              graduated with high honors from the Moscow Institute of Steel and
                              Alloys. He currently serves as the chairman of the board of
                              directors of the Alfa Group Consortium, chairman of the board of
                              directors of Alfa Bank, and chairman of the board of directors of
                              energy firm TNK-BP.

                         Fridman overwhelmingly prefers to keep a low profile in terms of
                         his business, politics and personal life. That does not, however,
translate into a humble life. He has any number of palatial homes across the former Soviet
Union, with his Moscow flat alone believed to exceed 12,000 square feet.

Public sightings of Fridman typically occur at one of Moscow’s jazz clubs, which he
frequents. His more notable hobbies include gun and art collecting, in which he displays a
penchant for extremely expensive art, such as pieces by Picasso.

Fridman maintains his own security group for himself and his fellow Alfa executives that in
many ways acts like a small police force. Yet despite his wealth and notoriety, he seems to
believe that his low profile has ensured his personal safety. Since the turbulent days of the
1990s, Fridman has steadily whittled down his personal entourage, now rarely retaining
more than two or three visible bodyguards. His schedule is whimsical enough not to allow
time to screen public locations, most often jazz clubs, before his arrival.

This sense of safety does not carry through to his family, however. His wife and two young
daughters live in Paris, where he visits them on weekends. This sentiment of protecting his
family is carried over into all of his business dealings. (None of his family is employed in his
business ventures.)

Like many of Russia’s oligarchs, Fridman considers himself a Jew first and a Russian a
distant second. In Fridman’s case, however, there is definitely a dark streak. He despises
Russians and seems to take a perverse pleasure in the part he played in Russia’s economic
meltdown during the 1990s. He has no moral qualms about defrauding Russians, while his
actions indicate that he has few problems defrauding anyone.

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Business Ethic

Fridman moves aggressively against any asset he wishes to acquire, but does so out of
greed, not ego. He is perfectly willing to abandon without a thought a business track that is
not working out, and he has no goal to dominate any particular sector. For example, his
goal of building a cellular telecommunications empire is predicated on the ambition of
gaining shares in a major global cellular telecommunications firm, not because he seeks a
niche or a monopoly for its own sake. If one target proves particularly resistant to his
efforts, he will simply move on. He is after the income that the assets provide, not the
assets themselves. He acts on greed, not ego or a need for revenge. But if he is angered in
the process of an acquisition that is not abandoned, he will be sure that the appropriate
people are utterly bankrupted.

In broad terms, Russia’s leading businessmen can be divided into two categories: tacticians
and strategists. Men like Vladimir Potanin, Roman Abramovich and Boris Berezovsky are
part of the first category. The tacticians exploit any advantage they think will benefit them
in the short term. They care little about their assets except regarding the amount of money
they are able to extract from them now, a mentality often taken as looting in the Russian
mind. These are the oligarchs the Putin government has little patience for who have been
forced either into exile (Berezovsky) or to kowtow publicly to the Kremlin to keep their
corporate empires (Potanin).

Fridman and the strategists are different. Though they often use the same mix of ethically
unfettered techniques as the tacticians, and in Fridman’s own words are “not angels,” the
strategists take a longer view. For them, the goal is not short-term maximization, but long-
term growth of their assets. This is not because they have any great attachment to their
assets or because they believe they have a core competency. It is just that they are able to
keep their eyes on a much larger prize. Most strategists want to invest their earnings in
their companies so that they can then sell their assets later for a higher price.

Fridman only invests in projects that he believes hold the opportunity for massive gains.
Combine that with his lack of a moral compass, and one can easily see why he has proven
one of Russia’s most successful oligarchs. Few investment targets are beyond the reach of
the tactics he is willing to employ, and once acquired, sound management turns his targets
into corporate gems.

This mindset of investing is anathema to the tacticians’ use-and-abuse strategies, while it is
also incongruent with much of recent Russian history. The core concepts of basic investment
were at odds with the ideology of the Soviet state. Fridman’s business acumen developed as
a family affair, from his grandmother specifically. She owned a kitchenware shop in Lviv,
Ukraine, where Fridman grew up. Her business advice was simple: “Never have dealings
with the Reds.” As such, Fridman has sought to remain scrupulously aloof from national
political discussions and was among the first Russia oligarchs to seek a meeting of the
minds with the Putin administration.

In early 2000, Putin called all the oligarchs to the Kremlin and offered them a deal: Stop
stealing, pay your taxes and stay out of politics and the state will leave you alone. Fridman
enthusiastically accepted the offer; former Yukos CEO Mikhail Khordokovsky did not.
Fridman eventually was able to use state sponsorship to seal his oil firm’s (TNK) merger
with international supermajor BP in order to create TNK-BP; Khodorkovsky is broke and in
prison.




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Fridman’s desire to maintain a lower profile than the other oligarchs extends into his views
of the media. Most of the oligarchs see the media as just another arena in which to compete
to shape their corporate empires and slander their opponents. Fridman prefers a quieter
approach, and owns no major media outlets aside from a share in a television group that
focuses on entertainment programming. This decision appears to have worked to his
benefit, as the government has become increasingly controlling of all media during the past
five years. Aside from an annual lavish party for new news correspondents in the swanky
Moscow suburb of Rublyovka, an effort primarily meant to purchase good public relations,
Fridman largely ignores the press.

Business partners describe dealings with Fridman as professional, exacting, corrupt and vile.
The problem is not doing business with Fridman, but ensuring at all stages of the business
that one’s best interests and Fridman’s best interests align as closely as possible. If they do
not, Fridman will not hesitate to use his power to upend the deal. Besides that very glaring
issue, most groups have said he is easy to work with.

Concepts such as honesty and transparency not only are largely lost on Fridman, he
purposely shuns them. He has no desire to reveal the inner workings of his assets not
simply out of greed or to shield himself from legal scrutiny, but also out of simple fear. As
Fridman has noted, the last major company to promote transparency was Yukos, which now
has been completely broken up and its assets forcibly reintegrated into state holdings. Such
a sentiment is shared widely among Russian oligarchs.

But such fears are hardly the only reason why Fridman and the other oligarchs prefer to
keep their companies closed. Oligarchic empires are created by a series of insider
connections, rigged privatization auctions, fraud, theft, embezzlement, tax evasion,
brutality, bribery and manipulation of the legal system. Fridman is not likely to reveal any
misdeeds, nor is there a pressing need for him to do so. Fridman sees no reason publicly to
list his Russian assets, preferring instead to maintain full control.

Retaliation

While Fridman is thought to hold personal grudges against some individuals, such problems
do not appear to spill over into the realm of business. In cases in which business
partnerships did not develop, Fridman did not appear to take the situation personally,
choosing instead to move forward and treat the opposing company as he would any other
competitor. And in cases in which a business partnership eventually did arise after initial
failure to develop, Fridman also did not appear to hold a grudge against the company, not
hesitating to move forward with the business deal when it made financial sense.

The case of British energy firm BP illustrated this pattern. Though BP approached Fridman
about a business arrangement when it first sought to enter Russia, the partnership did not
develop. There is no indication that Fridman held a grudge against the company, though he
did treat BP as he would have any other competition, and he moved forward with his own
business plans. Fridman understood that, one way or another, the company eventually
would become either a direct competitor because of industry consolidation or a partner. And
once the TNK-BP partnership agreement was reached, all was just business.

It is much more dangerous for a firm to be considered a direct competitor to Fridman; in
that case, the company involved would need to have a heavyweight protector able to strike
a balance so Fridman would not attempt to use the typical tactics he employees against
competitors. Specifically, Fridman probably would first try to have the company's domestic
assets seized by using his political connections to enforce parts of contradictory laws.
Fridman also could create serious legal complications for a company by challenging the


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legality of any partnerships, potentially halting all business operations. Furthermore,
organized criminal elements could be used to physically intimidate employees and
executives, or to cause security problems at competitor facilities, including bomb threats or
the detonation of small explosive devices. Such tactics are common in Russia, and often are
clandestinely employed by the oligarchs.

Future Business Plans

Fridman does not view himself as a media mogul, consumer electronics wizard, bank
manager or oilman. Instead, he sees himself as an investor. Any good investor is perfectly
willing to let a problematic investment go with only a moment’s thought, or as he has noted
himself, at “the right time, place and price. We [Alfa] are sure that one day we will withdraw
from our oil and banking assets and will possibly be investing in other assets.”

Fridman thus has no qualms about foreign investors coming in and purchasing Russian
assets, and has no opinion about whether such developments are “good for the country.”
Indeed, he actually expects and desires such a development for personal reasons, and
would rather it happen sooner than later. This is a sharp mindset shift from just a few years
ago, when he believed foreigners should be barred until after Russian insiders could get a
hold of the state’s most lucrative assets, and shows his adaptability to the changing political
scene. Now that the oligarchs have secured these assets, Fridman will sell anything to
anyone for the right price.

Alfa has no qualms about working with foreigners, whether bringing foreigners to Russia,
selling foreigners Russian assets or other ventures: It is all business to Fridman. He was
among the first oligarchs to recognize that his assets could be made more valuable by
bringing in both foreign staff and foreign investors. According to Goldman Sachs, “The Alfa
approach to bring in a foreign strategic investor with the ultimate goal of ‘welling’ a
company. Alfa provides the political contacts and capital to some extent. They sort the
company out with the help of the foreigners, who provide the expertise, with the goal of
selling the company.”

Fridman therefore has many foreigners staffing senior positions in many of the firms in his
empire. His goals are efficiency, growth and maximizing corporate value in the long term.
This does not mean that profit is not a key concern as well, but he has a diverse and
complicated array of funds transfers and offshore and onshore tax havens to ensure that he
can maximize his income and minimize the government’s tax take to make money available
for investments or acquisitions as needed.

The key word in all of that is “price,” and Fridman does not see the right price coming along
for quite some time yet. Fridman believes that it will be a long time before business in
Russia even tangentially resembles what Westerners would consider normal no matter what
legislation the Duma adopts or what government takes office. As such, the real barrier in his
mind is the reluctance of Western investors to enter Russian in a big way. He sees that his
large assets will not be sold to other Russians; only foreigners have deep enough pockets to
take them. So until the major financial firms see Russia as an opportunity worthy of double-
digit billion dollar operations, Fridman has no expectation of shopping around for a
purchaser of Alfa.

But this does not mean that Fridman is content to wait until those Western firms’ risk
tolerances come into sync with Russian realities. He and many other oligarchs are now
beginning to send some of their capital abroad, not only for purposes of tax evasion, but to
invest in building up new corporate empires beyond Russia that could prove more palatable
in the medium term to non-Russian corporations. Put another way, rather than wait for the

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global investment giants to come around, Fridman has started taking his business in
directions that will bring certain assets closer to them.

The sector that Fridman has targeted most with this strategy is telecommunications. Within
Russia, Altimo -- Alfa’s telecom arm -- has already secured a 25 percent stake in MegaFon
and a 43.8 percent stake in Vimpelcom, Russia’s two largest cellular telecommunications
firms. Altimo also has acquired all of the much smaller Reservspetsmet. Abroad, Altimo
holds 29.9 percent of Golden Telecom (United States), 43.5 percent of Kyivstar (Ukraine),
13 percent of Turkcell (Turkey), and all of Bakri Uzbekistan Telecom and Uzbek-Malaysian
Communication (both Uzbekistan).

Ultimately, Fridman’s goal is to swap his global telecommunications assets in exchange for a
stake in a global operator such as Telenor or TeliaSonera. This mindset applies to Alfa as
well, which he is willing to sell in pieces or as a whole.

The bottom line is that while Fridman certainly engaged in ruthless and legally questionable
tactics in the 1990s, and while he certainly endeavors to keep his tax bill as artificially low
as possible, and while he continues to engage in operations that most of the developed
world considers corrupt at best and flat out illegal at worst, he is now perceived as a sort of
paragon of the evolving Russian oligarch. By the standards of Russian oligarchs, he almost
comes across as enlightened.

Alfa Group

Fridman’s first business project was related to the theater. Under Soviet rule all theater
tickets were expressly reserved for Communist Party members. Absent a direct link to a
Party member, the only means of getting access to many Russian cultural events was
through some intermediary brave enough to seek out tickets that would not be used, a
highly illegal activity in a country where capitalism was the enemy. Fridman filled that role,
shifting the tickets from the party members who did not need them to the politically
disadvantaged Russians who wanted them. This billionaire thus got his start as a ticket
scalper.

When then-Soviet premier Mikhail Gorbachev passed a series of economic reforms relaxing
the prohibitions on private business, Fridman and his classmates from the Moscow State
Institute of Steel and Alloys started a co-op, arranging for courier delivery of goods and a
hodgepodge of other services. In 1988, Fridman set up his own photo cooperative, Alfa
Foto, and subsequently ALFA/EKO, a commodities trading firm, which gave him the capital
to establish Alfa-Bank in 1991.

Somewhat surprisingly, Alfa lost its first big battle for a piece of the Soviet pie to a used car
salesman named Boris Berezovsky, a man who quickly became so powerful from his
corporate and political empire that he was once dubbed the godfather of the Kremlin. The
Alfa-Berezovsky fight occurred over Soviet oil assets that ultimately were incorporated as
Sibneft. Berezovsky later had a falling-out with Putin, and as punishment, Putin arranged
for Berezovsky to be stripped of his corporate empire, including Sibneft. Friends say that
Fridman still laughs about the end to that affair.

The oligarchs’ strategy in the early 1990s followed two paths. First, there were auctions by
which the state both planned to privatize the economy and raise money. The oligarchs
would meet in secret before the auctions and divvy up assets among themselves. During
the auction, only the winner who was pre-selected by the oligarchs would bid, offering only
a small fraction of the true value of the asset. The rigged auctions established Russia’s first



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true oligarchic class, and set the stage for the robber baron kleptocracy, speeding Russia’s
economic collapse.

In the early days, Alfa was not particularly successful, failing to win nearly as many prized
assets as the other major groups that would in time become behemoths such as Millhouse
Capital or Menatep. Alfa did, however, gain smaller firms, and from those firms it began to
form a proper conglomerate. Most of the early oligarchs were content to run their ill-gained
assets into the ground, but Fridman’s patience allowed him to take a more conservative
approach that resulted in growing the companies’ strength. It must be noted that from a
Western point of view, Fridman still abused his firms in order to extract wealth. It was all a
matter of degree, though. Most of the early oligarchs left their firms utterly depleted and
worthless; Fridman was among the first actually to invest in his holdings rather than simply
to plunder.

This mindset was not, however, something that should be attributed to Fridman’s internal
machinations, but instead to his first and -- to this date -- most critical ally, Pyotr Aven.
Aven was part of the original batch of idealistic reformers in the early 1990s who believed
Russia could quickly and easily transform itself into a Western-style technocratic democracy.
He was the minister of foreign trade in the 1991-1992 government of Prime Minister Yegor
Gaidar, the first true post-Soviet government of the Russia Federation. Aven was one of the
many Soviet/Russian bureaucrats who set the terms of the rigged auctions that created the
oligarchs.

After many of Alfa’s initial failures, Fridman befriended Aven and brought him in as a
partner. (He currently serves as president of Alfa-Bank.) Aven is the brains behind Alfa’s
strategies and manager of its daily operations, while Fridman serves as both the face of the
operation and as the charismatic, canny negotiator who cuts the deals. Aven is the
accountant and economist behind the scenes who makes everything work; Fridman the CEO
and face of Alfa who provides strategic direction. Aven’s immaculately calculated financial
policy, caution and thrift when married to Fridman’s ambition, greed and farsightedness
have enabled Alfa to increase its influence step by step.

Although Fridman dislikes politics, he is no stranger to political intrigue. In 1997, the Yeltsin
government appeared certain to collapse in upcoming elections. Polls indicated that the
Communists held a 3:1 advantage. Yeltsin’s men approached the oligarchs for loans to
finance the electoral fight, and all of them complied on one condition: that Yeltsin put up
large chunks of the remaining state assets as collateral on the loans.

Those loans, combined with a press terrified of a return of the Communists, resulted in a
Yeltsin win, but the terms of the loans, especially the loans made by Alfa-Bank, were such
that there was no way the Russian government could repay them on time. The result was a
default. Some government assets automatically defaulted to the oligarchs under the terms
of the loans, while others were put up for auction to pay off other shortfalls.

The oligarchs repeated strategies used early in the 1990s, divvying up the assets among
themselves before the auctions began, driving the prices through the floor. From the
wreckage, Alfa-Bank managed to acquire 40 percent of TNK, now the crown jewel in the
Alfa empire, for $810 million. Through other maneuverings in the months that followed, Alfa
Group became part of a 50-50 partnership in TNK with Access-Renova, another oligarchic
holding. Today the firm is conservatively estimated to be worth $8 billion.




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Alfa-Bank

Alfa-Bank always has served as the backbone of Alfa Group. While other conglomerates
spent most of their efforts acquiring production assets, Fridman and Aven focused more on
traditional banking as opposed to other oligarchic banks, which were merely used to finance
their oligarch owners’ respective empires.

This assisted Fridman’s rise in two ways. First, Russian firms in the early days completely
lacked any concept of good financial management. So throughout the 1990s, firms that had
taken out loans from Alfa went bankrupt frequently, especially after the crash of the ruble in
1998. Alfa was able to use the defaulted loans to foreclose on the firms and bring their
assets into Alfa Group, thus providing Alfa Group with a steady diet of bankrupt and
desperate firms and staff. Some ruthless pruning would typically separate the valuable
assets from the chaff, steadily building Alfa Group’s asset list.

Second, this strategy required the bank to honor commitments to both creditors and
depositors after Russia’s 1998 crash, a plan of action that nearly all other oligarchs refused
to consider. In order to safeguard their fortunes, the other oligarchs largely allowed their
banks to fold. Thus, MOST-Bank, SBS-Agro, Menatep, Inkombank, Uneximbank,
Mosbiznesbank and Rossiyskiy Kredit now stand as empty shells from a banking
perspective. Alfa-Bank followed a different route. In honoring its debts and credits, Alfa-
Bank lost a large sum of money, nearly bankrupting Fridman, but it did more than merely
enhance Alfa-Bank’s reputation. The move allowed it to emerge as one of Russia’s leading
private banks, one of the very few with a true nationwide network.

Sustaining Alfa-Bank also made Fridman’s empire far more nimble compared to the other
major surviving financial-industrial conglomerates that no longer had functioning banking
arms. That difference allowed Alfa Group to experience far faster growth for the next
decade. Now, Alfa Group ranks one the slickest and nimblest of Russia’s three mightiest
corporate factions. The other two are Mikhail Prokorov and Vladimir Potanin’s Interros and
Roman Abramovich’s Millhouse Capital. The specific value of any of the three is impossible
to determine because of the lack of transparency in all three entities.

Within a few years Fridman probably will emerge as Russia’s most powerful oligarch in the
financial sense. Differences of opinion between Prokorov and Potanin are prompting the two
to split Interros down the middle. Prokorov wants to go international, while Potanin is
preparing to sell most of his assets back to the government. Meanwhile, Abramovich largely
has cashed out of his Russian investments, and now spends most of his time in London.
Fridman is the only one of these major oligarchs who has a healthy, functioning bank and is
not jumping ship.

Alfa Group is among the top tier of Russia’s largest privately owned financial-industrial
conglomerates, with interests in oil and natural gas, commodities trading, commercial and
investment banking, insurance, retail trade and telecommunications. And its operations are
expanding by the day.

Renaissance Capital, Russia’s top portal for Western investment in Russia, considers Alfa the
most aggressive conglomerate in Russia, saying “they prefer to use hostile methods to
either buy assets, which usually makes acquisitions cheaper, or to sell their existing assets
as a premium.... Alfa is pushing outside Russia with typical aggressions, adopting the foot-
in-the door style which has served it so well as home.”

Alfa Group traditionally follows one of four paths when seeking acquisitions.



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First, as already noted, government privatization auctions were regularly rigged either by
collusion among the oligarchs, directly bribing/threatening government personnel, or both.
The most recent major instance in which Alfa participated in such an event was the 2002
privatization of state oil firm Slavneft. Fridman cooperated with Abramovich to split Slavneft
for a price well below market value.

Second, Alfa often becomes involved in a legal conflict with an acquisition target. This is a
favored tactic of many oligarchs. Oftentimes this involves a firm in which the government
distributed shares to workers in the 1990s as part of a privatization scheme. Alfa would
purchase a small minority of these shares from financially desperate workers and then
would sue to obtain more control. At some point during the process Alfa would send in
security personnel (more commonly thought to be armed thugs) to seize control of the
operation. With physical control achieved, at such point it was rather simple for Alfa to use
additional litigation, typically after bribing the appropriate judges, to turn de facto control
into de jure control. Alfa employed this strategy (via TNK) in 1999 when it seized control of
Sidanco from BP by having Sidanco declared bankrupt, thus making BP’s claim null and void
under Russian law.

Third, Alfa-Bank would attempt to grant loans to an acquisition target. After the target
became somewhat financially dependent on Alfa-Bank, the conglomerate or its allies would
take measures to pressure the target into having trouble paying back its loan. Using a
carefully selected court, Alfa-Bank would then foreclose on the asset and seize control.
Alternatively, direct attacks against the asset simultaneous to aggressive purchase
negotiations often has allowed Alfa to acquire assets for less than normal market value.
These attacks can be of a financial, legal or physical nature. This strategy is used primarily
for small-scale acquisitions; most large operations are affiliated with an oligarch, and the
oligarchs all have their own bank for internal operations.

And fourth, Alfa Group regularly seeks explicit government assistance for its operations. As
Fridman’s power has grown, he is better able to solicit government personnel to act on his
behalf, bringing the full power of the state to bear for his benefit. The ultimate example of
this is Fridman’s personal appeal to Putin to help arrange the marriage of TNK and the
United Kingdom’s BP in 2003.

The Russian government largely has stopped sizable privatization auctions, so the first
strategy is rarely used now. As Fridman himself has been known to say, “people have to be
ready for a fight, though hopefully they can do it in the courts nowadays instead of with
guns.” Videos show that such statements after typically followed by Friedman’s laughter.

The second strategy also has fallen somewhat into disuse within Russia as Fridman/Alfa has
become richer and more influential. That is not the case, however, in other former Soviet
states where the rule of law is even weaker than it is in Russia, most notably in Ukraine and
Kyrgyzstan. In these locations, the second strategy is still a primary means of expanding
Alfa Group’s corporate reach. Renaissance Capital therefore considers Alfa the most
aggressive Russian conglomerate.

The third and fourth strategies are still used regularly. Ever since former Alfa employee
Mikhail Fradkov became prime minister in 2004, the fourth strategy has become a most
prominent with Alfa as it pre-empts any political blowback from the Russian leadership.

It also is this fourth strategy that makes deals with Alfa relatively positive for foreign
investors. Fridman/Alfa not only know how to work the system, they also have the Kremlin
connections necessary to circumvent the shortcomings of the Russian legal system and to
draw upon state resources to help support and realize international deals. If Alfa is on one’s


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side, and one is willing to turn a blind eye to some of their tactics, nearly anything can be
achieved in Russia.

But regardless of the specific tactics used, one thread is common: Alfa Group is
extraordinarily aggressive in going after what it wants. As a result, it comes in regular
conflict with an array of other economic entities.

Group Assets

Alfa Group’s current asset list consists of:

    •    A 25 percent share in TNK-BP, the country’s second-largest private oil company in
         terms of production and reserves. (This is by far Alfa Group’s single-most valuable
         asset.)
    •    Full ownership of Alfa-Bank, the second-most valuable asset in the Fridman empire.
         Alfa-Bank serves as the nexus for most of Alfa Group’s operations both in Russia and
         internationally. Its rather hazy and corrupt operating guidelines landed it on the
         European Bank for Reconstruction and Development’s black list in 1999 (where it
         remains).
    •    Full ownership of Alfa-Bank Ukraine, the central point for all of Alfa Group’s Ukrainian
         operations and a growing asset (as a bank) in its own right.
    •    Full ownership of Alfa Capital, a direct investment fund often used for hostile
         takeovers.
    •    Full ownership of the X5 food retail conglomerate, which has been expanding
         aggressively in the vein of the strategies noted above. This holding includes an 80.41
         percent holding in the Pyaterochka/Perekryostok trading house and retail chain.
    •    Full ownership of Bank Esparto, the fifth-largest Russian bank and the first private
         bank of Russia. In 1999, Bank Esparto created subsidiary companies in 10 areas of
         Russia. It thus created the second banking network, behind Sberbank. Esparto’s
         holdings are all registered in Gibraltar and Luxembourg, making it Alfa Group’s
         favorite tool for tax minimization. Alfa Group uses Esparto Bank Holding and Esparto
         Finances Holding to shift capital out of country, and hence beyond Kremlin reach.
    •    Full ownership of Crown Resources, a Swiss-based trading company specializing in
         the sale of Russian oil and petroleum products -- and increasingly aluminum -- to
         Western Europe. Crown manages most of the trade of Group Esparto and its own
         subsidiary, Crown Trade and Finance (based in the British Virgin Islands). Officially,
         however, Crown Resources runs nearly all of its finances and revenues through ERC
         Trading, a shell company, in order to minimize formal links to Alfa Group’s primarily
         tax evasion asset, Group Esparto.
    •    Full ownership of Alfa Capital Markets, an Alfa Group subsidiary that essentially has
         served as a money laundering and fraud vehicle that uses the United States in an
         attempt to round-trip capital back to Russia for use in defrauding and ultimately
         seizing control of the Russian cellular market. IPOC International Growth Fund
         launched federal racketeering lawsuits in 2006 against this subsidiary and its U.S.
         manager, Leonid Rozhetskin, in the U.S. District Court for the Southern District of
         New York.
    •    Full ownership of Capital Resources, a firm that specializes in the export of petroleum
         products such as gasoline, heating oil and crude oil, as well as aluminum.
    •    Full ownership of The Great Circle Fund, an emerging markets private equity fund
         that seeks leveraged buyout and expansion capital opportunities within the global
         transportation network. The fund’s primary geographic focus is the countries of the
         former Soviet Union, Southeastern Europe and Turkey. It is formally registered in
         Connecticut to minimize Kremlin interference in its operations.



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             o  Via the Great Circle Fund, Alfa-Bank holds an undetermined (but sizable)
                stake in Russian Logistic Service, a network of regional logistics companies in
                20 cities in Russia and Kazakhstan that provides a full range of services,
                including freight forwarding by truck, rail, air and sea; consolidated cargo
                services; and storage and handling of cargo at 11 company-operated
                warehouses located in Moscow, St. Petersburg, Novosibirsk, Samara,
                Ekaterinburg, Krasnodar, Vladivostok and Khabarovsk. This link is responsible
                for supporting much of Alfa Group’s retail operations.
    •    50 percent ownership of Patriot Capital. This is a new firm formed by Alfa-Bank and
         Russian state arms exporter Rosoboronexport to drum up investment for the defense
         industry as well as to see to the financial and operational management of certain
         public assets in a sector undergoing a radical shake-up.
    •    Full ownership of A1, an affiliate in the vodka industry.
             o 50 percent ownership of Smirnov Trading House with Diageo (which owns
                Smirnoff and Captain Morgan). A1’s Smirnov is the Russian version of Piotr
                Smirnov’s Smirnoff vodka.
             o Full ownership of Russian Technologies, one of Russia’s first venture capital
                funds focusing on high-tech investments, such as in the fields of
                nanotechnology and biotechnology. This firm holds a 40 percent stake in
                Ukrainian High Technologies, which is quickly becoming one of Ukraine’s
                largest broadband providers.
    •    Full ownership of Alfa Estate, Alfa Group’s real estate arm.
    •    Full ownership of Alfa Cement, which controls 25 percent of Russia’s cement market.
    •    A 25 percent stake in CTC Media, a television entertainment firm. The company
         broadcasts entertainment programming through its CTC Network, Domashny
         Network, and 25 owned-and-operated TV stations. CTC Network is one of the top
         national broadcasters in Russia, with an audience of around 100 million viewers. It
         broadcasts through more than 300 affiliate stations and cable outlets. Domashny
         Network targets a mostly female audience; more than 85 percent of its programming
         consists of Russian-produced films and TV shows.

PricewaterhouseCoopers handles most of Alfa’s accounting needs when an international
accountancy firm is needed. Alfa Group is among PricewaterhouseCoopers’ biggest Russian
clients.

Allies and Confidants

As discussed above, by far Fridman’s closest friend, true confidant and most valued
business associate is Pyotr Aven. After his brief stint in Russia’s first post-Soviet
government, Fridman recruited Aven to head up Alfa-Bank; he is currently president of that
institution. Aven is the brains behind Alfa’s strategies and manager of its daily operations,
while Fridman serves as the operation’s face and as the canny, charismatic, though not
necessarily likeable negotiator who cuts the deals.

Aven is also Alfa’s link to much of the rest of Russia. While Fridman’s personal connections
should never be discounted, it is Aven who counts Putin as a friend. Their links go back to
business agreements between his ministry post and Putin’s bureau in St. Petersburg in
1992. Aven also is a close associate of presidential aid and adviser Igor Sechin. Aven
personally advises state oil firm Rosneft (via Sechin) regarding what business strategies
Rosneft should take, and is one of the reasons Rosneft continually outmaneuvers Gazprom
despite Gazprom’s ostensibly greater size and power.

Aven is not, however, clean. He is involved to the hilt in all of Fridman’s business dealings,
and as operational manager likely has more knowledge of any questionable or outright

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illegal activities than Fridman himself. The Russian corruption task force of the U.S. District
Court for the District of Columbia has marked him as a player in various corrupt activities,
including drug trafficking.

Through Aven’s links to Putin, Fridman also has accessed another critical ally: Prime Minister
Mikhail Fradkov. Fradkov, a former Alfa employee, owes allegiance to Aven. He was
installed in his present post in part because of Putin’s approval of the TNK-BP tie-up. (Putin
long has sought to increase foreign investment in Russia.)

German Khan is the second of the “Big Three” who founded Alfa. An old college friend of
Fridman’s from their days at the Moscow State Institute of Steel and Alloys, he is the
executive director of TNK. Khan was instrumental in the takeover of Yugraneft from
Canadian firm Norex and explicitly threatened and offered bribes to Norex CEO Alex Rotzang
and Yugraneft’s general director, Lyudmila Kondrashina.

Khan also sits on the boards of directors of Alfa Finance Holdings and Slavneft, a state oil
firm that Alfa Group acquired a 50 percent stake of in a rigged auction in 2002. A native of
Kiev, Khan is very active in the negotiations between Russia and Ukraine on energy
supplies. Khan despises Ukrainian politician Yulia Timoshenko for both business and
personal reasons and refuses to work with her when he is in Ukraine. Khan also is
extraordinarily close to Alexei Miller, the CEO of state energy giant Gazprom, Russia’s
largest firm. The two of them regularly travel on “Gazprom” business, and their rapport
suggests Khan is working to ensure TNK ultimately ends up on Gazprom’s balance sheets,
but in a way that Alfa Group gains sizable payment. Khan loves hunting, and like Fridman,
maintains a large collection of sporting guns as well as expensive art.

Alexei Kuzmichev is the final person Fridman considers both a business partner and a friend.
He is the final of the “Big Three” Alfa founders, and he, too, met Fridman in college. He
chairs the board of directors of Alfa-Eco, personally heads Russian Technologies and headed
Crown Resources until the oil tanker Prestige disaster in 2002. Kuzmichev lives in the United
Kingdom. Of the entire Alfa team, he is most involved in the daily business of laundering the
group’s money through international shell companies.

These three individuals, most notably Aven, are the only ones privy to Fridman’s thoughts
and plans. Others are viewed as little more than resources to be exploited.

Lieutenants

Stratfor was unable to determine what high-level figures in Fridman’s organization think of
their boss from a personal or professional viewpoint. The staff’s record does highlight an
important detail, however. Unlike most Russian oligarchs’ empires, Fridman’s staff has a
very low turnover. Most mid- to high-level associates have been with Fridman since before
the 1998 financial crisis, suggesting a healthy respect for their employer.

The following men are the technocrats who have handled many of the details of Fridman’s
operations for years. They are trusted as subordinates, but none are friends or confidants of
Fridman, who considers them all talented but disposable.

    •    Andrei Kazmin -- chairman of Alfa-Bank and Sberbank
    •    Oleg Sysuyev -- first deputy board chairman of Alfa-Bank, belonged to Committee
         2008: Free Choice (a group of liberal politicians and activists critical of Putin) and
         has criticized Putin in interviews




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    •    Chris Weafer -- close adviser to Fridman and Alfa-Bank’s chief strategist; wrote Alfa’s
         report stating that Putin should remain in office past 2008, paired on Vedomosti’s
         front page against Renaissance Capital’s opposite stance on the matter
    •    Mikhail Sarafanov -- former deputy minister for international economic relations and
         current head of International Investment Bank, which owns the headquarters of Alfa-
         Bank in Moscow
    •    Mikhail Grishin -- head of the legal department of Alfa-Bank

Business Associates (Not Friends or Confidants)

    •    Viktor Vekselberg is a longtime associate of Fridman. He heads Renova Group, a
         holding company that has partnered with Alfa on many occasions, most notably on
         the TNK-BP and Sual ventures. Vekselberg and Fridman are not friends or confidants,
         and they have been steadily splitting their interests after a decade of cooperation
         because many of Vekselberg’s recent decisions have earned him new enemies, and
         Fridman feels he has enemies enough.
    •    Len Blavatnik, who heads Access Industries, holds substantial shares in Sual,
         Svyazinvest telecommunications group, and TNK-BP (all independently of Alfa
         Group). He became involved in the scandal between Alfa and Telekominvest, but
         when Fridman asked him to not support his new friends in Telekominvest, he pulled
         back. In 2005, Blavatnik’s Access Industries planned on forming a joint venture with
         Telekominvest because it needed Telekominvest’s clout to help it reach for a third
         telecom asset, Svyazinvest. But Alfa was just getting embroiled in a scandal with
         Telekominvest over Megafon. Following a meeting between Blavatnik and Fridman,
         Access Industries withdrew its bid, reportedly bowing to Fridman’s “persuasion.”
    •    Hans Bodmer, a Swiss lawyer who assisted Leonid Rozhetskin and Fridman with the
         Sonic Duo/Megafon acquisitions. He has pled guilty to criminal conspiracy to launder
         money in the United States and South Korea in connection to a scheme to bribe
         foreign leaders, specifically in Azerbaijan, along with Czech financier Victor Kozeny.
    •    Norbert Seeger is a key Alfa lawyer who enjoys excellent relations with, and does
         business for, the royal family of Lichtenstein. It is assumed, though not proven, that
         he provdes ample advice on the subject of legal cover for Alfa Group’s tax evasion
         and money-laundering operations.

Fridman’s Entourage Outside Alfa

    •    Igor Pushkaryov is a close personal friend of Fridman, and Russia’s construction
         industries’ strongman in the Far East. He is a member of the Federation Council’s
         (upper house) Budget Committee.
    •    Boris Nemtsov is personal adviser to Ukrainian President Viktor Yushchenko.
         Nemtsov was recently seen yachting with Fridman in the port of Viareggio, Italy. The
         two have been known to collude on the issue of Ukraine’s mobile telephone market,
         a big target for Alfa Group.
    •    Vladimir Gusinsky is a former Russian oligarch/media tycoon who fled Russia after a
         falling out with Putin. He now lives in Israel and serves with Fridman on the Jewish
         Congress of Russia, one of the few NGOs Gusinsky actually has a real interest in.
    •    Vladimir Solovyov is a leading pro-government TV journalist and longtime friend of
         Fridman. Solovyov first met Fridman in college at the Moscow State Institute of Steel
         and Alloys in 1982.
    •    Marc Rich has long had ties to Fridman and Alfa Group. In 2001, Rich nearly sold his
         company to the Alfa division Crown Resources (now renamed ERC Trading). During
         the U.N. oil-for-food program in Iraq, both Rich and David Bay Chalmers of Bayoil
         bought oil from Alfa (via TNK and Onako) that had in turn been purchased from Iraq.



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         U.S. investigators assert that Alfa paid illegal surcharges to the Saddam Hussein
         government.
    •    Czech-born Victor Kozeny holds Irish citizenship, but currently is in the Bahamas
         attempting to avoid extradition to the United States. New charges are being brought
         against him by Omega Advisors, which says Kozeny forced it to pay more than
         $500,000 to bribe the Azerbaijani government. Kozeny’s Azerbaijani scam co-
         conspirator, Bodmer, helped set up Liechtenstein trusts for Azerbaijani officials,
         including then-president Heydar Alieyev’s daughter, Sevil Aliyeva, and son, now-
         President Ilham Aliyev. Kozeny is a onetime ally of the Bush administration. Kozeny
         is accused of funneling money into Bush’s first election campaign in order to keep
         him close to U.S. deals with Azerbaijan and during Bush’s second campaign to
         prevent his extradition. He also allegedly participated in an Alfa scheme to defraud
         U.S. investors and companies. He is supposedly being extradited form the Bahamas
         to the United States to face charges of criminal conspiracy to launder money and
         conspiracy to violate the U.S. Foreign Corrupt Practices Act in connection with a
         scheme to bribe foreign leaders. He also faces international extradition warrants
         from the Czech Republic. The media often calls him “the pirate of Prague” and he
         was at one time Czech Republic’s richest man. He is considered to have run some of
         the greatest post-Communist Czech scams in the early 1990s. In his Czech scam,
         Kozeny founded one of the Czech Republic’s most successful mutual funds, named
         Harvard Capital Consulting (after the Ivy League school that he attended, but did not
         graduate from). Harvard Capital Consulting began running TV reruns on Czech
         television of “Dallas,” giving the Czech public glimpses of what wealth could be like.
         The public had been completely disinterested in the Czech state’s attempts at
         “coupon privatization” in which the state handed over vouchers to the public in trade
         for shares in companies. But once the reruns began, thousands were handing over
         their vouchers or coupon books to Harvard, which promised a 1,000 percent rate of
         return on investment. Harvard used those vouchers and coupons to purchase shares
         in a number of companies, strip the assets and then transfer the money to his
         offshore tax havens, mostly in the Bahamas. At one point, Kozeny owned one-third
         of the Czech economy. In his Azeribaijani scam, Kozeny tried to conduct a similar
         transaction. Kozeny used his connections to Chechen mobsters (who were familiar
         with the current Azerbaijani high-ranking officials) to gain an introduction to Ilham
         Aliyev. Kozeny offered his services beginning in 1994 to the government, which was
         considering privatizing its state-run oil company. U.S. investors gave Kozeny
         approximately $182 million, but when the Azerbaijani government changed its mind,
         Kozeny did not return the money. Instead, he put into his tax haven in the Bahamas.
         The largest investor defrauding in this scam was the New York hedge fund Omega
         Advisors. Kozeny faces 25 years in prison in the United States and similar time in the
         Czech Republic. He has lived with his wife and mother in the Bahamas since 1993.
         He was expected to be extradited to U.S. authorities in June 2005. He was taken
         again into custody in the Bahamas in 2006 in order be transferred to the United
         States, but was freed in 2007 “after paying a $300,000 bail.” To say the least, the
         United States is furious, but he has not been handed over yet.
    •    Leonid Rozhetskin is a U.S. citizen who stands accused of bribing officials from U.S.-
         based firm Diligence to steal IPOC property in Bermuda on behalf of Fridman’s M.C.
         Enterprise.
    •    Sergei Shatalov is a deputy Russian finance minister. Shatalov helped Fridman
         drastically reduce a recent back-tax bill from $158 million to just $17.6 million.
    •    Mikhail Bezeliansky is a discreet and little-known but influential businessman. He is
         active in Moscow’s retail business through the firms Hypercenter and Mosmart, which
         he manages and partly owns with another former Alfa executive, Andrey Shelukhin.
         Bezeliansky’s personal fortune is estimated at around $100 million. He was an early
         associate of Fridman. The two met in college in 1983, and Bezeliansky held several


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        executive positions in the Alfa Group in the 1990s. From 1995 to 1998, he and
        German Khan co-chaired an affiliate of the Alfa Group that specialized in trading
        metals and oil. Since then, Bezeliansky has turned his attention to the retail business
        in Moscow (with associates who had worked with Carrefour in France and Poland),
        using handsome loans from Sberbank whose boss, Andrei Kazmin, is a close friend.
        Bezeliansky also runs the Bumizdelye firm, which holds 15 percent of the Russian
        market for paper and cardboard. He took control of it in 2003 under conditions
        described as somewhat muscular, and until last August he was the biggest
        shareholder in Jirkombinat in Moscow, the federation’s leading producer of fat.

The Kremlin

At present the Kremlin is not overly worried about Alfa/Fridman’s ever-growing economic
clout. Unlike many of the oligarchic groups Aven’s predilection for investment and Fridman’s
talent at courting foreigners mesh nicely with Putin’s goals of developing and
internationalizing Russia. Add in that the Alfa team seems to have no political aspirations,
and the Putin team seems willing to overlook Fridman/Aven indiscretions that are part and
parcel of oligarchic life in Russia. In the Kremlin’s view, Fridman and Aven are both thieves
and liars, but they are among the more respectful and constructive of the bunch. Aven in
particular goes to great lengths to ensure the Alfa Group in general and Fridman in
particular do not step on the Kremlin’s toes.

In order to discuss Fridman/Alfa’s direct relations with the Kremlin, an overview is required
of the power players who truly matter behind the Kremlin wall. First and foremost is Putin,
who shares no personal or professional connection with Fridman. As noted before, however,
Aven and Putin consider each other close friends and even confidants. While this
relationship is obviously critical, it is the second-most important as regards Alfa-Kremlin
relations. Russia is preparing for a leadership transition, with the next presidential elections
scheduled for March 2008, thus making a different personality more important than even
the president.

The two leading candidates -- which is to say, the two men that Putin is choosing between
to be his successor -- are First Deputy Prime Minister’s Sergei Ivanov and Dmitri Medvedev.
Neither Fridman nor Aven are particularly close to either, but ironically, these are not the
two people to watch.

The two men who are the powers behind Ivanov and Medvedev -- and to a great degree
behind Putin himself -- are Igor Sechin and Vladislav Surkov. Surkov is by far the more
powerful of the two, serving as Putin’s right-hand man and the deputy head of the
presidential administration. Currently, Surkov works more directly with Medvedev, but Putin
has let it be known that should Ivanov be selected as president that Surkov will change
sides and be the power behind the Ivanov throne.

Surkov is a bizarre personality -- quiet, reserved and completely and utterly amoral. Were it
not for his determination to climb to the top of Russia’s political heap, he undoubtedly would
have become one of Russia’s most powerful oligarchs. Half Jewish and half Chechen (his
original name, changed years ago, was Islambec) Surkov has worked for the now-deceased
Chechen President Dzhokhar Dudayev, the now-exiled Boris Berezovsky, and the now-
imprisoned Mikhail Khodorkovsky. Surkov’s actions were the critical, precipitating events
that lead to the exile, imprisonment and death of these three.

Of all Russians not to trifle with, Surkov should always be at the top of the list. He is utterly
ruthless and extraordinarily and pathologically opportunistic. He does not merely
outmaneuver his opponents, he ensures their destruction; he will sacrifice anyone to move


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up the ladder. The only jobs he is not interested in are the presidency and the premiership;
he fully realizes that his ethnic background makes such positions impossible in extremely
anti-Semitic and anti-Chechen Russia.

Fridman’s Relations with the Kremlin

Fridman’s relationship with Vladislav Surkov has been on-again, off-again ever since the two
attended the Moscow State Institute of Steel and Alloys in 1982. In the early 1990s Surkov
served for a time as the deputy chairman of Alfa-Bank, ultimately betraying Fridman in
order to advance himself. Surkov already had befriended Putin during his first presidency
and was going to be made head of Transnefteprodukt in trade for providing negative
information about Fridman. But instead of getting Transnefteprodukt, Surkov was pulled
away to run Putin’s election campaign, leading him to become Putin’s chief adviser soon
afterward.

Fridman counts himself lucky that Surkov did not arrange for him to be exiled, arrested or
killed. Surkov chose not to “throw Fridman under the bus” as he did many of his other
employers, but he certainly sacrificed much of Fridman’s operation in order to solidify his
current position next to the Russian president.

Since Surkov’s ascendance to the very center of Putin’s inner circle, Fridman and Aven both
have lobbied Surkov extensively to re-ignite their past associations, and with some success.
But the relationship should not be thought of as collegial or friendly. It is much simpler:
Surkov tells Fridman precisely what he needs to do to stay off of the Kremlin’s hit list or to
secure Kremlin assistance in a business battle, and Fridman complies completely.

From this “association” Patriot Capital was born under the aegis of Alfa Group to facilitate
investment in the Russian defense sector. The sector is going through a radical shakeout led
on the industrial side by Sergei Chemezov and his state firm, Rosoboronexport. The
company has been greatly diversifying recently, and is now involved in building cars (under
AvtoVAZ), producing titanium (under VSMPO-Avisma) and making drilling systems
(Motovilikhinskye Zavody), and is intending to enter the warship construction and military
electronics business. The company also is transforming into a larger state corporation called
“Russian Technologies” that will be run by Chemezov but overseen by First Deputy Prime
Minister Sergei Ivanov.

Rosoboronexport is known for its lack of management skills, which is only increasing as the
company grows. This is where Alfa is stepping in. Alfa’s role not only will be to drum up
investment for Russia’s defense industry, but also to oversee the financial and operational
management of certain assets in the defense sector while Rosoboronexport undergoes its
shakeout.

The alliance stunned many, since Fridman and Chemezov seemed to be coming from
different worlds. Fridman made his name as one of the original oligarchs, taking assets from
the state, while Chemezov is seen as a “new oligarch” serving to return the assets seized by
the old oligarchs to the state. Chemezov has known Putin personally since their time
together with the KGB in the late 1980s serving in East Germany. Chemezov is now one of
the leaders in the United Russia party, and is solidifying his place as one of Putin’s top
wheeler-dealers. Surkov personally arranged for the Chemezov-Fridman tie-up. Fridman
jumped at the opportunity, knowing that having both Surkov and Chemezov on his side was
safest for him and Alfa. Surkov also is pushing another of his loyalists, Igor Zavyalov, as the
new boss of Patriot Capital. Zavyalov served as vice president of one of Gazprom’s pocket
banks, Vneshtorgbank.



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Alfa Group offers heavy financial support for the Nashi (Ours!) youth political organization.
Nashi is one of the Kremlin’s newest political tools to ensure nationwide political loyalty, and
clearly represents a reaction to Ukraine’s 2004 Orange Revolution in 2004, in which youth
movements were a strong driver. Financial backing for the Nashi is one of the many ways in
which the oligarchs, including Fridman, “pay homage” to the Kremlin sentiments.

The Nashi movement today is ultranationalist, standing against what they call fascism,
which in Russian politics is an emotionally powerful and eminently flexible term. The Nashi
stand against what they see as the growing Western influence within Russia, protesting
Western media and businesses alike. The Nashi were responsible for the large protests
against Estonia in May during which the ambassadors to Sweden and Estonia were attacked.

The Nashi movement enjoys strong though unofficial backing by Putin and his associates.
Surkov has been taking an active hand in shaping the group’s organization and ideology
since 2005, modeling it in part after the now-defunct Soviet youth movements of the Cold
War era. Many of Alfa’s charitable organizations and “donations” also come in direct
response to Surkov’s diktats.

But the biggest sacrifice Surkov has ordered, which should become manifest during the
course of the next year, is surrendering TNK to the government. When the TNK-BP tie-up
was agreed to in 2003, one of the conditions was that neither party would be allowed to sell
its shares for a period of five years. That restriction expires at the end of 2008, and Surkov
has made it clear to Fridman that he has earned enough profit from TNK and the time is
approaching for the oil firm to be surrendered to government control, specifically to
Gazprom.

Putin appreciated Fridman’s efforts to link Russian oil into the British economy via the TNK-
BP deal, and partially as a reward, Putin appointed Mikhail Fradkov as his prime minister in
2004. In Surkov’s mind, Fridman has profited enough from this arrangement, so Fridman
will not be continuing in a major government role once Putin transfers power to his as-yet-
unchosen successor.

The final Kremlin power broker of note is Igor Sechin, Surkov’s nemesis and competitor for
Putin’s attention as the presidential administration’s other deputy head. Sechin’s
background in the intelligence services makes him a far more opaque individual to pick
apart, and Stratfor’s attempts to date have met with few conclusive results. What we do
know is that every time Surkov and Sechin have clashed in a serious way, Sechin has
managed to outmaneuver his rival.

Just as Surkov is heavily involved in Gazprom, Sechin’s fate is intertwined with Rosneft,
Gazprom’s competing state energy giant. Unlike relations between Alfa and Surkov, which
are best described as servile, Sechin is a very close personal friend of Pyotr Aven and could
even be considered a protector (of Aven, not Fridman). Sechin often has asked Aven to
advise him about Rosneft business operations, and that advice is undoubtedly responsible
for much of Rosneft’s success vis-à-vis the much larger Gazprom.

Fridman is extremely concerned about the nature of his dependence upon and vulnerability
to Surkov, but knows that submission is by far the safest choice for now. Fridman knows
how to play the game and knows that for now it involves Surkov. In time Fridman and Aven
certainly hope that Sechin ultimately overpowers and deposes Surkov as Putin’s favorite,
but they know better than to do anything that Surkov might perceive as a threat.




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This managing of Surkov is merely the most recent manifestation of what ultimately has
proven to be Fridman’s most important characteristic: his adaptability.

By continually moving and morphing to the current political situation in Russia, Fridman has
ensured his fortune and his life. On a number of occasions this has forced him to change his
business philosophy, industrial exposure, negotiation tactics, staff and even friends. This
malleability has empowered him to use Alfa to create, build and manage not just one of the
most powerful and effective financial-industrial conglomerates in Russia, but also the
country’s most sophisticated and effective political lobbies.

This is in no way to insinuate that Fridman does not live day to day walking a very fine line.
The Duma’s International Affairs Committee often has examined the impact Alfa’s behavior
is having on Russia’s international reputation. Duma committee reports regularly note that
the “foreign economic activities of Alfa Group are accumulating a critical mass of problems
which are dangerous to the reputation of Russian business and whole economy of the
country.”

The Duma is a fully owned and operated tool of the Kremlin, so Fridman need not worry
about the Duma causing problems unless the Kremlin wills it to be so. But it must never be
forgotten that Fridman’s position, similar to the position of any businessman in Russia, is
wholly dependent upon the whim of the Kremlin. Throughout the 1990s and in many ways
still today, the Russian legal code is contradictory, sometimes intentionally so. Such
contradictions make it literally impossible to carry on with business in the country without
breaking at least some of the rules. That alone gives the Kremlin ample leverage to
challenge any businessman at anytime under legal pretexts.

All security forces in Russia are controlled by the Kremlin, so long as Fridman is able to
meet the minimum threshold of loyalty in order to keep the Kremlin happy, he will not face
any problems from police, military, internal security or intelligence organs of the state.

The Future Kremlin & Fridman

Fridman has done remarkably well at maintaining his low profile (relative to his wealth), but
as his power has grown this has truly become possible only by maintaining close, friendly
links to the Kremlin. Unfortunately for Fridman and anyone associated with him, the Kremlin
is about to undergo a changing of the guard.

In March 2008 popular elections will rubber-stamp Putin’s chosen successor, be that Dmitri
Medvedev or Sergei Ivanov. Neither Fridman nor Aven have particularly close ties to either
potential candidate, and business associates note that both are positive that Mikhail
Fradkov’s time in the premiership will end with the Putin presidency.

This does not mean that Alfa will be on the outs: Fridman still has his relationship with
Medvedev’s power broker (Surkov) and Aven remains close to Ivanov’s power broker
(Sechin), but there is a war brewing within the Kremlin. Surkov and Sechin hate each other
and the two have been sparring indirectly, over the future direction of Russian policy and
the future control of the state itself. Putin has been attempting to balance the two, but Putin
himself will soon be stepping down. (Note: We do not see Putin retiring completely from
public life, but his profile and influence certainly will diminish.)

Once the government transfer is completed, Stratfor expects Surkov and Sechin to begin an
open battle for dominance, a battle in which every tool and ally that they can call upon will
be brought into play.



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The danger to Fridman is not so much that he will lose Fradkov’s position or that the new
order will be substantially more hostile to him and his interests; it is simply that the order is
changing and that brings unpredictability. Surkov certainly thinks of Fridman as a despicable
man who eventually will be laid low, albeit a despicable man who has his uses. Surkov sees
Fridman as he sees Fradkov: as being disposable.

For Fridman and Alfa to thrive under the new government it will need to seek the individual
who wins the power struggle and negotiate a new set of terms. This will be a benefit to
anyone seeking to do business with Fridman; this is a skill set that he and Aven have
perfected.

Violence & Fridman

There are few public incidents for which conclusive evidence links Fridman directly to
ordering violent action, but that is similar to the records of all of the current Russian
oligarchs. All of the current oligarchs are skilled at using intermediaries and fronts to
provide a veneer of businesslike legitimacy to make illegal activities appear to be the work
of others.

In Fridman's case, the use of violence can be broken into three broad categories. The first is
the empowerment of political violence in the hands of the state. Fridman is a large financial
supporter of the Nashi youth organization, according to two leaders of the movement that
Stratfor spoke with. At present it is unclear whether Fridman can leverage his financial
support into calling on Nashi to take action for him, but for now Fridman is at least indirectly
responsible for the rising power of that organization.

Second, Fridman is closely tied into the Muscovite Solntsevo (Solsnetskaya) Organization,
one of Russia's largest and most powerful organized crime associations, via funding from
Alfa. Solsnetskaya is a confederation of a half-dozen criminal groups often accused of drug-
running, racketeering, money laundering and bribery. The organization is led by Sergei
Mikhailov, widely considered to be one of the most dangerous and notorious gangsters in
Russia.

Russian media have frequently tied many oligarchs to the Solsnetskaya organization,
though a Russian prosecutor Stratfor spoke with said the evidence that Fridman and Aven
are involved with the group has been officially removed from all records. Fridman and Aven
have been involved with this organization since the beginning of the 1990s, when they used
it for protection. As Alfa became more successful, they turned from customers to partners,
and now they are in business with Solsnetskaya. Aven is believed to be heavily involved
specifically in applying his business regimen to Solsnetskaya's global drug trade. Aven's
direct involvement in the drug trade also has been documented in filings made in U.S.
federal court. Specifically, Alfa Group is now involved in transporting drugs from Southeast
Asia through Russia into Europe, laundering money of Colombian drug cartels, and bribing
organs of justice in Russia in order to keep the entire operation below law enforcement's
radar.

Despite Fridman's officially "clean" record so far as violence is concerned, he is believed to
be at least partially responsible for many of the assassinations that plague Russian society,
particularly regarding journalists. (Allegedly, such tactics are a large part of why Fridman
enjoys such a clean record.) Two cases in point include the assassination of Ukrainian
journalist Georgi Gongadze in Ukraine in 2000 and the 2004 murder of U.S. journalist Paul
Klebnikov in Moscow. Fridman's involvement in the two murders has been alluded to by
several media publications, including Radio Free Europe and Johnson's List, while also



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partially corroborated by journalists and Ukrainian politicians Stratfor spoke with while
preparing this report.

Gongadze was believed to be investigating links between Fridman (via Alfa Group) and
Ukrainian Parliamentary Chief Oleksandr Moroz when he was killed. Supposedly, Moroz had
promised Alfa many lucrative energy projects should he be elected president of Ukraine.
(His bid ultimately failed.) According to witness testimony in the case, Alfa hired the local
Izmailovskaya organized crime gang to murder and decapitate Gongadze in order to silence
his investigations.

Klebnikov was a reporter for the Russian edition of Forbes and was investigating a number
of activities of the Alfa Group when he was killed. An official within Putin's inner circle told
Stratfor that before his death, Klebnikov was investigating Alfa's activities regarding IPOC,
Megafon and Azerbaijani oil.




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Appendix: Enemies & Investigations

There are very few important people in Russia who actually profess to like Mikhail Fridman,
similar to other oligarchs. Once this fact is taken into account, he has surprisingly few
enemies. This document outlines major investigations of Alfa Group and Fridman, as well as
details about whom Stratfor considers to be the oligarch’s chief foes.

Foes

    •    Fridman’s most vocal critic is Russian Technology and Communications Minister
         Leonid Reiman, who began openly calling himself Alfa’s biggest enemy after Alfa
         used questionable methods to obtain a 25 percent stake in MegaFon, Reiman’s
         cellular telecommunications firm.
    •    Vladimir Yevtushenkov is the oligarch in charge of Sistema. Yevtushenkov is close to
         Moscow Mayor Yuri Lujkov. Yevtushenkov and Fridman have a rocky relationship,
         since Alfa and Sistema regularly go after the same assets, especially in the telecom
         sector.
    •    Jeffrey Galmond is the Danish lawyer who is leading the legal fight for the IPOC
         International Growth Fund against Alfa.
    •    Telenor’s Russian representative Goran Olsen and the Norwegian government can be
         counted among Fridman’s foes due to their dispute with Fridman over the
         management and ownership of telecommunications firm VimpelCom. The Norwegian
         government has said publicly that it was a mistake to do business with a corrupt firm
         like Alfa.
    •    Vladimir Potanin is a committed foe as a result of the Sidanco scandal.
    •    Exiled Russian oligarch Boris Berezovsky has a number of disputes with Fridman.

1) Telecominvest vs. Alfa over MegaFon

Telecominvest is a core asset of the St. Petersburg clan of Kremlin powerbrokers. Leonid
Reiman, a businessman close to Russian President Vladimir Putin and his wife, Ludmilla, was
the boss of Telecominvest before being named telecommunications minister in the first Putin
administration, a position he holds today.

Telecominvest owns shares of mobile telephone operator MegaFon, alongside Sweden’s
TeliaSonera. When Alfa purchased a packet of shares of MegaFon itself, Reiman and
Alfa/Fridman came into conflict and now Reiman is probably Fridman’s most vocal opponent.

A legal battle is now raging between Reiman and Fridman concerning the shareholder
structure of Telecominvest. Alfa/Fridman accuses the Reiman of holding shares in the
telephone company, as well as in its mobile telephone unit, of which Alfa itself reportedly
bought 25 percent through offshore companies. (Another offshore fund reportedly linked to
Reiman is fighting for that stake.)

The screws are also being tightened on the man at the core of the affair, Leonid Rozhetskin,
a 38-year-old born in Leningrad to a Russian family that immigrated to the United States in
1979. In the wake of a lot of complicated operations involving offshore firms in Bermuda,
the Virgin Islands and Panama, Rozhetskin is said to have sold 25 percent stakes in
MegaFon twice over: once to an offshore firm in Bermuda named IPOC (to the alleged
benefit of Reiman, which Reiman categorically denies) and once to Alfa Group, which
controls another mobile phone company, VimpelCom. The maneuver, which reportedly
involved nearly $300 million, triggered the ire of the St. Petersburg clan, particularly
Reiman.



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Rozhetskin has been under investigation since December 2006 for fraud. But that did not
prevent him from continuing his career with the Norilsk Nickel group, of which he remained
vice president until January. Rozhetskin is currently under the protection of Vladimir
Potanin, another oligarch.

The affair is political from a number of standpoints. Foreign investors operating in Russia
are keeping a close eye on it because a Scandinavian group, TeliaSonera, holds a 36.5
percent stake in MegaFon, which boasts 15 million subscribers. TeliaSonera would like to
float MegaFon on the stock exchange but cannot do so until the conflict is resolved.

TeliaSonera and Telecominvest are putting the squeeze on Fridman to give up his 25
percent stake in MegaFon, so far without success as Fridman believes that cellular
telecommunications are to be his corporate future. Fridman already escaped the first salvo
fired at him in December 2006, when the tax authorities demanded he pay $158 million in
back taxes, a sum reduced to $17 million after some extremely hard bargaining.

The case in the U.S. courts, based on claims under the Racketeer Influenced and Corrupt
Organizations (RICO) Act, charges that Fridman conspired with Rozhetskin to steal IPOC’s
interest via money laundering, bribery, wire fraud and other criminal wrongdoing. The other
defendants are Alfa Capital Markets, a U.S. corporation; Alfa Telecom (now known as
Altimo); and Swiss lawyer Hans Bodmer. Alfa Group Consortium is an association of various
companies controlled by Fridman.

2) Telenor vs. Alfa over VimpelCom

Alfa Group and Telenor are the two largest shareholders in VimpelCom, a New York Stock
Exchange-listed company and Russia’s second-largest mobile telecommunications operator.
Both companies also control Kyivstar, Ukraine’s second-largest mobile operator, holding
43.5 percent and 56.5 percent respectively. In early 2005, at Alfa Group’s behest,
VimpelCom expanded into Ukraine by acquiring Ukrainian Radio Systems (URS), also known
as WellCom, a small mobile operator with less than a 1 percent market share, as well as a
Kyivstar competitor. VimpelCom’s offer was in excess of what Telenor and many analysts
believed was URS’ actual value. Telenor blocked the acquisition on the basis that, among
other things, the price was inflated, the deal was in conflict with its interests in Kyivstar and
it was inconsistent with VimpelCom’s charter.

Shortly thereafter, an obscure minority shareholder of VimpelCom convinced the friendly
Temruksky district court of Krasnodarsky Krai to order VimpelCom to modify its voting rules
to end Telenor’s effective veto of the acquisition. Alfa unconvincingly denied it was behind
the suit. Telenor successfully challenged the lower court judgment in the Russian Supreme
Court, which upheld its right to block the VimpelCom acquisition of URS. Not satisfied with
this ruling, suits were filed by an Alfa affiliate in Ukrainian courts, seeking to bar Kyivstar
management from performing many of its operating responsibilities, claiming that Kyivstar’s
charter violated Ukrainian law and challenging Telenor’s rights as majority shareholder.
Continuing to defy the VimpelCom charter and its partner Telenor, Alfa Group then led an
aggressive lobbying campaign to gain the support of minority shareholders for the URS
acquisition.

Telenor CEO Jon Fredrik Baksaas warned shareholders that Alfa Group was “executing an
aggressive, self-serving campaign to take effective control of VimpelCom.” On Nov. 11,
2005, VimpelCom completed the acquisition of URS, despite the opposition of Telenor.
VimpelCom’s management claimed it had no choice but to move forward with the deal after
shareholders approved it. However, this vote took place only after the court ordered
VimpelCom to modify its voting rules to end Telenor’s effective veto of the acquisition.


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On Jan. 12, 2006, Goran Olsen, director of Telenor’s Russia office, said it was no longer
possible for Telenor and Alfa Group to work together, but that Telenor intended to maintain
its investment in VimpelCom. He was quoted in Russian media as saying, “The partnership
with Alfa Group has deteriorated probably beyond repair.” The Norwegian government,
which owns 54 percent of Telenor, expressed its misgivings at Alfa’s tactics. Former
Norwegian Trade and Industry Minister Borge Brende explained that business partnerships
should “be based on mutual trust … I do not have such trust in Alfa Group.”

Tensions increased between the two Dec. 7 when Russian authorities presented a $158
million back-tax bill to VimpelCom. Fridman believes Reiman, from the MegaFon scandal,
was behind that move.

3) U.S. Defraudment & Azerbaijani Oil

Fridman, Bodmer, Pyotr Aven and Viktor Kozeny all have been accused not only of the
defrauding of IPOC (as noted above) but also of a scheme to gain control of Azerbaijan’s
state oil company. In 2003, a New York grand jury indicted Bodmer, a Swiss lawyer, for
allegedly conspiring to violate the Foreign Corrupt Practices Act (FCPA) in connection with
the bribery of senior Azeri officials. At the United States’ request, South Korea extradited
Bodmer to the United States in 2004. In June of that year, the trial court dismissed the
FCPA charges based on technical issues relating to extradition. In October 2004, Bodmer
pleaded guilty to money laundering.

On Oct. 6, 2005, a grand jury in New York indicted Kozeny, Frederic Bourke Jr. and David
Pinkerton for allegedly participating in a massive scheme to bribe senior Azeri government
officials to ensure those officials would privatize the State Oil Company of Azerbaijan
(SOCAR) and allow Kozeny, Bourke, Pinkerton and others to share in the anticipated profits
from that privatization. The indictment charged that Kozeny, acting on his own and as an
agent of Bourke, Pinkerton and others, made a series of corrupt payments and promises to
pay off a senior official of the Azeri government, a senior SOCAR official and senior State
Property Committee officials, employees of the agency responsible for administrating the
privatization program.

The defendants also are charged with related crimes, including money laundering. Kozeny
was arrested in the Bahamas and a U.S. request for his extradition is currently pending.
Bourke and Pinkerton voluntarily surrendered to the FBI and have been arraigned. Three
other individuals previously pleaded guilty in connection with their participation in this
bribery scheme.

4) U.N. Oil for Food Scandal

The United Nations, via former U.S. Federal Reserve Board Chairman Paul Volcker, has
charged Alfa Group with criminal wrongdoing and cited its $2.3 million in illegal kickbacks
and bribes to former Iraqi leader Saddam Hussein in the Oil for Food Program.

Mark Rich has long had ties to Mikhail Fridman and Alfa Group. In 2001, Rich nearly sold his
company to an Alfa division: Zug-based Crown Resources Corp. (now called ERC Trading).
Under the U.N. program both Rich and David Bay Chalmers (Bayoil) bought oil from Alfa
units, according to the Middle East Economic Survey: Onako and Tyumen Oil Co.,
respectively.




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5) Sidanco Dispute

Alfa Group took the leading role in two of Russia’s most controversial bankruptcy cases
concerning Chernogorneft, an oil production company and its parent, Sidanco. In 1998 an
Alfa Group shell company, Beta-Eco, used a minor $20,000 debt combined with
manipulation of court personnel to force Sidanco into bankruptcy and gain control of its
assets.

Alfa Group’s Tyumen Oil Group (TNK) subsequently “bought out” Beta-Eco, gaining full
control of Chernogorneft for a mere $175 million despite the fact that British Petroleum
earlier had paid $571 million for just a 10 percent share. The European Bank of
Reconstruction and Development branded the bankruptcy as “a sham” and “wholly contrary
to the concept of fairness and transparency.”

Foreign investors, including British Petroleum, immediately challenged the bankruptcy and
sale. British Petroleum fought back and accused the TNK shareholders of theft and bribing
judges in order to rig the bankruptcy auction.

In August 2001, BP (the successor to British Petroleum) and Alfa Group announced an
agreement to create TNK-BP from the assets of the disputed bankruptcy; other shareholders
are still trying to recover their losses. In June 2005, former German and Austrian
shareholders asked Russia’s General Prosecutor to reopen the investigation of the deals that
led to Chernogorneft’s allegedly “artificial” bankruptcy. Another minority shareholder,
Canada’s Norex Petroleum, continues to pursue legal action in U.S. courts, contending that
the creation of TNK-BP resulted from numerous corrupt, illegal, and predatory maneuvers
by Alfa Group. These cases remain active.

6) Turkcell Dispute

In Oct. 2005, the International Chamber of Commerce’s Arbitration court in Switzerland
sided with TeliaSonera against Alfa’s deal to purchase 27 percent of Turkcell from Cukurova.
TeliaSonera held 37 percent of Turkcell and had contractually agreed to acquire an
additional 27 percent from Cukurova to give it a controlling stake. In striking a deal with
Alfa Group, TeliaSonera alleged that Cukurova breached an earlier agreement entered into
in early 2005.

The timing of Alfa’s move to gain a piece of Turkcell led many analysts to speculate that Alfa
Group’s motive was, at least in part, linked to TeliaSonera’s support of Alfa’s rivals in the
continuing conflict over a 25 percent stake in MegaFon. TeliaSonera is continuing to pursue
two arbitration claims, in Geneva and Vienna, before the International Court of Arbitration
to vindicate its contractual rights pertaining to the 2005 deal. In late 2005, TeliaSonera
announced that it was initiating legal action against the Alfa Group itself, alleging illegal
interference over its involvement in this transaction.

7) The Norex Dispute

In July 2001, Alfa-controlled TNK sent armed security guards into the offices of Yugraneft, a
Western Siberian oil company 60 percent owned by Canada-based Norex Petroleum. Norex’s
stake in Yugraneft had been frozen in June of that year by a Russian regional court in the
region of Khanty Mansiysk, the same court that had allowed TNK to take control of
Chernogorneft. TNK-controlled Chernogorneft, which owned a minority stake in Yugraneft,
responded by calling an extraordinary general meeting of the shareholders to install its own
representatives on Yugraneft’s board of directors. In essence, Alfa Group used a bribed
judge to provide the pretext for seizing first operational, and then legal control.


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Since 2003, Norex has been fighting in British Virgin Islands, Russian and American courts
to reclaim ownership of its interest in Yugraneft. Norex claims that Alfa Group improperly
gained control of Yugraneft through a corrupt process that included money laundering and
racketeering. Claiming it lost its 97 percent stake in Yugraneft in the takeover, Norex has
been pursuing a $1.5 billion legal claim against TNK and other Alfa Group assets.

8) The ASVT Dispute

Some analysts in the Russian media believe the Alfa Group is behind an effort to undermine
the position of AFK Sistema in connection with its shareholding in Mobile TeleSystems
(MTS), a leading Russian mobile telecommunications operator listed on the NYSE, and
Sistema’s bidding position in the expected privatization of Svyazinvest. Svyazinvest owns
and manages 90 percent of Russia’s fixed-line telecommunications network and has a
minority stake in a number of Russian mobile-telephone companies. It is an asset that
would nearly guarantee Fridman’s undisputed entrance into global telecommunications.

ASVT, a largely unknown Russian company, recently filed suit against Sistema, regarded as
a leading potential bidder for Svyazinvest. Because the claims involve stakes in MTS held by
Sistema, it is crucial to Sistema. Sistema holds an overall 50.4 percent stake in MTS, which
allows it to control MTS and consolidate the company’s financial performance into its own
accounts. Many Russian news reports link ASVT to the Alfa Group. And in fact, ASVT Deputy
Director Vadim Kucharin is the former Head of Alfa Telecom.

The suit by ASVT claims that Sistema failed to meet certain obligations under a 1995
agreement. Many believe that the lawsuit is part of Alfa’s strategy to maneuver itself into
the privatization of Svyazinvest. Alfa had previously indicated an interest in bidding in the
Svyazinvest privatization but, according to reports, needed more time to raise capital.
Sistema raised $1.5 billion from an initial public offering earlier in 2005 to fund potential
acquisitions, relying in large part on the cash flow from MTS.

9)    Prestige Oil Spill

In November 2002, the Prestige, an aging tanker loaded with Russian fuel oil split in two
and sank in the Atlantic Ocean. The spill created an ecological disaster as fuel oil coated
beaches along a 125-mile stretch of coastline in the Spanish fishing region of Galicia,
covering birds and other wildlife in sludge. Crown Resources, a Switzerland-based
commodity-trading unit of the Alfa Group, owned the cargo on the Prestige. The fuel oil was
loaded onto the Prestige in St. Petersburg and was bound for Singapore, Crown said. Crown
said a buyer for the oil had not been lined up.

Crown has since been disbanded in order to minimize legal ramifications.

10)     The Dachas Investigation

Aleksandr Khinshtein, a member of the Duma and a journalist, has uncovered a complicated
web of deals that allegedly link Alfa and Mikhail Fridman to the privatization and purchase
by a former high-ranking government official of two luxury dachas at a small fraction of
their market value, allegedly in return for assistance in winning a government contract.

Specifically, these allegations link former Prime Minister Mikhail Kasyanov’s acquisition of
expensive plots of land to Roman Abramovich and Mikhail Fridman. Allegedly, Alfa Bank
gave a loan of 20 million rubles ($720,000) to a front company called Amelia. Amelia then
allegedly used part of that loan to bid for a villa called Sosnovka-1 at an auction for


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$370,000 in January 2004. In August 2004, Amelia allegedly sold the villa to Kasyanov for
almost exactly the same price it paid at the auction, even though the property had been
independently appraised to be worth more than $27 million.

Fridman allegedly received advantageous terms on the purchase of his own dacha. Six days
after Sosnovka-1 was auctioned off, an Alfa subsidiary won a public tender to manage
Sheremetyevo International Airport. In July 2005, the Russian public prosecutor opened a
criminal investigation to determine how Kasyanov, and indirectly Mikhail Fridman, became
the owners of these dachas. The prosecutor insinuated that Fridman arranged bribes and
kickbacks to seal the Sheremetyevo deal.

By August 2005 when the investigation was gaining steam, Kasyanov had emerged as a
potential challenger to the Kremlin power struggle. Rosprirodnadzor, the Russian Federal
Natural Resource Oversight Agency, found violations during the reconstruction buildings on
the territory of the state dacha belonging to Kasyanov. According to Deputy Chief of
Rosprirodnadzor, Oleg Mitvol, the agency would seek permission to demolish the structures.

It was not until September 2005 that Rosprirodnadzor finally began investigating whether
Fridman’s summer house in the village of Sosnovka was being built in accordance with
existing norms and legislation. In the course of their inspection, they found that three
buildings on the compound are being rebuilt and this work is being carried out in the water
conservation zone. The Natural Resources Ministry said the builders did not have all the
documents required.

In January 2006, the Moscow Arbitration Court annulled the auction in which Mikhail
Fridman bought the state dacha in the Sosnovka 3 compound. Rosprirodnadzor successfully
argued that the auction was illegal because it was not properly announced and that the
representatives that took part in the auction were all employees of Alfa Bank. The Court
returned the plot to state property and ordered that Veltex, the company that bought the
land, be repaid 10.1 million rubles.

In February 2006, the Moscow Arbitration Court cancelled the purchase-sale contract of the
real estate property owned by Kasyanov, invalidating the sale.

11)    The Bitel Dispute

Alfa and Sistema’s battles over cellular telecommunications firms also extend into
Kyrgyzstan. On Aug. 12, 2005, Russian cellular firm MTS announced it had bought a
controlling 51 percent stake in Kazakh company Bitel from Alliance Capital for $150 million.
Two days later, Rezervspetsmet, which is alleged to be affiliated with the Alfa Group (an
allegation denied by Alfa), obtained a Supreme Court ruling that gave ownership rights in
Bitel, an Alliance subsidiary, to Rezervspetsmet.

The next day dozens of armed police stormed Bitel’s offices at Rezervspetsmet’s behest,
detaining company executives and leaving 90 percent of Kyrgyzstan’s mobile phone users
without network coverage for 5 hours. MTS president Vasily Sidorov told reporters that he
had met with Kyrgyz President Kurmanbek Bakiyev and other government officials after the
police raid. Sidorov said the president was shocked, and that he had received assurances
that the government would try to figure out why the raid had happened.

If Rezervspetsmet truly is owned by Alfa, which Stratfor believes is likely, it marks a sharp
escalation of the Alfa/Sistema conflict. Until this event, Alfa had not resorted to bribing law
enforcement (as opposed to judiciaries) to carry out its will.



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12)      Berezovsky Court Case

In April 2005, Berezovsky filed a lawsuit against Mikhail Fridman claiming that Fridman had
libeled him during a popular Russian television show called “To Barrier” aired on NTV in
2004. The suit alleged that Fridman cast doubt over Berezovsky’s reputation and claimed
that Berezovsky threatened him.

On May 26, 2006, the court awarded Berezovsky £50,000 in damages over the libel case.
The decision was a 10-1 split in favor of Berezovsky, stating the Fridman had failed to
present convincing evidence that Berezovsky had threatened to kill him. RIA Novosti
reported that the decision was also hailed a victory by a group of Russia’s “new political
refugees,” which includes Akhmed Zakayev (Chechen militant envoy wanted in Russia on
terrorism charges), Yuly Dubov (accused of fraud in Russia) and former state security
colonel Alexander Litvinenko (defected in 2000).

Companies Accused of Money Laundering & Corruption

    •     Alfa Capital Markets is headquartered and registered in New York City. It is fully
          owned by Alfa Group. It manages most Alfa investments into the United States using
          money it launders from Alfa’s Russian operations to avoid taxes. Such funds were
          used to acquire Golden Telecom Inc., a publicly held American company.
    •     Crown Commodities is a United Kingdom-based firm that traded Russian oil on global
          markets via a mix of shell firms in order to avoid Russian taxes. Known shells include
          Crown Trade and Finance (Gibraltar), Crown AG (Switzerland), Crown Resources
          (United States), and Alfa-Eco (Russian Federation).
    •     Novey Petroleum Finance Ltd. (Cyprus) was involved in the 1997 and 1999
          privatization of TNK as the vehicle which acquired the controlling interest in TNK.
    •     TNK-Nyagan (Russian Federation) is wholly owned by TNK and was used as TNK’s
          vehicle in the bankruptcy of Kondpetroleum.
    •     TNK-Nizhnevartovsk (Russian Federation) is managed and controlled by TNK and was
          used as TNK’s vehicle to strip assets from Chernogorneft in the bankruptcy of
          Chernogorneft.

Known Shell/Slush Fund Firms

    •     Futura Associates Limited (United Kingdom/Panama) is owned by Spitz and was the
          recipient of millions of dollars of salary and bonus payments diverted through
          Eastmount (United States) in order to avoid U.S. tax authorities. AS Naftaco
          Industrial Partners Limited (Cyprus) is believed to be a vehicle by which laundered
          monies are paid to Russian businessmen Leonid Blavatnik and Victor Vekselberg.
    •     Other companies thought to be shell firms used either to bribe Russian officials or to
          benefit Aven and Fridman directly include: Lamport (Cyprus), Ozerla Business Corp.,
          Redhill Properties Limited (Isle of Man, United Kingdom), Riverside Cay Limited
          (British Virgin Islands), Scorpio Res (Panama), Wasdale Limited (Isle of Man),
          Watford Limited (Isle of Man), Banstead Enterprises Limited (Isle of Man, United
          Kingdom), Beechville Trading Limited (Isle of Man, United Kingdom), Fullbrook
          Trading Limited (Isle of Man, United Kingdom), Inverforth Properties Limited Fairfax
          (Isle of Man, United Kingdom), Investment Limited (Cyprus), Freebow Investments
          (Cyprus), Aletar Co. (British Virgin Islands), and Arufa Invest & Trade (British Virgin
          Islands).




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A Statement from Alfa-Bank
On Recent Media Reports
About Financing In Iran
04 Sep 2007
A recent article published on the internet web site Foxnews.com, and republished elsewhere,
falsely stated that Alfa-Bank is the primary Cnancial agent in the development of Iran’s nuclear
power plant at Bushehr and erroneously suggested that Alfa-Bank, and by extension its Chairman,
Mikhail Fridman, and the Alfa Group as a whole, plays a principal and central role in the
development of Iran’s nuclear power program and the sale of aircraft to the government of Iran.

Alfa-Bank is one of the largest privately-owned banking institutions in the Russian Federation and
provides a full range of Cnancing and related services to clients in Russia and around the world.
Alfa-Bank, the Cnancial arm of Alfa Group in Russia, maintains a client relationship with
Atomstroieksport — a company owned and controlled by the Russian Federation — that has
a contractual relationship with the Iranian Atomic Energy Organization. Neither Alfa Group, nor any
of its subsidiaries including Alfa-Bank, has any direct client relationship with any Iranian entity —
public or private — that is a component of the Iranian nuclear development program.

Likewise Alfa-Bank (Ukraine), the Cnancial arm of Alfa Group in Ukraine, has a client relationship
with the Kharkov State Aviation Manufacturing Company («KASMC»), a company owned and
operated by the government of Ukraine. Neither Alfa Group nor any of its subsidiaries has ever had
a direct client relationship with the Iranian aviation industry.

Finally, Mikhail Fridman, the Chairman of Alfa Group, has never played any role, key or otherwise,
in any transaction with the Iranian government’s nuclear program or the Iranian aviation industry.



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A $50 Billion Bailout in Russia Favors the Rich and
Connected
   nytimes.com/2008/10/31/business/worldbusiness/31oligarch.html

Andrew E. Kramer                                                                   October 31, 2008




MOSCOW Companies belonging to two of Russia’s richest men are among the first
recipients of a $50 billion bailout program. The project, like so much else here, is opaque in
its details but has resulted in some of the nation’s oil windfall being funneled to well-
connected Kremlin insiders.

Under the plan being put in motion this week, money is channeled through the state
development bank Vneshekonombank, known as VEB, whose chairman is Russia’s prime
minister, Vladimir V. Putin. The stated goal is to help Russian industrialists refinance loans to
Western banks, with aid flowing quickest to those companies at risk of having assets seized
as collateral by foreign owners.

Critics charge that the bailout is another example of the cronyism here and a lack of
transparency.

In the largest loan to come to light so far, Rusal, the aluminum and mining company of the
billionaire Oleg V. Deripaska, Russia’s richest man, was awarded $4.5 billion to repay a
syndicate of Western banks led by PNB Paribas. Without the loan, Mr. Deripaska, who is
seen as a close ally of Mr. Putin, could have been compelled to surrender 25 percent of the
Norilsk Nickel company, which he had put up as collateral.


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Separately, Mikhail M. Fridman, the principal partner in Alfa Group, an investment company,
was granted a $2 billion letter of credit from VEB that rescued the most valuable asset in the
group’s telecommunications holdings, VimpelCom, which is listed on the New York Stock
Exchange and operates under the Beeline brand in Russia.

By Friday, shares pledged as collateral for a loan from Deutsche Bank had fallen below the
triggers for margin calls, and the bank could have seized the 44 percent stake in VimpelCom
in what would have been a major blow to the Alfa Group.

“They were minutes away,” from losing the company, said a representative for a large
European company familiar with the talks.

Mr. Fridman had called Deutsche Bank executives on Friday, after shares dropped below the
trigger point, asking for additional time in a gentlemen’s agreement, said the executive, who
did not want to be named discussing confidential talks. Deutsche Bank agreed.

But on Monday, a judge in the Siberian city of Omsk had issued a surprise injunction freezing
trades in VimpelCom shares owned by Altimo, Alfa telecom’s subsidiary, essentially
preventing Deutsche Bank from accessing its collateral even if it wanted to. The case was
unrelated to the loan negotiations, but the timing was suspicious, according to the European
executive.

By Tuesday, the loan guarantee was in place and on Wednesday the court released the
shares.

By Thursday, VEB had awarded about $10 billion of the $50 billion bailout package,
according to the authorities, though the recipients had not been formally identified. The Alfa
Group, led by men on Russia’s Forbes magazine list of the country’s wealthiest individuals,
may be among the larger recipients as their other businesses are in line for state bailouts,
too.

A deputy prime minister, Igor I. Sechin, said energy companies including TNK-BP, partly
owned by Alfa, would receive $9 billion to help refinance Western bank debt. The group
owns the X5 grocery store chain, also seen as likely to win a state loan.




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Business
TNK-BP Russian Partner Relishes Conflict; Taking Lessons from 'The Godfather,' Russian Billionaire Expresses Pride in 'Tough Relations With Our Partners'
By Gregory L. White
1053 words
14 November 2011
The Wall Street Journal Online
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MOSCOW—For much of its eight-year history, Russian oil company TNK-BP Ltd. has seen its two shareholders at odds. BP PLC and a group of Soviet-born billionaires known as AAR have done battle in courtrooms and boardrooms
from Siberia to the Caribbean.

That's a good thing, says German Khan, an AAR principal who insiders say essentially has run TNK-BP since the joint venture's BP-backed chief executive fled Russia during a row between the shareholders three years ago.

"I'm of the view that shareholder conflicts are good for companies," Mr. Khan says in a rare interview at TNK-BP's Moscow headquarters. "I've seen many conflict situations where managers started working better than in ordinary
conditions."

Mr. Khan, 50 years old, has seen plenty of tension in his business career. He is one of the three founding shareholders of the Alfa Group, which grew from a window-washing cooperative in the waning days of the Soviet Union into a
conglomerate with holdings in an array of sectors, including from oil, banking, retail and telecommunications.

Legendary for its often-aggressive tactics with partners, competitors and debtors, Alfa has been criticized for exemplifying Russia's bare-knuckle business environment.

But Mr. Khan—a slight, soft-spoken man who took up boxing as a child in Kiev, Ukraine, and as an adult has been said to carry a chrome-plated pistol under his sport coat—makes no apologies for Alfa's style. The group's holdings are
now valued at more than $25 billion.

"We try to set rather clear and tough relations with our partners and defend our rights in the legal situations that arise," he says.

TNK-BP often has been the battlefield for such relations. Alfa is the first 'A' and the dominant partner in AAR, which also includes Len Blavatnik's Access Industries and Viktor Vekselberg's Renova Group.

Early this year, AAR asked a London court to block a $16 billion alliance that BP had negotiated with OAO Rosneft, a Russian state-controlled oil company. AAR said the deal would have violated exclusivity provisions in joint-venture
agreement with BP. The court agreed, and BP was forced to scuttle the Rosneft deal. BP rival Exxon Mobil Corp. ultimately made the deal with Rosneft instead.

Arbitration proceedings are under way with AAR. They could lead to TNK-BP suing the British giant for what AAR says are billions of dollars in damages from the failed deal. BP rejects that claim as groundless. Mr. Khan declines to
comment on that dispute.

In BP's previous run-in with AAR, Bob Dudley, who then was chief executive of TNK-BP and now runs BP, had to leave Russia in 2008 amid a rising wave of pressure on foreign executives from regulators and courts in Russia. People
close to BP blamed the problems on AAR, in particular, Mr. Khan. Mr. Dudley at the time said he held meetings on the balcony of his downtown Moscow office to avoid eavesdropping.

"It was a nice balcony," Mr. Khan recalls, saying he wasn't aware of eavesdropping. AAR has denied a role in pressuring BP. After Mr. Dudley left Russia, BP and AAR reached a truce in which the British giant gave up much of its direct
influence inside the company.

"There's nothing personal here, it's just business," Mr. Khan says.

A BP representative says "occasional shareholder disagreements have not stopped [TNK-BP's] growth, and as shareholders we are very happy with the company's performance." Mr. Dudley wasn't available for comment.

At the height of the 2008 conflict, Mr. Khan was featured in a secret U.S. diplomatic cable, in which a British colleague painted an unflattering picture of him, even noting Mr. Khan's affection for the movie "The Godfather."

"I should have it framed and hung on my office wall," Mr. Khan jokes about the cable. "By the way, it's a very instructive film."

Visibly annoyed when asked about the pistol, which also figured in the cable, Mr. Khan says, "Everyone has their childhood dreams."

Mr. Khan says he and his partners "believe in" the 50-50 structure of TNK-BP, despite the periodic disputes. He says AAR doesn't regret not selling earlier this year, when BP and Rosneft discussed a deal to salvage their proposed
alliance by buying out AAR's stake in TNK-BP for about $32 billion in cash and stock.

Mr. Khan denies that he dominates company management, which is formally headed by CEO and Chairman Mikhail Fridman, Alfa's largest shareholder. Mr. Fridman has said he is a hands-off CEO.

Mr. Khan says there has been no indication that Russian authorities have given the company the cold shoulder after the Rosneft mess, as some observers had predicted. With its hybrid of foreign and local ownership, TNK-BP is a rarity
in the Russian oil sector, where local companies, particularly state-owned ones, have been dominant in recent years.

But Mr. Khan says he sees the government easing the tax burden and opening more opportunities—including access to the huge reserves on the Arctic shelf—to private players to boost flagging oil production. The tightly regulated gas
market also is likely to open up over time, he says. That would allow TNK-BP to become one of Russia's biggest gas producers, he says. "We're not planning to retire."

Alfa has avoided the internal tensions of other Russian companies in recent years, in which oligarchs have taken each other to court.

One of the most dramatic of such battles is under way in London, where one-time Kremlin insider Boris Berezovsky has sued his former partner, oil tycoon Roman Abramovich. The case has provided a rare window into the murky
business dealings of 1990s Russia. Last week, Mr. Abramovich testified that everyone in big business needed high-level political and other protection, known as a krysha, the Russian word for "roof."

Mr. Khan takes issue with that. "We never had a krysha. We were always our own krysha."

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GLOBAL BUSINESS



In Bid for BP’s Stake of Venture, a Former Spy Becomes the Focus
By ANDREW E. KRAMER JULY 24, 2012
MOSCOW — Igor I. Sechin, chief executive of Rosneft and confidant of the Russian president, Vladimir V. Putin, is the most powerful oilman you’ve never heard of. And Mr.
Sechin, a former military spy who is awkward in front of cameras, long preferred it that way.

    But he might not be able to remain in the shadows for much longer. In recent months, Mr. Sechin has struck a series of bold deals with Western oil companies to develop
Siberia and Russia’s Arctic waters, and he is on the prowl for more.

    The man nicknamed “The Scariest Man on Earth” because of his espionage background is now at economic conferences and visiting boardrooms in New York and Berlin
as he seeks to build up Rosneft, the Russian state oil company.

    On Tuesday, Rosneft announced that it had begun negotiations on what would be its biggest deal ever: to buy the British oil giant BP’s share of its Russian joint venture.
BP estimates that its stake in the venture, TNK-BP, is worth about $30 billion.

    The deal, if consummated, would help Mr. Putin and Mr. Sechin consolidate their control over Russia’s valuable energy assets, the linchpin of the nation’s economy, at a
time when the Russian industry is facing stiff challenges to finding new sources of oil to replace aging fields. It would also cement Rosneft’s position as the biggest publicly
traded oil company in the world as Mr. Putin begins his third presidential term.

Rosneft already claims the largest proven oil reserves of a listed company, though other, nonpublic state companies such as Saudi Aramco have far more.

    The company’s production of 2.4 million barrels per day now surpasses BP’s output of 2.3 million, including its portion from TNK-BP, and Exxon Mobil’s level of 2.2
million. If Rosneft acquires BP’s stake in TNK-BP, its daily output would rise to 3.3 million barrels per day — more than the country of Iraq and well ahead of other public
companies.

    “Rosneft believes that an acquisition of BP’s interest in TNK-BP would be in the best interest of both Rosneft’s and BP’s shareholders and would lead to further
development of TNK-BP,” Rosneft said in a statement. Rosneft said it approached BP only after BP had announced interest from another potential buyer in June.

    For its part, BP said it “welcomed today’s announcement by Rosneft of its interest in commencing negotiations.”

    BP is also negotiating a possible sale to its Russian partners, a group of Soviet-born billionaires that include Len Blavatnik, who lives in New York, and two Russian-based
partners. But BP will be hard pressed to turn down the state company’s bid, in no small part because of the presence of Mr. Sechin, who was deputy prime minister until May.

    Mr. Sechin declined to be interviewed. But his recent actions seem to signal a desire on the part of the Kremlin to work with Western companies to more fully develop
Russia’s oil and gas resources while also ensuring that the government retains control over the assets.

    For BP, the Russian joint venture has provided a gusher of cash, generating $19 billion over nearly a decade. But BP and its Russian partners have clashed repeatedly over
whether and how to expand. And last year, the Russian partners, including the oligarch Mikhail Fridman, successfully blocked a separate deal that BP had struck with Rosneft
to explore Russia’s Arctic waters.

    That maneuver embarrassed Mr. Putin, who had publicly championed the BP-Rosneft alliance.

    BP, oil analysts say, wants to sell its TNK-BP stake in part as a means to divorce from its partners and make a new alliance with Mr. Sechin, who is said to be an opponent
of Mr. Fridman.

    Any sale of BP’s stake in TNK-BP is at least three months away, the period that BP must, under its shareholder agreement, negotiate on the buyout offer from its current
partners. Further muddying any possible deal are allegations of fraud from a former TNK-BP employee against the company’s management, which emerged Tuesday in a
London court.

    The former director of logistics accused one of the Russian shareholders, German Khan, who is also a manager, of funneling hundreds of millions of dollars in bribes to
Russian officials in the guise of subcontracts. TNK-BP lawyers denied the allegation as wholly unsubstantiated, Bloomberg News reported.

    Renaissance Capital, a Russian investment bank, suggested in a research report last week that the oil sector would be partly nationalized in Mr. Putin’s third term, with
state control rising to more than 50 percent from 33 percent today.

    The appointment of Mr. Sechin, a longtime aide to Mr. Putin, to the chief executive position at Rosneft telegraphed the government’s intentions, the report suggested.

    Thane Gustafson, senior director of research for Eurasia energy at IHS, said that an acquisition of TNK-BP could help Rosneft gain valuable expertise in techniques to
extract oil from shale fields, which have driven a boom in American oil and gas production but have been barely tapped in Russia.

    Mr. Sechin, with one foot in the world of intelligence services and the other in business, is positioned like no other official in Russia to orchestrate a major overhaul of the
oil industry — with Rosneft, as has so often been the case, the principal beneficiary. Mikhail B. Khodorkovsky, in an interview in 2005, blamed Mr. Sechin for his arrest and the
dismantlement of his company, Yukos, and its absorption into Rosneft.

    “There is no question that Sechin has proven himself loyal and competent,” Mr. Gustafson said.

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    Kremlinologists say Mr. Sechin leads a faction of former military and security service veterans known as the “siloviki,” or men of power, who are skeptical of close
partnership with the United States. He has, though, negotiated deals with Western companies, including Exxon Mobil, to explore for oil in the Russian sector of the Arctic
      Ocean.
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           Mr. Putin hired Mr. Sechin as an aide in his office in the St. Petersburg city administration in 1993, when Mr. Putin was a deputy mayor. The two former spies have
      worked together since, through a succession of jobs including at the F.S.B., the successor agency to the K.G.B., where Mr. Putin was director in the late 1990s.

           Over the years, Mr. Sechin has handled both delicate and personal matters for his boss. When Mr. Putin’s wife, Lyudmila, was in a car accident in 1994 and had to be
      taken to the hospital, she told a journalist later, she called Mr. Sechin to take care of the Putins’ daughter Katya because Mr. Putin was busy with work.

           Mr. Sechin is a contentious figure for foreign investors, though he is said to be far more gregarious and easygoing in private than at public functions.

           William F. Browder, the chief executive of Hermitage Capital and formerly the largest portfolio investor in the Russian stock market, was expelled from Russia in 2005
      after advocating for greater transparency at state-controlled energy companies such as Gazprom and Surgutneftegaz.

           Mr. Browder blamed Mr. Sechin for arranging this expulsion by designating him a national security threat, ineligible for a visa.

           The purchase of the BP stake in TNK-BP would catapult Mr. Sechin, who served in the Angolan civil war in the Soviet military intelligence service, or the G.R.U., into the
      ranks of the most important figures in the world of oil, with a thumb on the scale of prices.

           Generally, Western oil companies have been eager to strike deals with him despite the unpredictable nature of dealings with the Russian government. One senior Western
      oil company executive, who requested anonymity to preserve business relationships with the Russians, recalled a meeting where Mr. Sechin said flatly that foreigners investing
      in Russian oil shouldn’t expect a game of cricket.

           “You have to remember, this is Russia,” he recalled Mr. Sechin telling him. “There are different rules.”

      Stanley Reed contributed reporting from London.

      A version of this article appears in print on July 25, 2012, on Page B1 of the New York edition with the headline: In Bid for BP’s Stake of Venture, a Former Spy Becomes the Focus.




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The Four Horsemen Of Russia's
Economic Apocalypse
             Nathan Vardi Forbes Staff
             Hedge Funds & Private Equity
             Following the money trail



   This article is more than 2 years old.

This story appears in the February 9, 2015 issue of Forbes. Subscribe


IN MARCH 2013 a group of bankers and lawyers gathered in the Frankfurt offices of
Deutsche Bank to monitor the transfer of nearly $28 billion in U.S. currency from an
account controlled by Russia's state-owned oil giant, Rosneft , to one controlled by four
billionaire Russian tycoons: Mikhail Fridman, Viktor Vekselberg, Len Blavatnik and
German Khan.

The closing of the sale of TNK-BP, Russia's third-biggest oil company, 50% owned by
British Petroleum and 50% by the Russian billionaires, marked another move by
Vladimir Putin to centralize power. Rosneft Chief Executive Igor Sechin, often
described as Russia's second-most-powerful man behind Putin and sometimes called
Darth Vader, was the central figure behind the deal. He sometimes seemed to want to
remind the oligarchs of their rank by tormenting them during the negotiations, arriving
late to their Moscow meetings.

As if it were being played out in a James Bond thriller, a neutral location was selected
for the closing: Frankfurt, Germany, continental Europe's financial capital. Shareholder
representatives insisted that they be able to immediately verify, in real time, the
transfer of cash and stock certificates into an escrow account controlled by the
billionaires, says a person familiar with the events . Only after a screenshot was taken
showing the new balance of $27,778,900,132.16 was the transaction considered final.




Mikhail Fridman



  Today In: Investing




Putin was ecstatic. "This is a good big deal, which is important not only for Russia's
energy sector but for the entire Russian economy," he said as the deal was being
announced. Rosneft's $55 billion TNK-BP purchase transformed it into the world's
biggest publicly traded oil company and cemented Sechin's position as a global energy
czar, with Putin presumably pulling the strings.
                                                                        G119
Sechin and Putin's mega-energy merger may have seemed like a "good" strategic deal
       Case
for Russia,       1:17-cv-02041-RJL
            but for                             Document
                    Fridman, Vekselberg, Blavatnik             176-10
                                                   and Khan, whose combined Filed
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worth now hovers around $55 billion, cashing out of Russia's most oil-dependent
company in the spring of 2013, with West Texas Crude selling at $92 per barrel and
Western banks pumping loans into Russia, may go down as the most brilliantly timed
profit-taking of the decade. It also may have set off a chain of events in global financial
markets that has contributed to the collapse of Russia's currency, which plummeted
40% against the dollar in 2014. Putin's state has been thrown into recession.

In 2003 British Petroleum started working with Fridman, his other billionaire partners
and their TNK oil company, creating a 50-50 joint venture called TNK-BP. It would
reach $60 billion in annual revenues and pay its owners dividends in the tens of billions
over a decade. In fact the cash being generated by TNK-BP helped make the four
Russians some of the richest men in the world and kept BP secure as an oil power,
accounting for 27% of its reserves.




German Khan


But it was a rocky partnership. The Russian billionaires felt that BP was treating TNK-
BP as a foreign subsidiary, pursuing capital expenditures that would build reserves as
opposed to other things like paying extra dividends. At the same time, BP's staff in
Russia became embroiled in police actions, and its then Russia chief, Robert Dudley,
left the country at one point and ran TNK-BP from a secret outpost after he and other
BP employees could not renew their visas. Dudley is currently BP's chief executive
officer.

After several other setbacks, including losing a deal to drill in the Kara Sea to Exxon
Mobil in 2011, BP entered into a transaction with Sechin to sell its TNK-BP stake to
Rosneft. In return BP got $12.5 billion and a 19.75% stake in Rosneft, which was
important to BP because the structure allowed BP to continue including some of
Rosneft's reserves on BP's books.

For BP's billionaire partners the best option was to sell their entire 50% stake to Sechin,
a close Putin ally and former Russian deputy prime minister eager to build a massive
national oil company. A cash buyout was key because the Russian billionaires did not
want to become minority shareholders in a Sechin-controlled Rosneft. Likewise Sechin
didn't want to risk diluting control through the issuance of more shares to this shrewd
investor quartet. Sechin's big problem was that he didn't actually have the money to buy
them out. So he borrowed about $40 billion in cash to close the deal, partly by using
short-term foreign-denominated bridge loans. Banks from all over the world
participated in the financings, including JPMorgan Chase, Barclays, BNP Paribas and
Unicredit.


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Viktor Vekselberg


But little more than a year later, in the fall of 2014, Rosneft was suddenly in a pickle. It
needed to meet payments related to the bridge loans, but by then Putin's invasion of
Crimea brought on crippling economic sanctions, and Saudi Arabia's decision to take on
U.S. shale producers and discipline OPEC members like Iran and other producers like
Russia had pushed oil prices into a free fall. Sechin and Rosneft were effectively cut off
from Western banks, and there was no easy way for Sechin to roll over $7 billion of
foreign currency-denominated deal loans that were coming due in December. So Sechin
got backing from Russia's central bank and orchestrated a bond sale to raise rubles.

Rosneft placed $10.8 billion worth of ruble-denominated bonds in December, carrying
rates below yields on similarly dated Russian government bonds. It was a mysterious
transaction with almost no disclosures to date. The Russian central bank said it would
accept the bonds as collateral from Russian banks seeking to borrow at preferential
rates, essentially providing commercial banks a window of liquidity. No bond buyers
were ever disclosed, and it's not yet clear how much money was raised. Rosneft has yet
to make significant disclosures, and now Sechin has taken the position that "the ruble
bond option was not exercised."

Still the murky bond issue took market players by surprise, causing speculation that
Rosneft would sell the rubles it had just raised in the open market to buy up U.S. dollars
to pay back its debt. The ruble plunged to record lows in response, even while oil prices
appeared to be firming up.

"There was suspicion that those rubles could go to the foreign exchange market," says
Sergey Romanchuk, head of forex at Metallinvestbank in Moscow. "This trade was like a
trigger because people were scared that this would be a new instrument that would be
used for other companies."




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Len Blavatnik


Putin's critics called the Rosneft bond issue a bailout. Sechin described the attack as a
"provocation." Rosneft went on record stating that not a single ruble raised in the bond
issue would be used to buy foreign currencies. Its revenues mostly come from exports
denominated in foreign currencies, and in a statement Rosneft says it "generates
enough cash flow in foreign currencies in order to meet its loan repayment obligations."
Where were the rubles going? Rosneft would only say the proceeds would be used for
"financing its project in the Russian Federation."

Few dispute Rosneft's role in roiling the already skittish global market for rubles. At
19% of Russia's $2 trillion GDP, oil is Russia's biggest cash cow, and oil exports are
heavily taxed. At $100 an exported barrel, some $70 would go to the government. At
$50 a barrel, about $22. Rosneft presumably hoarded foreign currency this fall to make
its debt payments. Industry analysts assert that it would have likely withheld dollars
from the currency market that Rosneft would normally have used to purchase rubles to
meet its tax obligations. Rosneft also has a big cap-ex program in Russia funded by
rubles. "They were using the proceeds of the bond issue to cover their ruble costs," says
Kirill Tachennikov, an analyst at BCS Financial.

Rosneft repaid its $7 billion loan in late December. A few days later the Russian
government directed Russia's big exporters to support the ruble in currency markets.
Rosneft may have complied, but with about $20 billion of debt coming due in 2015
(mostly in dollars and euros) and capital expenditure plans of $20 billion, Rosneft has a
$40 billion headache that worsens with every tick down in the price of oil. According to
its financial statements, Rosneft has $20 billion or so in cash and is on record asking
the Russian government to tap its National Wellbeing Fund for assistance. Sechin
wants help from Putin, but another bond bailout would be disastrous for the ruble.




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Screenshot of 2013 transfer by Rosneft of $27,778,900,132.16 to account controlled by
four Russian billionaires (Click to enlarge)

Russia's economy may be sinking into crisis, but flush billionaires Fridman, Khan,
Vekselberg and Blavatnik have shown few signs of rushing to Mother Russia's aid with
significant investments or capital expenditures despite pleas from Putin.

Fridman, 50, Russia's third-richest man, collected $5.1 billion from the TNK-BP deal.
His college buddy Khan, 53, got $3.3 billion. The duo set up a Luxembourg company,
LetterOne, with the TNK-BP cash and are trying to buy an oil and gas unit of a German
utility for $6 billion. Says a spokesperson, "We are committed to reinvesting a
significant portion of the proceeds in Russia and hope to identify attractive
opportunities in the near future."

Ukraine-born Blavatnik, a U.S. citizen since 1984 and worth $18 billion, reaped $7
billion from the TNK-BP sale. His biggest assets: a stake in Houston chemicals
producer LyondellBasell and Warner Music. In 2014 he celebrated his Rosneft triumph
by purchasing Damien Hirst's gilded sculpture of a woolly mammoth for $14 million.
Blavatnik declined to comment.

Vekselberg, 57, known for his art collection, including a new museum in St. Petersburg
featuring his Fabergé eggs, is now Russia's second richest, worth $14 billion. He reaped
$7 billion from the deal and used some of it to buy into Schmolz+Bickenbach, a Swiss
steel company. "Most of the money Renova [Vekselberg] received from the deal was
invested in Russia," insists spokesperson Andrey Shtorkh.

Putin is standing by his man Sechin, despite the 50% decline (in U.S. dollars) in
Rosneft's stock price during 2014. He is a "good manager," says Putin. BP, which still
owns 20% of Rosneft, is bracing itself for a fourth-quarter earnings hit and may be
forced to write down its Rosneft equity.

"The TNK-BP deal has been an expensive decision [for Russia]," says Sergei Guriev, a
Russian economist who fled to France in 2013. "TNK's owners did a very good deal."


        Nathan Vardi


I am a senior editor at Forbes who likes digging into Wall Street, hedge funds and private equity
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Mikhail Fridman: The Alpha oligarch
Guy Chazan and John Thornhill
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When the definitive history of Russia's oil industry is written, the Chief Rabbi of Moscow will warrant a special mention. Rabbi Pinchas Goldschmidt helped to reconcile two men who had been locked in one of the most epic corporate
tussles of the 1990s - Lord John Browne, then chief executive of BP, and the Russian tycoon Mikhail Fridman .

The BP chief had stood by helplessly as Mr Fridman seized control of some of the UK major's most valuable Siberian oilfields. He retaliated by launching a noisy international campaign against Mr Fridman 's oil company, TNK.

As recounted by Lord Browne in his memoirs, peace only broke out after he was contacted by a friend, Labour peer Greville Janner, who had just come back from a trip to Moscow. While there, Lord Janner spoke to the Chief Rabbi,
who told him he knew Mr Fridman . "[He] is better than the other people you were dealing with," Lord Janner said. The BP chief relented and started taking the oligarch 's phone calls. They met, and within months agreed a truce.

Four years later, the two men's companies teamed up to create TNK-BP - a joint venture that would become the world's seventh-largest oil producer and one of BP's most lucrative investments.

Now they have joined forces a second time. This week, Lord Browne was named executive chairman of L1 Energy, Mr Fridman 's new oil and gas venture. His mission: to spend some of the proceeds from the sale of TNK-BP on
energy assets around the world.

Yet the venture has had a bumpy start. This week, the oligarch 's Luxembourg vehicle LetterOne announced it had acquired RWE Dea, the oil and gas arm of Germany's RWE, for €5bn. But the UK government is unhappy about the
deal, fearing Mr Fridman might be hit by future sanctions imposed over Russia's actions in Ukraine: such an eventuality could affect the operations of Dea's 12 North Sea gasfields. Mr Fridman promptly threatened legal action.

The government wrote to LetterOne on Wednesday saying it had seven days to explain why it should be allowed to retain ownership of the fields and why ministers should not force their sale to a third party. The argument has puzzled
many who know Mr Fridman . Always careful to steer clear of politics, he has never been seen as a Kremlin crony. His business empire, centred on Alfa-Bank, Russia's largest private lender, is a world away from state-owned
corporations such as Rosneft, which have flourished under President Vladimir Putin and are now being squeezed by sanctions.

Legal minefield

That point was echoed on Wednesday by Victoria Nuland, US assistant secretary of state. Asked in a Congressional hearing whether Mr Fridman might be a potential target for US sanctions, she said the measures are aimed at
"Russian public government assets and entities. Mr Fridman runs one of the few remaining private companies in Russia, and, as such, has had his own strong views as a private citizen about appropriate Russian-European relations".

The dispute over the Dea fields could be the first of many. With the political chill between Moscow and the west intensifying, more Russian businessmen could find themselves caught in the crossfire. That is a big concern for the
City of London, which long ago opened its doors to Russian money. The web of financial ties may be hard to unpick.

One thing is clear: if the UK government wants a fight with Mr Fridman , a man renowned for his hardball tactics, he will relish it. The oligarch 's career has been punctuated by fierce corporate battles, both with domestic rivals and
western groups like BP and Norwegian telecoms group Telenor. His aggression, combined with a brilliant strategic vision, has helped make him one of Russia's richest men, with interests spanning banking, oil, retail and telecoms.
Forbes estimates his fortune at $17.6bn.

For BP executives, the partnership with Mr Fridman , which ended when Rosneft bought TNK-BP in 2012 for $55bn, was a bruising experience. But they say he was unfailingly courteous, regularly assuring his antagonists that "it's
nothing personal, just business".

"With him it was like a rugby game," says one person close to TNK-BP. "You kick the shit out of each other on the pitch but then you go and have a beer afterwards."

Born into a Jewish family in Lviv, western Ukraine, in 1964, Mr Fridman developed a taste for enterprise as a student at Moscow's Steel and Alloys Institute. He was one of a number of traders, nicknamed fartsovshchiki ( the word may
come from the English phrase "for sale"), who bought and sold consumer goods and scalped theatre tickets. He set up a window cleaning business and even bred white laboratory mice.

When the Soviet Union collapsed in 1991 it was this generation of small-time entrepreneurs that came to the fore, picking over the carcass of the Soviet economy for scraps of value.

Along with some friends, including German Khan who is still his partner, Mr Fridman founded Alfa Group in 1989 and Alfa-Bank two years later. The financial-industrial group was backed by a group of powerful shareholders, who still
remain anonymous. But it is a fair bet they were linked to the Communist party nomenklatura, among the only people with access to capital at the time. Jovial, rumpled and unpretentious, Mr Fridman stood out among the Yeltsin-era
oligarchs. He was more likely to be found at a jazz concert than in the dissolute nightclubs that were in vogue.

The tabular content relating to this article is not available to view. Apologies in advance for the inconvenience caused.

< > He had, however, more staying power than many of his peers. He was one of the seven oligarchs who helped bankroll Boris Yeltsin's re-election campaign in 1996 and exercised a huge influence over the Kremlin in the late 1990s.
Yet only three of them are still in business, testament to his street smarts and lack of overt political ambition.

"We have an ideology not to be involved in politics," Mr Fridman said recently. "I never tried to become an important or influential person, like many other Russian businessmen. It's too risky in Russia." Trying to get a job in government
was also out of the question, he says. "I couldn't be a minister with my Jewish roots. My mother told me it's not for you - forget about it."

Russia's 1998 financial crash swept away many of the first post-Soviet moguls. But Mr Fridman survived. Alfa-Bank distinguished itself by securing depositors' funds, paying staff and trying - wherever possible - to honour its debt
obligations. Other oligarchs simply ripped off customers and creditors, knowing they would have no recourse in Russia's lawless business environment.

He could be brutal - nowhere more so than in his bare-knuckle fight with BP. One banker said at the time that he appeared to have a devil on one shoulder and an angel on the other, and would listen to whichever promised him the
most money. "You cannot expect to play by western rules in western capital markets and by Russian rules in the Russian oil market and expect to retain your credibility," the banker says.

In 1997, Mr Fridman 's Alfa teamed up with Len Blavatnik's Access Industries and Viktor Vekselberg's Renova to buy TNK, a state-owned oil company. BP had also entered Russia the same year, paying around $500m for a 10 per cent
stake in Sidanco, a Siberian oil producer.

Siberian manoeuvre

Soon, Mr Fridman and his partners were making a play for Sidanco's best fields. They bought up the debt of some of its production units, had them declared bankrupt and snapped them up on the cheap. By late 1999, the company
was an empty shell. BP hit back by sending lobbyists to Washington to block a $500m US Eximbank loan to TNK. Ultimately, however, Lord Browne and his one-time nemesis were reconciled, and agreed to become partners.

In his book, Lord Browne describes Mr Fridman as a "superb negotiator", writing: "He would give you the feeling that he would rather forfeit everything than give up on a single crucial point."

In 2003, one-time enemies BP and Alfa-Access-Renova created TNK-BP, a 50:50 joint venture. For the first few years it seemed to be an unqualified success. But from the start there was friction. A secret US diplomatic cable from the
time, later published by WikiLeaks, explained the antagonism: "As one BP official told us when the company was forming: 'We have a love-hate relationship. They love us (our money), and we hate them (their corporate governance
and management styles).'"

The tensions surfaced in 2008. BP found itself under massive pressure as the shareholders argued over strategy. AAR pushed to remove Bob Dudley, TNK-BP's chief executive, accusing him of running the company as a BP
subsidiary. TNK-BP found itself paralysed by labour inspections and audits. Peter Sutherland, BP's then-chairman, spoke darkly of "a return to the corporate raiding activities" of 1990s Russia. AAR denied any link to the wave of
bureaucratic interference.

Then in July that year, Mr Dudley abruptly left Russia, blaming a campaign of "sustained harassment". Soon afterwards, BP effectively ceded control of TNK-BP to Mr Fridman and AAR.

But it was not the end of BP's run-ins with the oligarch . In January 2011, Mr Dudley, now head of BP, announced a $16bn share swap and Arctic exploration deal with Rosneft. AAR sued to stop the deal, arguing that under its
agreement with BP the UK major was obliged to pursue all Russian oil and gas opportunities exclusively through TNK-BP.

The High Court in London agreed, granting AAR an injunction. In March 2011 an arbitration tribunal blocked the BP-Rosneft tie-up. A few months later, Rosneft did a deal on the same Arctic acreage with ExxonMobil instead.

Westerners were amazed at AAR's audacity in stymying a transaction that had been negotiated by Igor Sechin, Rosneft's powerful chairman, and blessed by Mr Putin himself. "It was like in Spinal Tap, the amp that goes to 11," says
the person close to TNK-BP.

Rosneft's embrace

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But Mr Fridman 's intervention did not appear to harm his standing with the Kremlin. Within months, TNK-BP had been acquired by Rosneft, and Alfa came away with $14bn in cash. The group had spent about $1bn in the 1990s for
its share of what became TNK-BP.
BP, too, did very well out of the venture. It had earned $19bn in dividends over TNK-BP's 10-year life and came away with $12.5bn in cash and a 20 per cent stake in Rosneft - all on an initial outlay of $7.5bn. It was one of the most
successful investments in BP's history.
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Mr Fridman 's allies say if LetterOne's dispute with the UK government ever gets to court, he might be just as successful as he was against BP.

"Normally, a government would only ask a company to sell an asset if it was worried about its financial strength, or if it had concerns about market concentration," says one western executive who knows Mr Fridman well. "This argument
about possible future sanctions - it's uncharted territory."

Anyway, he will overcome this hurdle, just as he has all others, the person believes. "I've no doubt he'll succeed. He's a brilliant opportunist and a great entrepreneur."

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Russian Tycoon Fridman Should Make U.K. Feel Nervous
   themoscowtimes.com/2015/03/10/russian-tycoon-fridman-should-make-uk-feel-nervous-a44604

Howard Amos                                                                                  March 10, 2015




                                              Mikhail Fridman

A weeklong window for Soviet-born billionaire Mikhail Fridman to persuade the British
government to let him keep his North Sea energy assets closes on Wednesday.

If Russia's second-richest man fails to make his case, London is likely to block the deal
on the grounds that the gas fields off the U.K. coast could be at risk from future Western
sanctions — an outcome Fridman's LetterOne investment vehicle has warned could trigger
a legal challenge.

Already famous for his strong-arm tactics and litigious instincts, a court battle with the British
government will propel Fridman — who organized semi-legal theater ticket sales as
a student and began his career with a window cleaning business — to a new level
of international renown.

While Fridman's access to top Russian officials is undisputed — he studied at university with
Kremlin heavyweight Vladislav Surkov — he publicly distances himself from politics,
and experts have questioned London's motives in punishing him as part of sanctions aimed
at the Russian government.




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"It's not conflict itself that gets me going," Fridman told the Russian edition of Forbes in a
2013 interview. "I don't like unfairness in general and I don't like unfairness in relation
to myself."

London Showdown
The conflict with the British government was provoked as Fridman looks to build a global
investment operation on the back of a fortune made in Russia.

"Remaining within national borders would be a losing strategy," Fridman said in a 2013
interview published on the website of the Russian Jewish Congress.

Luxembourg-based LetterOne was established in 2013 after the sale of oil company TNK-BP
to state owned Rosneft in which Alfa Group, the investment holding that is the basis
of Fridman's business empire, netted almost $14 billion. LetterOne has already agreed a joint
$12 billion investment with BP in an Egyptian natural gas venture.

The tussle with the British authorities arose out of LetterOne's 5 billion euro purchase
of RWE Dea, the oil and gas arm of Germany's RWE. Officials in Berlin have not raised any
objections to the sale, but the presence of North Sea assets in RWE Dea's portfolio has
raised Westminster's hackles.

The British fields in question reportedly include up to 5 percent of Britain's gas production.

British Energy Secretary Edward Davey said in a Feb. 28 statement that he "would be
minded to require the companies to arrange for a further sale to a suitable third party"
because of the operational risks if LetterOne was hit by future sanctions over the Ukraine
crisis.

LetterOne responded with threats of legal action and accused London of stalling on the
issue.

On March 4, Davey said LetterOne had seven days to persuade the U.K. it was a worthy
buyer.

Litigious to the Core
Fridman's long career leaves few doubts over whether he might be bluffing about aggressive
negotiating tactics or a willingness to resort to legal action.

Alfa Group's telecommunications arm, Altimo, was involved in legal wrangling with Norway's
Telenor over control of telecoms giant VimpelCom that began in 2005 and dragged on for
seven years. Cases linked to the corporate tussle — which ended in a compromise
agreement — were heard in both the United States and Russia.



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But Fridman's biggest legal battle came in 2011 when he, along with partners Len Blavatnik
and Viktor Vekselberg in the AAR consortium, challenged — and eventually overturned —
an $8 billion Arctic oil deal between BP and state-owned Rosneft that had been publicly
blessed by then-Prime Minister Vladimir Putin.

Legal squabbles between AAR and BP throughout the 2000s involved cases brought
by obscure minority shareholders in Siberia — a tactic attributed to AAR but officially denied
by the tycoons.

Youthful Connections
Born in 1964 and raised in the western Ukrainian city of Lviv, Fridman — who still speaks
Ukrainian — moved to Moscow and graduated from the prestigious Institute of Steel
and Alloys in 1986. A star student, he also organized his classmates to snap up cut-price
theater tickets to be used in barter exchanges and helped set up a popular club named after
the Beatles song "Strawberry Fields."

His first taste of business was as part of a window-cleaning cooperative during the late
1980s, when Mikhail Gorbachev's perestroika relaxed restrictions on private enterprise.

Fridman set up Alfa-Eco, the founding company of today's Alfa Group, in 1989. Alfa Bank,
now Russia's second-largest privately owned bank, was established the following year.

Many of Fridman's partners in these early enterprises have stayed with him throughout his
career.

Kiev-born German Khan, worth $9.5 billion according to Forbes, and Mikhail Kuzmichev,
worth $7.3 billion, both studied with Fridman and are co-owners of Alfa Group.

Pyotr Aven, valued at $5.1 billion by Forbes, has headed Alfa Bank since 1994.

Fridman's ties extend to the heart of the Kremlin. Surkov, who is credited with fashioning
Russia's vertical system of power under Putin in the 2000s, studied with Fridman, Khan
and Kuzmichev and worked at Alfa Group for several years in the 1990s before joining
the presidential administration.

Jewish Heritage
Fridman was made acutely aware of his Jewishness as a young man in Moscow.

His ethnic and religious background was the reason he was denied entry to Russia's most
prestigious physics university and then, after graduating, refused a place on a master's
program, Fridman said in an interview with Forbes Russia last year.

"I was terribly upset," he told Forbes, adding that the two rejections played a key role in his
decision to pursue a career in business.

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Since amassing his fortune, Fridman has been known for his support of organizations
promoting Jewish identity-building, including the Genesis Philanthropy Group, the European
Jewish Fund and the Russian Jewish Congress. In 2012, he posed for photographs during
a short pilgrimage in the Israeli desert with a group of other Russian billionaires and senior
executives from Moscow.

Rise and Rise

Despite claiming to be "no politician," Fridman has climbed rapidly, and inexorably, through
the ranks of Russia's richest people.

His ability to bury the hatchet with former foes has likely helped in his success. Last week,
for example, it was announced that former head of BP Lord Browne, with whom Fridman
locked horns in the 1990s over Siberian oil assets, had been appointed the head
of LetterOne's oil and gas arm, L1 Energy.

LetterOne says on its website that it has $29 billion of assets under its management and only
targets investment of above $1 billion. In interviews, Fridman declines to answer questions
about Alfa Group's value, but in 2013 he told The Wall Street Journal it could be worth up
to $40 billion.

Fridman has not been out of the top ten wealthiest people in Russia since 2005, and in its
most recent assessment, Forbes magazine ranked him as the second-richest person
in Russia — valued at $14.6 billion and a mere $200 million poorer than the rating's leader,
metals magnate Vladimir Potanin.

"Who said that it's difficult to work with us?" Fridman asked in his 2013 interview with Forbes
Russia.


Correction: This article has been amended to say that the disputed North Sea gas fields are
located off the U.K. coast rather than the Scottish coast.

Contact the author at h.amos@imedia.ru




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Putin's older daughter: a specialist in biomedical science
    reuters.com/article/us-russia-capitalism-maria/putins-older-daughter-a-specialist-in-biomedical-
scienceidUSKCN0SZ1DG20151110

Stephen Grey, Elizabeth Piper


everythingNews
Updated

By Stephen Grey, Elizabeth Piper

3 Min Read

LONDON/MOSCOW (Reuters) - Vladimir Putin’s elder daughter, Maria, has kept out of the
spotlight even more than her sister. Reuters was unable to find any recent, confirmed
photographs of Maria.

Born on Apr. 28, 1985, Maria studied biology at St. Petersburg University and medicine at
Moscow State University.

According to Russian and Western media reports, she married a Dutch businessman called
Jorrit Joost Faassen. Some reports claimed she lived in the Netherlands for a while, but this
could not be confirmed.

Earlier this year, Putin said both his daughters were living in Moscow, but gave no further
details.

Maria now uses the surname Faassen, and under that name she is pursuing a biomedical
career specializing in the endocrine system, which controls the body’s hormones, according
to academic listings and publications.

On the website of Istina, a directory of scholars and their work at Moscow State University,
she is listed as co-author of five studies published in the past two years, with titles including
“The status of blood antioxidant system in patients with active acromegaly.”

She is also the co-author of a book about “Idiopathic stunting” in children, published earlier
this year by Lambert Academic Publishing.

Maria is a PhD candidate at the Endocrinology Research Centre in Moscow, which runs a
charity project, Alfa-Endo, that helps children affected by endocrine ailments. The project’s
website includes a presentation by Maria.

Maria told Reuters in an email that requests for information about the center should be
directed to its leadership. She did not respond to questions about when she was married or
whether her father’s position had affected her career.

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Alfa-Endo is funded by Alfa Bank, a large Russian bank with subsidiaries in the United
States, Britain and Cyprus. The largest shareholder is Mikhail Fridman, a billionaire with
interests in banking, energy and telecoms. An official at the bank said: “Alfa Bank, and
broadly speaking Alfa Group, act as financial sponsors for the project and that’s it ... We are
not aware who else is participating in the project otherwise.”

Maria’s husband used to work for Gazprombank, a large lender with strong links to the elite
around Putin. And until at least August this year, Jorrit Joost Faassen was listed on the
website of MEF Audit, a Russian consulting group, as its deputy chairman. He no longer
appears on the website and did not respond to requests for comment.

Editing By Richard Woods and Michael Williams




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Whitewashing Putin's
Kleptocracy
It takes no less of an author than Peter Pomerantsev to write an extremely insightful book
like Nothing Is True and Everything Is Possible that reveals the surreal heart of Putin’s
Russia. It is much harder to say what kind of author it would take to write a book on the
surrealism penetrating America and the West as a whole, but Pomerantsev’s title would be
a good fit if we could re-use it.


At a moment when Russia is under a richly deserved sanctions regime, when some call the
present state of aﬀairs a New Cold War, and when Putin’s ambitions are called the most
dangerous threat to America by several high-ranking Pentagon and U.S. military oﬃcials,
it doesn’t seem like the most propitious moment for an awards dinner for one of Putin’s
“cronies”—much less one held in Washington by a federally funded U.S. institution.


But, as the book says, everything is possible. And on November 3 the Woodrow Wilson
International Center for Scholars, a think tank that receives U.S. government funding, will
bestow the Woodrow Wilson Award for Corporate Citizenship to Petr Aven, the chairman of
the board of directors of Russia’s largest commercial bank, Alfa-Bank, and a member of
the board of directors of LetterOne Group.


It is true that Mr. Aven, unlike several other Russian businessmen, is not a subject of U.S.
sanctions. It is also true that, by some accident or oversight, he is not often publicly
presented as a “crony” of Putin. However, it is no less true that, prior to the Wilson
Center’s award, Mr. Aven, unlike sanctioned Russian oligarchs, was endowed with a
Russian state award by Putin personally.


A brief review of the business record of Mr. Aven’s companies should be suﬃcient to add a
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note of controversy to the decision to give an award for corporate citizenship to such a
businessmen. Aven’s record is marked by repeated and often acrimonious commercial or
even legal disputes with partners, especially in the West. Cases such as Norwegian Telenor v
Altima and British BP v AAR, in which BP’s U.S. CEO Robert Dudley was literally expelled
from Russia and BP threatened to snatch homes of Russian oligarchs in London in return,
are the first that come to mind.


But the plan evidently is to convince us that nothing is true, and the Wilson Center has
engaged powerful advocates who understand that this means everything is possible.


The first of these is former BP CEO Lord Browne, who has apparently buried his personal
knowledge of his Russian partners’ being “ruthless and dishonest”, as some documents
submitted to court later revealed: last February he agreed to join ranks with them again.
On November 3 Lord Browne will co-chair the awards dinner for Mr. Aven. In Putin’s
Russia, it seems, “it’s nothing personal, just business.”


Another co-chair of the event is no less prominent, and no less informed about the true
state of play in Putin’s Russia, as well as the way Mr. Aven and his friends have been
operating their business in Russia: former U.S. Ambassador to Russia James F. Collins, a
senior associate of the Russia and Eurasia Program at the Carnegie Endowment for
International Peace.


It is hard to believe that a former Ambassador to Moscow does not know (from
“WikiLeaks” at least, if from no other source) how business transpires in a country
described by Spanish prosecutor Jose Grinda Gonzales as a corrupt, autocratic
Kleptocracy, centered on the leadership of Putin, in which oﬃcials, oligarchs, and
organized crime are bound together in the creation and maintenance of a “virtual mafia
state.” One supposes Ambassador Collins is going do his best to convince us that nothing
is true—or at least that these things have nothing to do with Mr. Aven and his business
record.


The timing of this award seem rather propitious as well. But perhaps it is just a
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coincidence that Mr. Aven and LetterOne have recently initiated a charm oﬀensive in the
West in the wake of the British government’s decision last spring, citing concerns for
national security, to order LetterOne to sell its North Sea gas fields within six months.
Though Aven’s name was rarely mentioned publicly in regard to that British government
order or the aforementioned business disputes, he was involved in more ways than just as
a shareholder or corporate oﬃcer.


Mr. Aven’s long-standing business relations to Putin personally are no big secret in Russia.
The late Russian oligarch Boris Berezovsky, who once was dubbed by Paul Klebnikov as “a
Godfather of Kremlin,” admitted that it was Mr. Aven who introduced him to Putin. And
Mr. Aven’s role during the birth of Putin’s kleptocracy, perfectly described by Karen
Dawisha in her book Putin’s Kleptocracy: Who Owns Russia is certainly controversial, to say
the least. It was Mr. Aven, who made it possible for Putin to originate at least part of his
corruption schemes in St. Petersburg, which were later unsuccessfully investigated by the
Sal’ye Commission and others.


There is an abundance of other public information that ought to make one think twice
before oﬀering him anything like an Award for Corporative Citizenship. In normal
circumstances such allegations would warrant, at a minimum, some in-depth
investigation prior to the bestowal of any award.


But then again everything is possible. All it takes a lucrative deal involving the sale of TNK-
BP to Rosneft and a slick PR campaign to whitewash a soiled reputation. The same Wilson
Center that not so long ago hosted a public presentation for Karen Dawisha’s
aforementioned book—a book that, not incidentally, makes a number of accusations
against Mr. Aven—now turns a blind eye on those accusations, as if nothing is true.


If a Russian plutocrat can have his record whitewashed with the help of a federally funded
U.S. institution, please tell me what, if anything, is not possible. And if you don’t accept
this as evidence of the penetration of the Russian kleptocracy into the United States and
the West as a whole—what Ilya Zaslavski characterizes as the Export of Corrosion — then
please tell me what kind of evidence you would accept.
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Exclusive “No Tie” Interview with head of the Alfa
Banking Holding, Petr Aven on business, childhood and
friends
    jewishbusinessnews.com/2015/11/19/exclusive-no-tie-interview-with-alfa-banks-president-peter-aven-on-business-
childhood-and-friends/

By Kristina Subbotina


Petr Aven is an international businessman, economist, and number 20 politician at
the Russian Forbes, a member of the board of directors of the LetterOne Group, and owner
of the Alfa Holding Consortium along with Mikhail Fridman, German Khan, and Alexey
Kuzmichev.

FACTS

Petr Olegovich Aven (b. March 16, 1955) heads the Alfa Banking Holding, which includes the
Russia’s largest private bank.

He is a member of the board of directors of the LetterOne Group. The L1 Group was
established in 2013 to invest in international projects in energy, telecommunications, and
technology.

In 2015, Petr Aven and Alfred Kokh published Gaidar’s Revolution: The Inside Account of
the Economic Transformation of Russia, drawing on their experience of the Russian
government and the former first minister for the economy, Yegor Gaidar.

John Lloyd of the Financial Times called it “an illuminating study of the reformers who sought
to revive Russia’s post-Soviet economy.”

Born in Moscow, his father, professor of computer science, Oleg Aven, was half Latvian and
half Russian, and his mother was from a Jewish family. Petr Aven graduated from Moscow
State University and held a Ph.D. in economics.

Subsequently, Petr was a senior researcher at the All-Union Institute for Systems Studies at
the USSR Academy of Sciences and then spent time at the International Institute for Applied
Systems Analysis in Laxenburg, Austria.

Aven was the Minister of Foreign Economic Relations of the Russian Federation and
conducted some high-level trade and economic missions to Western capitals. In 1994, Aven
met Mikhail Fridman and became an Alfa Bank shareholder, serving as a member of the
Supervisory Board of the Alfa Group Consortium.
Aven, along with Stan Polovets and three fellow Russian Jewish billionaires, Mikhail
Fridman, Alexander Knaster, and German Khan, founded the Genesis Philanthropy Group,

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whose purpose is to develop and enhance Jewish identity among Russian-speaking Jews
worldwide.


PARENTS. CHILDHOOD

“For the most part the only thing that fascinated and fascinates me is reading.”

    • I grew up in an atmosphere of a balance between freedom and control. Mainly, my
    father and a Jewish grandmother raised me; they imparted to me the ability to enjoy
    the achievements as well as the very desire to set up and achieve my goals.

    • When I was a kid, reading books the day and night fascinated me; nothing else was
    exciting for me. Generally speaking, even now, nothing has changed (Petr Aven is
    rightfully one of the smartest business leaders in Russia—author’s comm). I started to
    read very early and was capable of reading very fast and spoiled my eyes as a result.

    • I distinctly remember some striking moments from my childhood. For example, when
    Yuri Gagarin flew into space, I was six years old, and I remember the football games
    we went to with my father. By the way, my dad (Oleg Ivanovich Aven—professor, a
    corresponding member of the USSR Academy of Sciences, an eminent computer
    technology specialist—author’s comm.) and his friends, the Soviet scientists, bosses of
    the major state enterprises, were the role models for me.


PROFESSIONAL CAREER

“I had no doubt the necessity to apply the market economy model in Russia. An entire self
and team confidence, European education and support of internationally known economists
helped not to drive crazy.”

    • I have chosen my profession independently. My father and the school wanted me to
    do math. I wanted something different, humanitarian – economics was a compromise
    — and after graduating from the best Moscow physicomathematical school, I was
    enrolled in the Economics Faculty of Moscow State University and later received a
    Ph.D.

    • The Russian government. This period of my life started with meeting Yegor Gaidar
    (Prime Minister of Russia from 15 June 1992 to 14 December 1992 was appointed by
    the First Russian President Boris Yeltsin and Petr Aven was at the Gaidar’s team as
    the Minister of Foreign Economic Relations for the Russian Federation—author’s
    comm.).

I worked at the Institute for System Studies of the USSR Academy in the same room with

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Yegor Gaidar. We were both from successful Soviet families, and we understood each other
very well. However, Yegor in some ways had a wider horizon and better understood the life
since he had used to live in Cuba and Yugoslavia.

In 1991–1992, we implemented the reform model that we had developed at the International
Institute for Applied Systems Analysis in Austria.

I became the minister of foreign economic relations of the Russian Federation at the Yeltsin-
Gaidar government (a blueprint for the economic transition of the Soviet Union as part of
IIASA’s Economic Transitions and Integration project—author’s comm).

The market prices, free trade, privatization, and convertible currency were the conceptual
bases of the Russian economic reform in the 90s. We felt like aliens to the Russian
government since we were the scientists and had never worked for the government before.

However, we finally managed to implement the conceived economic reforms because we
knew exactly what to do and we believed in ourselves. We did not care that the Soviet
bureaucrats were looking at us as the absolute idiots.

We were confident because of our European education, the team approach, and the support
of such internationally renowned economists as Rudi Dornbusch, who co-wrote the famous
textbook on macroeconomics with Stanley Fischer. So, the misunderstanding and shock of
the Soviet officials did not undermine our self-confidence.

Also, there were young, American economists, our peers and at that time not so world
famous, but very smart. For example, my advisor was David Lipton, who today is the first
deputy head of the International Monetary Fund (IMF), and Jeffrey Sachs, a professor at
Columbia University and director of the Earth Institute.

We used to discuss what we were doing every night along with Gaidar at the dacha. Their
pieces of advice and support gave much confidence. Yegor Gaidar had been burning himself
at work. It is also sad to admit that many members of the Gaidar’s team first row are no
longer alive.

For instance, Alex Golovkov, chief of staff of the Russian Government, and Boris Fedorov,
minister of finance. Tatyana Yumasheva, daughter of the first president of Russian
Federation: “Dad always trusts the young. So, (he) chose the Gaidar’s team to perform the
economic reforms, because they were desperate, ready to take decisive action young
people who can pull the country out of the crisis. They burnt themselves but built a market
economy in Russia, the fruits of which we have right now.”

Yeltsin was a great leader and just felt that he had better radically change absolutely
everything, so Gaidar was a symbol of the scale and one-time changes. Boris Nikolayevich,


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in my opinion, liked Gaidar’s determination, honesty, responsibility, willingness to do a lot at
once, and the absence of any political ambitions. Gaidar dealt very well with the “storm”
circumstances, but had a hard time resisting the public psychological attack; we were not
ready for the political struggle.

We were well-educated and smart boys from good Moscow families, which was not enough
to win the multi-pass bureaucratic games. However, at some point, we had such necessary
resources to win these games with the support of the Russian President, Boris Yeltsin, and
members of his closest team, Gennady Burbulis and Andrei Kozyrev.

In a retrospective assessment, it would have been better if we had built the political
coalitions and attracted people from the force authorities’ structures. We were not ready for
this. It was a mistake. Another error was poor communication with people and the absence
of an organized propaganda.

ALFA CONSORTIUM. INTERNATIONAL BUSINESS. L1.

“Business – is a drug.”

“We are competing with ourselves.”

“I think we have the best lawyers in the country. In business we forgive nothing and nobody.”




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    • The main advantage of the partners’ relationship is a formality: despite the fact that
    someone has kept a friendship, someone has not. It is like a family with inherent
    responsibility and reliability, honesty, and complete openness.

    We are trying to take care of, protect, and rescue each other. Indeed, we are different
    people, but the basic principles and spiritual values, including the Jewish heritage, are
    the same. Thanks to the so-called Jewish identity, we have never had the fundamental
    ideological differences.

    • Business is a military operation. Business is my rock, and if I do not have that, then
    the entire drive and a feeling of youth and energy would be wasted, and I want to be
    young, energetic, active, and successful. Money is only a measure of success.

    • At work, I spend more time with Mikhail Fridman, but outside of work in the past ten
    years, I have spent more time with German Khan than with anyone else. I have never
    hung out with Alexei Kuzmichev. However, we are at that level of mutual
    understanding so that we do not need to communicate consistently; we have known
    each other for more than 20 years, and sometimes, we even get bored because we
    can easily predict the reactions and thoughts of each other.

    • We are using every opportunity within the legal field to protect our interests and
    make money. We have the best lawyers in the country. In business we forgive nothing
    and nobody.

    • Entrepreneurial skills: I believe that the entrepreneurial propensity is innate. Maybe I
    do not have this propensity (said the most successful business person in Russia –
    author’s comm). I feel like a scientist rather than a business person or a governmental
    official. I was not going to do business, most likely I would be a professor.

    • I went into the business in 1993. After working for the Government of the Russian
    Federation going back to science was boring, and also I had to make money. That is
    why I made a small company, came up with various debt instruments to trade, and
    started collecting money under this idea. Then I met guys from Alpha (together they
    created the Alfa Consortium from a small company – author’s comm.), which had
    similar ideas in mind and planned to sell rupees, to buy the commercial debts of the
    former USSR, etc.

After several successful transactions, I met with Mikhail Fridman in May 1993. Although we
are very different people, our union was built on a pragmatic basis: I needed the money, and
he needed the ideas and useful contacts at the government.

We had started to spend a lot of time together to get to know each other better since the
business could not exist at that time without personal relations of trust. We almost

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immediately went on vacation together and introduced our wives to each other.

By the way, our wives were both pregnant at that period, which is amazing. Now, our
daughters (Daria Aven and Lora Fridman—author’s comm.) are best friends, study at Yale
University, and even used to live together.

Daria learns history and plans to work in the beauty business; my son Denis will receive a
degree in mathematics and economics at Yale University and plans to work in the investment
bank in New York a year later. Not to mention, it is nice that our children rely only on
themselves since the parents’ money does not play any significant role in a child’s career in
the United States.

    • I have been doing mainly two things—banks and lobbying at the national and
    international levels. I am currently passionate about building the massive and long-
    term systems, which will work without the partners and my personal involvement.
    Therefore, we are striving to bring our business to a truly international level. Doing this
    is a major challenge. Russia is still a central economic area in which we operate.

    However, the proportion of our business in Russia is reducing toward increasing of
    foreign business. What exactly we are trying to do right now is to acquire the
    international assets and then build and manage the foreign companies in the oil and
    gas, telecommunications, and banking areas.

    For example, we just bought a bank in Austria and still are waiting for a state approval.
    We have banks in
    Ukraine, Belarus, Kazakhstan, and Amsterdam, and we plan to develop a European
    banking online service with a particular focus on the 7 million Russian-speaking people
    who live abroad.

    • We hire the most professional people from all over the world, and our team is
    multinational. On the banking project in Austria, we have the Czechs, Poles, Russians,
    Hungarians and Indians. LetterOne Energy’s Boss John Brown, the ex-boss of BP
    (one of the world’s seven “supermajor” oil and gas companies – author’s comm.). He is
    an outstanding, smart, brilliant presenter and is deeply knowledgeable on many
    issues. Unfortunately, Russian business, even so big as we are, face cultural
    challenges while expanding abroad.

There is always a kind of inferior subconscious attitude. Russian businesspeople frequently
are considered as representatives of distant provinces who somehow have earned a lot of
money from nowhere.

Even within the Jewish world, this fragmentation is present. Also, we feel the political
pressure against Russia on our international business. Recently, we sold the British assets

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of DEA and bought instead the Norwegian assets because of the UK government’s ban of
the deal.

LIFE PHILOSOPHY, CHARACTER

“Faced with God, I would say only one thing – thank you. For everything.” “But as long as my
mouth has not been stuffed with clay, only gratitude will sound from it.”

    • The most important parts of my life are my children and self-realization.

    • Happiness is the maximum realization of the potential you have been given in this
    life. I am blessed being able to manage different things such as businesses, books,
    and lectures.

    • I have many things that I do not like about myself; primarily, a psychological
    instability called the Jewish anxiety is the most irritable. Reliability is a feature in
    people I value the most.

    • The worst sin is cowardice. The main fear is the well-being of my children. The
    source of pleasure is a balance of love, work, and travel.

    • I have to live on — a simple Jewish rule which gives strength. I cope with the
    emotions without hurrying and consistently. We have a simple rule: I would tell my
    younger self to fight and not give up.

BORIS NEMTSOV. MEMORIES.

Boris was my good and reliable friend, and he was a wonderful, sincere, smart, and honest
guy with a quick reaction. He did not care about money while he was a top governmental
official, which is not very typical nowadays. He was a very warm person with a great charm.
We met in 1991 when I was a minister, and Boris became a governor of Nizhny Novgorod
oblast. We were on the business trip in Germany together. Boris Nemtsov went by his views
and got where he is right now.
FRIENDS. HOBBIES




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    • My closest friends are from childhood, from the university, and those with whom I
    have been working for more than 20 years. Two of my closest friends are Shalva
    Breus and Andrei Sokolov; with them, I can talk heart to heart.

    • I like to travel, and we used to travel a lot with my wife Elena and my kids; we went
    to such very different places in the world as Chile, China, Japan, Argentina, and Africa.
    Most of all, I like the energy of New York, London, and Moscow. They are my kinds of
    cities.

    • Also, I like to write books and articles. Year ago we issued a joint book with Alfred
    Kokh in memory of Yegor Gaidar, and now, I am writing a book about the 90s in
    Russia.

    • I love the theater. The most recent play I watched was Kirill Serebrennikov’s
    production of Nikolai Nekrasov’s ‘Who In Russia Lives Well’? One of my favorite
    movies is Cabaret, a 1972 musical film directed by Bob Fosse. I am currently reading
    the Two She-Bears by Meir Shalev.
    Author’s impression of Petr Aven

Rarely do I allow myself to express an opinion of the interviewee, but Petr Aven is an
exception. Petr is the most interesting person with whom I have ever spoken. The unique
combination of intellect, wisdom, and professionalism are combined with sincerity, inner
warmth, emotions, and some vulnerability, which is read only in his eyes. Eyes are known to
be the mirror of the soul. Indeed, his soul is very deep and complex. Notwithstanding the
sadness he faces, it seems that he accepts everything the life is giving to him, finds the inner
strength, and keeps going no matter what.

Now, I know with whom I personify the line of Joseph Brodsky: “Only with the grief I feel
solidarity. But as long as my mouth has not been stuffed with clay, only gratitude will sound
from it.”




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      Lunch with the FT Oil
      Lunch with the FT: Mikhail Fridman
      The combative oligarch talks about battles with BP and the ‘moral duty’ of rich Russians




      Guy Chazan APRIL 1, 2016




                                         © James Ferguson
      As I sit with Mikhail Fridman in Frescobaldi, an Italian restaurant in Mayfair, my eyes
      drift to a quote from Dante’s Divine Comedy painted on the white ceramic tiles
      behind us: “The devil is not as black as he is painted.”

      For years, Fridman was demonised in the western press as a symbol of everything that
      was wrong with Russian business. He was portrayed as a ruthless tycoon who


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      exploited Russia’s corrupt politics and courts, a billionaire bully who stopped at
      nothing to defeat competitors and partners alike.

      As a reporter in Moscow in the 1990s, I’d witnessed his rise to mogul-dom, as he
      began to amass a fortune currently estimated by Forbes at $14.6bn. On returning to
      London, I covered the ins and outs of his war with BP over their jointly-held Russian
      oil producer TNK-BP — one of the most spectacular corporate battles of the past
      decade. The company had been subjected to an onslaught of tax, labour and police
      inspections — all engineered, BP claimed, by Fridman and his partners as part of a
      furtive power-grab. TNK-BP’s American boss Bob Dudley fled Russia in July 2008,
      after a campaign of what he called “sustained harassment”.

      I was prepared for a touch of menace: this is a man whose appetite for litigation is
      legendary and who in a 2010 lecture entitled “How I Became an Oligarch” said that, of
      all types of human activity, “entrepreneurship is in some sense the closest to war”. But
      today he is soft-spoken and jovial. Having moved his base from Moscow to London to
      reinvent himself as a global investor, Fridman is, he says, on a mission to improve the
      image of his country’s business elite. “It’s our moral duty to become a global player, to
      prove a Russian can transform into an international businessman.”

      To that end, he has hired a clutch of oil industry bigwigs as advisers — one of them is
      John Browne, the erstwhile boss of BP and a former adversary. In the 1990s, Browne
      had watched in impotent fury as a series of legal proceedings in remote Siberian
      courthouses left Fridman in control of some of BP’s oilfields; for years, he wouldn’t
      take the Russian’s phone calls. Now, all is forgiven. A western oilman who knows
      Fridman once likened doing business with him to a rugby game: “You kick the shit out
      of each other on the pitch but then you go and have a beer afterwards.”

      Frescobaldi, the venue for our lunch, is a short walk from the offices of LetterOne,
      Fridman’s new investment vehicle. Owned by the eponymous Italian wine dynasty, it
      is stylish but discreet, with oak panelling, a marble floor and vines draped across the
      ceiling. Regulars include Tidjane Thiam, boss of Credit Suisse, and Pierre Lagrange of
      GLG Partners, as well as art-world types from Mayfair — there’s a Hauser & Wirth
      gallery across the road.


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      Fridman says he chose it on a whim: the name evokes his beloved Tuscany, where he
      holidays every summer. Tieless in an elegant dark suit and blue shirt, the 51-year-old
      fits in among the bankers and hedge fund managers sauntering in for lunch, drawn by
      a wine list that includes a rare Ornellaia white for £290 a bottle. But he seems
      different, too: maybe it’s his stocky frame and round, babyish face, or perhaps the
      vivid tales of 1990s Moscow — a cut-throat world that seems light years away from
      this polished corner of Mayfair.

      Does he now regret the corporate wars with BP and other partners that earned him
      such opprobrium in the west? “When you’re working with big companies they have
      their own agendas,” he says. “At a certain stage, your interests are aligned, and
      sometimes they collide.” The legal disputes did “damage our reputation”, he adds,
      “but at the end of the day we benefited a lot as shareholders of the company.”

      In 2013 Fridman and his partners sold their 50 per cent stake in TNK-BP to Rosneft,
      Russia’s state-owned energy group, for $28bn. It turned out to be a remarkably well-
      timed deal: crude prices have crashed and, with them, oil company valuations. But
      Fridman claims he doesn’t really understand oil markets. “To be successful in
      business, you don’t have to be smart, but you do have to be lucky,” he says. He
      celebrated with a three-day pilgrimage through the Israeli desert accompanied by a
      group of fellow Russian Jewish billionaires and a caravan of camels.

      A waiter sweeps over with menus and we go for the set lunch. Fridman chooses
      octopus salad, and I take the mixed salad with avocado: we both opt for the pan-fried
      sea bream with spinach and lemon, eschewing Frescobaldi’s Tuscan wines for mineral
      water. I ask whether he thought of slowing down after selling out of TNK-BP — maybe
      buying a yacht and a football club, like Chelsea owner Roman Abramovich. He laughs.
      Keeping control of his weight is a “constant problem”, he says, patting his belly, “so
      the idea of spending my time on a yacht is not good”. Lying on a beach, meanwhile, is
      a “form of torture”. “It’s a kind of talent to spend money beautifully,” he adds. “I don’t
      have it.”




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      Fridman was born into a Jewish family in Lviv, Ukraine, in 1964. It was a city that
      always felt different to the rest of the Soviet Union, he explains: for centuries it was
      ruled by the Habsburgs, and from 1918 to 1939 by Poland. “The body language of the
      people was anti-Soviet,” he says.

      Coming to Moscow in the 1980s, Fridman felt like an outsider. Unofficial anti-Semitic
      quotas meant he was barred from the best Soviet universities, so he went to the drab
      Moscow Institute of Steel and Alloys instead. It was there that his entrepreneurial
      streak first revealed itself. He led a group of students who would queue for tickets to
      some of Moscow’s most popular plays and then use them as hard currency, bartering
      them for goods in short supply and favours from officials.

      In 1988, as Mikhail Gorbachev began to open up the Soviet economy, Fridman set up
      a window-washing business, which quickly became a success. But that made his
      parents anxious. When his mother discovered he was earning Rbs1,000 a month —
      nearly seven times his official salary as an engineer — she turned “as white as this”, he
      says, holding up his side plate. “She said, ‘You must stop this immediately, or you’ll
      end up in prison,’ ” he recalls. “In her mind it was impossible to make Rbs1,000
      legally.”


            Ristorante Frescobaldi                                Eating salad, he explains how in 1989,
                                                                  together with fellow students German Khan
            15 New Burlington Place,                              and Alexei Kuzmichev, he formed Alfa
            London, W1S 2HX                                       Group, which mushroomed into one of
            Still water £5                                        Russia’s biggest conglomerates, spanning
            Set menu x 2 £58                                      interests in telecoms, banking, retail and oil.
            Avocado salad                                         The friends started off selling computers,

            Octopus salad                                         perfumes, cigarettes and carpets. They soon
                                                                  branched into oil trading, amassing a vast
            Sea bream x 2
                                                                  fortune by buying up cheap Russian crude
            Sorbet x 2
                                                                  and selling it abroad at a mark-up. In 1991
            Double espresso £5                                    they set up a bank, Alfa, now Russia’s largest
            Single espresso £4                                    private lender.
            Total (inc service) £81


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      In 1997, Fridman teamed up with tycoons Len Blavatnik and Viktor Vekselberg to buy
      TNK, a struggling Siberian oil producer, for $800m. The company was bankrupt, hit
      by a falling oil price. “We thought it was a mistake,” he says. “We overpaid.” But the
      new owners restructured its debt and then watched as the price of crude began to rise.
      TNK turned into a cash machine.

      As piped jazz drifts round the restaurant, I ask Fridman whether he ever looks back at
      the Russia of the 1990s — when many lost their fortunes and some their lives — and
      wonders how he survived. Pausing over his fish, he puts it down to a refusal to do
      deals with criminals. Others turned to mafia gangs to provide “krysha” — “roof” — or
      protection. Alfa instead enlisted the local police. “They had no money, so we would
      buy [them] furniture,” he says.

      He also avoided politics. “We never wanted to challenge authority,” he says. “We
      always followed this philosophy — always to be loyal and friendly [to the government]
      but never to be too close.”

      The spectre of Mikhail Khodorkovsky, a fellow oilman and oligarch, inevitably lurks in
      the background. After dabbling in opposition politics, Khodorkovsky fell foul of Putin,
      lost his oil company and ended up in jail. Fridman, in contrast, says he was never
      tempted by power: indeed, as a Jew, he consciously avoided it. “My mother always
      said, ‘With your name you shouldn’t be in government,’ ” he says.

      That said, one of the keys to his success was his partnership with Pyotr Aven, a former
      minister who retained close ties to the Kremlin and from 1994 was president of Alfa-
      Bank. “We needed a channel for communication with the government,” he says. “We
      didn’t know anyone, and he was this very smart guy, young, energetic and liberal.”
      Aven was also one of Putin’s old acquaintances, a link that was to prove critical to Alfa
      Group later on.

      In 2003, when TNK merged with BP’s Russian operations to form TNK-BP, Fridman
      and Browne signed the deal at a ceremony in London presided over by Putin and Tony
      Blair. At first, relations between the two partners were cordial, but it wasn’t long
      before the clash of cultures became apparent. BP executives found Khan particularly
      hard to deal with. In a US cable published by WikiLeaks, a TNK-BP executive said he

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      had been invited by Khan on a hunting trip and the Russian had shown up with a
      girlfriend, as well as six other glamorous women. At dinner, which he attended armed
      with a chrome-plated pistol, Khan had described The Godfather as a “manual for life”.

      The tensions steadily grew and came to a head in 2008, after it emerged that BP had
      been holding secret talks with the state gas company Gazprom to buy out Fridman
      and his partners. TNK-BP soon found itself facing a wave of intrusive inspections,
      while its foreign staff were stripped of their Russian visas and work permits. BP
      accused Fridman and his associates of orchestrating the administrative nightmare.
      Fridman denied having anything to do with the official harassment, which eased off
      after Bob Dudley left Moscow, and control of the company effectively passed to the
      Russians.

      Later Alfa was embroiled in an equally bitter struggle with the Norwegian company
      Telenor over a Russian mobile company they jointly owned. A drumbeat of lawsuits in
      Russia, Europe and the US climaxed in 2009 when a Siberian court ordered Telenor
      to pay $1.7bn or face the loss of its Russian investment. Soon after, the two companies
      settled their differences and the court case was quietly withdrawn.

      We both order a dessert of pear and mango sorbet. I ask Fridman whether it was true
      that Alfa exploited Russia’s ramshackle legal system to win favourable judgments
      against its partners. “I don’t agree,” he replies. His partners, he says, were just as
      powerful: “BP as a major player has at least an equal ability to influence Russian
      officials, through diplomatic channels, and government-to-government.”

      Perhaps his boldest legal gambit came in 2011, when BP struck a megadeal with
      Rosneft for rights to drill for oil in the Arctic. TNK-BP’s Russian investors cried foul,
      saying it violated the exclusivity provisions of their shareholder agreement with BP,
      and won an injunction in the London High Court to block the partnership.

      How did Fridman feel taking on Rosneft boss Igor Sechin, one of Putin’s closest allies,
      who had staked so much political capital on the tie-up with BP? “Of course we were
      worried about it,” he says. “But why shouldn’t we protect our rights? If you can’t do
      that, you’ll never succeed.”


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      Thwarted, BP ultimately decided to sell out of TNK-BP. Fridman followed suit and
      Rosneft ended up buying the whole company for $55bn. About $14bn of that went to
      Alfa Group and Fridman has been putting the proceeds to use. Last year LetterOne
      bought Dea, a small German oil and gas company, and his latest bet is a $200m
      investment in US ride-hailing company Uber.

      Putin said he hoped Alfa and its partners would invest the proceeds from the Rosneft
      deal in Russia. Fridman says he is still committed to his home market, but “the
      Russian economy is not in the best shape. And generally it would be inappropriate to
      put all our eggs in one basket.”

                                                                  That’s an understatement. Russia is in
                                                                  recession, labouring under a stubbornly low
      When his mother
                                                                  oil price and western sanctions over Ukraine.
      discovered he was earning
                                                                  As our coffees arrive — a double espresso for
      Rbs1,000 a month, she
                                                                  him, a single for me — I ask him about the
      turned ‘as white as this’ he
                                                                  mood in Moscow, where he spends 40 per
      says, holding up his side
                                                                  cent of his time.
      plate
                                                                  “It’s a pretty tough situation for everybody,”
                                                                  he says. He avoids outright criticism of Putin
      but insists that Russia “must restructure its economy, to make it more open for
      investment, for competition. There should be privatisation, less domination of state
      businesses,” he says. He omits to mention that it was the sale of TNK-BP that
      cemented the dominance of one of those state businesses — Rosneft — over Russian
      oil.

      The conversation turns to Ukraine — a subject I know will be sensitive for him.
      Fridman feels a strong connection with the land of his birth. The annexation of
      Crimea, the war in Donbass — all of this is, he says, a “huge tragedy . . . for both
      nations, Russia and Ukraine”. But, for the first time in our two-hour conversation, he
      clams up. “As head of a big company, I don’t have the right to comment on the
      situation,” he says.




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      We move on. I ask about his children. His eldest daughter recently graduated in
      economics at Yale, while his second is in her first year there. He has a teenage son at
      boarding school in Kent and his youngest daughter lives with his former partner in
      Moscow. Fridman says he has no intention of giving any of his children a job in Alfa
      Group or LetterOne. “I don’t want to create a dynasty,” he says.

      I ask for the bill and pose one last question. Fridman’s westward expansion hit a
      hurdle last year when the British government insisted he sell a dozen gasfields in the
      North Sea as part of the Dea deal. Ministers worried that he might be hit by future
      sanctions against Russia, and the fields would have to be shut down.

      Fridman called the demand irrational and threatened legal action, yet he sold the
      fields anyway. I asked him why he didn’t take the government to court — after all,
      that’s what he does, all the time. “The situation is not completely finished yet,” he
      says. “We fulfilled the demand of the British government but we are still considering
      what could be our approach.” I ask if legal action is still an option. “No comment,” he
      says, with a smile.

      Guy Chazan is the FT’s Berlin correspondent

      Illustration by James Ferguson


      Letter in response to this column:
      City of Lions, bulwark of Christianity for centuries / From Dr Eva C Hoffman Jedruch




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PROFILE: Mikhail Fridman – the teflon oligarch new to
Londongrad
 intellinews.com/profile-mikhail-fridman-the-teflon-oligarch-new-to-londongrad-94873/




A workaholic, Fridman surprised many with his recent involvement in the Alfa Future
People music festival.

By Jason Corcoran in Moscow April 11, 2016

His oligarch peers from the 1990s have been incarcerated, exiled or had their assets
seized, but Mikhail Fridman lives a charmed life, retaining much of his wealth without falling
foul of the Kremlin. Now the Alfa Group founder has moved to London and is seemingly
defying an edict to repatriate Russian wealth by splurging billions on foreign assets.

In a rare interview with the foreign press, Fridman told the Financial Times over lunch on
April 1 that he is on a mission to improve the image of his country’s business elite. “It’s our
moral duty to become a global player, to prove a Russian can transform into an
international businessman,” he said.

But a straw poll of Moscow analysts uniformly guffawed upon hearing of Fridman’s
elevation to a figurehead for good Russian corporate governance on the global stage.
“Fridman is no Mary Poppins,” a leading Moscow-based strategist tells bne IntelliNews.
“He’s clearly moved to London to run his fast-growing overseas portfolio.”

Fridman, whose $15bn fortune makes him Russia’s second-richest man, has been living in
London for at least a year now and says he plans to spend 50% of his time there. With the

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exception of Chelsea Football Club owner Roman Abramovich, all of the UK’s prominent
Russian exiles are firmly in the Kremlin’s bad books.

Mikhail Khodorkovsky, the former Yukos owner, resides in London after spending 10 years
in jail on what many considered to be trumped-up charges of tax evasion and theft. Boris
Berezovsky, a former mentor-turned-critic of President Vladimir Putin, was found dead three
years ago in suspicious circumstances in his Berkshire home. Banker Andrei Borodin calls
the UK home now after being granted asylum upon fleeing Russia. Sergei Pugachev, once
known as Putin’s personal banker, made London his home up until a year ago when he fled
for France. Yevgeny Chichvarkin, the Russian entrepreneur and Putin critic, also lives in
London, while Vladimir Ashurkov, a former Alfa Bank executive who works for opposition
leader Alexei Navalny, was granted UK asylum in 2015 after fleeing Russia.

Not so for Fridman, though that of course could change. According to the Russian edition of
Forbes magazine, after selling his Russian oil business Fridman decided to relocate his
holding company to London, and together with Alexey Kuzmichev, one of his key
lieutenants, they became British tax residents last year even after Putin had requested that
investors pay Russian taxes on profits they receive on holding companies registered
abroad

Perhaps moving to London’s Mayfair district can be civilising, but the reputation of
Fridman and his Alfa Group over the past two decades is one tarnished by nasty and
protracted corporate spats.

His battle with BP for control of their joint venture TNK-BP, for example, was ugly and
played out in the full glare of the media. The oil producer, which was hugely profitable, was
the subject of unprecedented corporate pressure in the form of police and FSB raids and
tax and immigration inspections – all contrived, BP asserted, by Fridman and his partners
as part of a plan to take control.

Tensions came to a boiling point in 2008 after it was reported that BP had been holding
secret talks with state gas monopoly Gazprom about buying out Fridman and his
partners. Staff at TNK-BP’s offices on Old Arbat soon got used to raids and inspections and
the foreign personnel were stripped of their visas and work permits.

TNK-BP’s British boss at the time, Bob Dudley, was constantly hounded. According to a
report by The Times newspaper, Dudley regularly swept his office for bugs and took phone
calls on his balcony to avoid being recorded. Dudley eventually fled Russia in July 2008
after what he described as a campaign of “sustained harassment.”

Alfa’s telecommunications unit was involved in a lengthy legal battle with Norway's Telenor
over control of mobile phone giant VimpelCom, which began in 2005 and dragged on for
seven years. Cases linked to the corporate tussle — which ended in a compromise

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agreement — were heard in US and Russian courts. Telenor announced on April 1 that it
plans to sell its 33% stake.

VimpelCom, in which Alfa has a 56% stake, has also been embroiled in a corruption
investigation in Uzbekistan. In February, the company agreed to pay a $795mn to settle US
and Dutch claims that it had bribed officials to win contracts in the former Soviet republic.

Aven a laugh

The key to Fridman keeping on side of the Kremlin has been his suave partner Petr Aven,
who joined Alfa in 1991 after serving as Russia's foreign minister.

Aven regularly meets with Putin at the President’s Novo-Ogarevo residence and was even
conferred with a state award for corporate citizenship personally by Putin in May last year.
Berezovsky, who was once known as the Godfather of Kremlin, admitted that it was Aven
who introduced him to Putin.

A former Alfa executive tells bne IntelliNews that Fridman and his partners were allowed to
keep the $14bn proceeds of their sale of TNK-BP offshore. “Abramovich was allowed to
keep his proceeds from the sale of SibAl and Sibneft, and Fridman/Alfa were allowed to
too,” said the former Alfa executive. “This is probably driven by their personal relations with
Putin.”

Fridman is incredibly loyal to his partners and senior cadre who have worked with him for a
long time. Even those who have left Alfa companies still speak well of him. “Fridman is an
unbelievably smart guy and also quite down-to-earth compared to other oligarchs,” a former
senior executive at an Alfa Group company who now works for a rival conglomerate,
tells bne IntelliNews. “I was stumbling out of a store with a bottle of vodka on my way to a
party. Fridman recognised me and told his driver to stop the car so he could get out and
have a chat and ask me about my family.”

All of Alfa’s businesses are kept in silos, deal with one another at arm’s length and
sometimes even compete with one another. Employees at Alfa Capital had MTS as their
mobile provider even though Fridman holds the largest stake in its rival VimpelCom, an
employee tells bne IntelliNews.

Despite their education and refinement, Fridman’s senior cadre come across as sharks in
sharp Italian suits. In April 2013, the Irish government hired Alfa’s “special situations and
recovery vehicle” unit A1 to help find and seize assets in the former Soviet Union that
belonged to Sean Quinn, a bankrupt billionaire who was once Ireland’s richest man.

The then-Irish ambassador, Philip McDonagh, and the government representatives looked
like lambs being brought to the slaughter at the press briefing in the Interfax building on


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Moscow’s Tverskaya. Fridman’s A1 chiefs Mikhail Khabarov and Dmitry Vozianov laughed
heartily when this journalist asked the ambassador if the Irish government had selected “the
nice gentlemen from Alfa” through a competitive beauty parade.

The pointed irony is that there are few private banks or institutions in Russia and the CIS
that can do the complex and murky corporate work that A1 does. Alfa managed to wiggle
out of the agreement with the Irish goverment after the recession proved that nobody
wanted to buy commercial real estate.

Shiny, happy Alfa people

A confessed workaholic, Fridman surprised many with his recent involvement in organising
and taking part in an electronic music festival. The event, Alfa Future People, has become
an annual fixture for around 40,000 ravers on the river Volga. Fridman, 52, has even been
sighted dancing and mingling with the mostly twenty-something crowds. “He was wandering
around the festival without much security and nobody bothered him nor recognised him,”
photographer Todd Prince told bne IntelliNews after photographing the oligarch at last
summer’s event.

Fridman is a regular on the London party and arts scene, but he still travels back to
Russia where he retains significant holdings in the retailer X5, VimpelCom as well as Alfa
Bank, Russia’s largest privately-held lender.

LetterOne, his Mayfair-based investment holding, has been busy ploughing the TNK-BP
proceeds into overseas energy, telecom and technology assets like ride-sharing app Uber.
The fund spent $1.6bn on E.ON’s oil and gas assets in the North Sea only after the UK
government forced it to sell its North Sea fields in the country because of the risk of facing
Russian sanctions.

Nobody connected to Alfa or LetterOne has been sanctioned by the US or the EU, and
sitting down for lunch with the FT may help keep Fridman off any new list.

Asked about the difference between life in Moscow and London in a November interview,
Fridman made a tacit admission that he owes his success in Russia to connections to
power, which doesn’t apply in the UK. “They are different worlds,” Fridman told Snob
magazine. “Here [Moscow], the most important factor of your success is the ability to build
relationships with the government. Well, at least these relations should be favourable or the
government should not interfere. The power structure in Russia is huge – you're confronted
with it everywhere.”




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PROFILE: Mikhail Fridman, chairman of Alfa Group
 intellinews.com/profile-mikhail-fridman-chairman-of-alfa-group-121087/




By Ben Aris in Berlin May 10, 2017

When the Russian oligarchs first appeared in the second half of the 1990s, Mikhail Fridman
was late to the game. Fridman, who was born in 1964 to a Jewish family in Lviv, Ukraine,
was not part of the Soviet elite, nor had he gone to one of the privileged universities that
handed other oligarchs the government contacts they needed to enrich themselves.

Fridman – the businessman ranked the most important in Russia by bne IntelliNews – was
therefore not in a position to tap into the rigged loans-for-shares deals in 1996/97 that
allowed the Yeltsin-era oligarchs to grab control of their cash cows, Russia’s biggest oil and
raw materials companies.

Instead, having famously started off in business by cleaning windows, in the first decade
after the collapse of the Soviet Union he doggedly built up Alfa Group, with Alfa Bank at its
centre.

This was a “financial industrial group”, or FIG, as they were known at the time. The fastest
way to make money then was to grab control of the cash flows of a large business or
government account, convert to dollars and delay paying obligations as long as possible.
With inflation running into the hundreds of percent, when one was finally forced to convert
the dollars back to rubles the value of the debt was so deflated you could make hundreds of
millions of dollars in profit in the process.


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Fridman’s strength in business has always been to find competent partners and let them
get on with the job of running the businesses. Most of the financial-industrial groups of the
time were vertically integrated one-man shows, but Fridman set up a series of divisions,
each one run by its own semi-autonomous manager to run his various trading businesses,
including the Alfa Ekho commodities trading firm that provided the capital to start Alfa Bank.
Today these businesses have been superseded by assets such as Russia’s largest
supermarket chain X5 Retail Group, and Altimo, which unites his holdings in Russia’s two
biggest mobile phone companies.

Atypically for an oligarch, these are low-margin, high-volume businesses that need real
business skills to run. The same was true for Alfa Bank when it was set up: for the other
oligarchs, banks were simply vehicles to speculate against hyper-inflation; Alfa Bank was a
real bank from the off. In the 90s everyone poached staff from only two places: Mars in fast-
moving consumer goods (FMCG), and Alfa in finance, as their staff were the best trained.

When Fridman finally got into the oil business he had to pay just under $1bn for 40% in an
open privatisation auction for the Tyumen Oil Company (TNK) in 1997, hailed as the first
real privatisation in post-Soviet history with the first realistic price. Fridman then merged it
with Britain’s BP in a deal brokered with then head of BP Lord Browne.

Fridman plays the long game and is unemotional about his investments. Everything is for
sale at the right price, but the only people that have the sort of money Fridman is interested
in are the world’s leading corporations. While he is waiting for Russia’s integration with the
global economy to the point where these global players will come and make strategic
investments into Russian companies, he is busy building up his business as big as he can.

Alfa rising

Legal battles and corporate harassment have followed in the wake of many Alfa deals.
Strategic forecasting company Stratfor has described him as ruthless: “Fridman has
repeatedly outmaneuvered far more politically and economically powerful rivals to end up
on top, crushing his foes in the process. His skilled allies, impeccable business acumen,
lack of a temper, and utter absence of emotional attachment to his business holdings has
made him rich, and will keep him so for a long time to come.”

I first met him in the mid-90s when he was already on his way to become one of Russia’s
top businessmen. Now 53, he comes across as a deceptively rotund and jolly man when
you interview him. He lacks the arrogance of most of the other oligarchs and used to hold a
lunch party every year at his dacha in the elite Rublyovka residential suburb west of
Moscow for the members of the international press corps. There we would drink Dom
Perignon champagne and smoke Cohiba cigars while discussing candidly what was really
going on behind the scenes in the corporate and political world.


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But there were also glimpses of the steeliness that enabled him to reach the top of the
Russian business greasy pole. Fridman also loves jazz and sometimes invited the press
corps to have dinner at the jazz club on Taganskaya Square to see Igor Butman, Russia’s
most famous contemporary jazz saxophonist. One performance coincided with a minor
scandal after Alfa Bank had reneged on a debt to a Canadian bank and hurt Russia’s
relations with Canada.

“My lawyers said I didn't have to pay, so I didn't,” was his explanation of that outcome. As a
follow up question I asked Fridman if he would sell Alfa Bank, to which he replied: “Sure. If
someone offered me enough money. But I would want a lot of money for Alfa Bank.”

Even the flagship tie-up between TNK and BP ended with raids on the company to drive
out the British management team. In the last board meeting between the TNK-BP’s Russian
director German Khan and its American boss Robert Dudley in June 2008, the latter ran to
the door as Khan reputedly threw his phone at Dudley’s head, and headed to the airport in
June 2008 after a campaign of what he called “sustained harassment”.

Alfa Bank has often been used as a weapon. While the other oligarchs used rigged
government auctions to build up their portfolios, Alfa Bank made aggressive use of the
bankruptcy laws to acquire assets that were then stripped of their chaff and added to the
conglomerate. No one was immune to these attacks, and Fridman is afraid of no-one,
particularly the Yeltsin-era oligarchs, who looked down on him a little as the junior member
of their clique. In his time Fridman has taken on corporate battles and won against telecom
minister and close Putin confident Leonid Reiman, early Putin-era uber-oligarch Oleg
Deripaska – who lost control of Avtobank to Alfa – and, notably, Vladimir Potanin.

This conflict with Potanin came to a head over the privatisation of the state-owned fixed line
telecoms holding Syvaszinvest which was being brokered by the nickel magnate. This was
a mega deal – and one in which US financier George Soros later rued his $1.3bn
investment for a 25% stake as “the worst deal I ever made”. Initially Fridman was supposed
to join Potanin as a partner in the deal, but at the last moment Potanin ousted the Alfa
team. Fridman was furious.

A few years later a small, unknown company called Beta Ekho bought some debt owned by
Russian oil company Sidanco, Potanin’s venture into the oil business. It wasn't very much
debt, but without warning Beta Ekho started bankruptcy proceedings against Sidanco – and
won. Both Aven and Fridman openly and separately admitted to me they were behind the
move, which they had organised out of revenge. Amazingly, BP was a shareholder in
Sidanco and even after losing their investment in the Beta Ekho raid agreed to go into
business with Fridman in TNK BP.

Telecom troubles


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If banking is a means to an end, the business Fridman has been keenest on is telecoms;
his main ambition was to build up a “Vodafone for the East” as he described it to me in an
interview. And as a result Alfa Group went on a shopping spree via its telecoms holding
vehicle Altimo. It bought a 25% stake in MegaFon and a 43.8% stake in Vimpelcom,
Russia’s two largest cellular telecoms; Altimo acquired all of the much smaller
Reservspetsmet; and overseas Altimo owns 29.9% of Golden Telecom (United States),
43.5% of Kyivstar (Ukraine), 13% of Turkcell (Turkey), and all of Bakri Uzbekistan Telecom
and Uzbek-Malaysian Communication (both Uzbekistan).

But ultimately this effort has failed and Fridman has begun unwinding his position in most of
these investments. The problems began with his partner Telenor, which owned a minority
stake in Vimpelcom but a majority stake in Kyivstar. Fridman wanted to merger the two
companies, but Telenor, making good money in Ukraine, didn’t. Typically, Alfa went to war,
freezing Kyivstar’s management in an effort to starve Telenor into submission.

“It's a nightmare,” Trond Moe, the head of Telenor’s Ukraine business told me at the time.
“If we win an injunction in a regional court then by 9am the next day there is a new case in
a new regional court opened against us. Do you know how many regional courts there are
in Ukraine? Over 100!”

Russia’s oligarchs regularly claim their interests and rights have been abused when they
are bringing cases in London, but at home they are adept at turning the judiciary into an
attack weapon – especially when their adversary is a foreign company that is obliged to
actually stick to the letter of the law and a court’s decision.

Fridman’s fight for control of Megafon was even messier and brought him into direct conflict
with the Kremlin. Former Renaissance Capital founding banker Leonid Rozhetskin sold
Fridman an option on a stake in Megafon of questionable validity and a war broke out
between Fridman and telecoms minister Reiman, who was widely believed to own the
company via a trust fund called IPOC domiciled in the British Virgin Islands.

Fridman’s strategy was to embarrass Reiman into backing off by exposing his control of the
company. At the time I received a call from a prominent but semi-retired journalist, who said
he had stumbled across a lot of information on IPOC and its related companies. It was a
hot story and the information I was handed led to a string of exposes on IPOC’s dealings.
As a result of these pieces I was given an interview with IPOC’s official face Jeffery
Galmond in a posh London hotel. Galmond, an eccentric man, danced around the hotel’s
steam room while accusing Fridman of planting the information as part of a black ops
campaign.

Fridman ultimately won the battle and took control of the stake. Reiman was pushed out of
office, and Rozhetskin vanished while lying low at his Latvian seaside house in 2008. His


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remains were found in a forest 30km away in 2012 and the autopsy showed he had been
bludgeoned to death.

Steeled partnerships

Fridman’s college-day original partners Khan and Alexei Kuzmichev, who studied with him
at the Moscow Institute of Steel and Alloys, remain central to the group’s activities. Khan is
now based in London heading up Letter One (L1, a play on the “alpha” naming theme),
which is hunting for a new hydrocarbon investment projects outside of Russia. Kuzmichev
used to run the commodity trading business Crown Resources but now concentrates on A1,
a private equity firm and aggressive acquisition vehicle whose managers told bne
IntelliNews in an interview: “We never lose a case, even if it means we lose money.”

But the managers have been just as important. Russian-born Simon Kukes had experience
of running oil companies in the West and was brought into run TNK before it was merged
with BP. (The group of oligarchic owners sold their 50% in the resultant oil titan to state-
owned Rosneft in 2013 for $28bn.) Alec Knaster ran Alfa Bank for many years. “Our
strategy is to prepare for the next crisis,” he told me in an interview in 1997 during a boom
that many thought was the beginning of Russia’s path to normalcy. The economy collapsed
less than a year later.

Chief amongst Fridman’s close associates is former minister of foreign trade Pyotr Aven,
who is believed to spearhead Alfa Group’s government relations and has personal ties to
President Vladimir Putin and Rosneft CEO Igor Sechin. It’s telling that when Sechin,
probably the second most powerful man in Russia, set his eyes on TNK, the state was
forced to pay through the nose for the company and Fridman was effectively allowed to exit
Russia with the billions of dollars he’d earned from the deal.

Fridman has now effectively exited Russia. His share of the sale of TNK-BP to Rosneft
was reported to be $14bn and Putin ominously said after the deal was concluded: “If the
money was earned legally they can do what they like with it, but I recommend they reinvest
it into Russia.”

The Alfa Group retains many big assets in Russia, chief amongst them the bank and the X5
Retail Group, but clearly Fridman is not yet willing to sell them as no one is willing to pay
the sort of money he wants for them.

But it seems all Alfa’s new investments are going on outside of Russia. Fridman’s wife and
children have been living in Paris for years and his partner Khan has set up shop in London
with L1. Fridman has already invested $1bn of his payout into New York real estate via a
friend of his there.

Ironically, he has been allowed to do this despite Putin’s warning to keep the money in the

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motherland. The fact that he could is a testament to the work that Aven has done behind
the scenes to shore up Alfa political krysha, or protection in government circles.

Today he has a net worth of more than $13bn, according to Forbes. But unlike many of his
peers, who made their children heirs to their empires, Fridman says he doesn’t want his
four children involved in Alfa Group – nor does he plan to leave them money in his will, as
they should create something on their own. “I am going to transfer all my money to charity. I
don’t plan to transfer any money to my children,” Fridman said in 2016.

This profile is part of bne IntelliNews' special cover feature on the top business figures in
Central and Eastern Europe, published in our May magazine. Our correspondents ranked
business leaders in each CEE/CIS country not just on wealth but on influence. The full
magazine can be viewed here. Cartoon by Vladimir Kremlev.




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Oligarch with eye for art, not yachts
Jack, Andrew . Financial Times ; London (UK) [London (UK)]15 July 2017: 2.

  ProQuest document link




FULL TEXT
At home Petr Aven grew up in a communal flat in Moscow. Today he is the billionaire head of Alfa-Bank with a
passion for collecting Russian artwork. He gives Andrew Jack a tour of his Surrey mansion
Petr Aven looks a little uncomfortable framed by the gargantuan scale of his Surrey mansion. He is standing on the
front steps of the three-storey pillared façade, approached up a long winding path from the gatehouse through the
surrounding gardens.
"I would not have bought a house this big," he blurts out quickly, as if apologising. "I was raised in a communal
apartment in Moscow with eight families. Each had just one room, with a shared kitchen and bathroom."
Having trained as an economist in the 1970s, Aven was picked to join the inner circle of politicians around Yegor
Gaidar in 1991 to run Boris Yeltsin's first post-Soviet cabinet of pro-market reformers. He helped shape a radical
and painful policy shake-up in the turbulent Russia of the early 1990s.
In alliance with his business partner Mikhail Fridman in the following years, he went on to build Alfa Group, the
conglomerate that embraced banking, oil and retail. He emerged as one of the country's influential business
"oligarchs" and his wealth today is estimated by Forbes to be $4.5bn.
Yet for a forthright power broker and commercial magnate who thrived in the feral capitalism of Russia and
survived multiple financial and political crises, he seems accepting of the practices and tastes of his adopted part-
time home in the UK. When he and his then wife bought Ingliston House near Virginia Water in 2004 their aim was
to find somewhere comfortable so that their children could attend schools nearby. They acquired an empty plot,
which came with plans already drawn up.
The neo-Palladian, pillared and limestone-faced design resembles other mansions in the gated community
adjacent to Wentworth golf club. They left the design almost unchanged - albeit adding extensive security - since it
had already been approved by the local authority. "You don't easily challenge English planning laws," says Aven
with a grin.
Inside, he took the same hands-off approach to the proposed "Strawberry Hill gothic" decor by Nicky Haslam,
complete with brightly coloured wallpaper and plumped-up sofas. "We didn't want to stop him. The paintings are so
strong that they still work," he says, gesturing to the walls adorned with his passion: art.
Works by Larionov, Goncharova and Kandinsky are among the canvasses on display, part of his extraordinary
collection of late 19th- and early 20th-century Russian art built up in parallel with his business career over the past
quarter of a century.
"It comes from childhood. My father [a computer science professor] didn't buy art, but I wanted paintings around,
like his friends that we used to visit," he says. "I didn't just want to buy art but to create a collection from scratch.
My main satisfaction is to put things in order. I like arranging books on shelves. It gives me enormous pleasure."
His choice was shaped by opportunity. "All the major work of Soviet art is in museums, but you could find
prerevolutionary art," he says. His first purchase was in 1993: a still life by Pavel Kuznetsov from the 1920s, which
cost just $5,000.
Ever since, he has been tracking down works, mostly from the pre-Soviet era, in auctions, from private collections
and sometimes directly from artists' descendants or others who have inherited work. "I never bought a plane or a
yacht. All my money goes into art."

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It is only late morning, but he offers champagne and wine, which a waiter brings into the circular entrance hall on a
tray along with small snacks including smoked salmon served on blinis.
Down one of the two staircases, which wraps around the inner wall to bring visitors into a basement level, Aven
has a collection of lacquered boxes. Yet he is most proud of the cupboards that line the walls: Soviet porcelain
from 1917-41, made in St Petersburg in the former Imperial factory renamed Lomonosov. "It was very cheap to
collect when I started," he says, stating that the collection fascinates him because he sees it as a one-off and less
derivative than paintings of the period. "Russian painting was inspired by Cézanne and Matisse, but Russian
porcelain was original."
Upstairs in his bathroom, he shows off a series of more intimate sketches of female nudes by Vladimir Lebedev
from the 1930s, which he sees as indicative of an unexpected tolerance by the Soviet authorities towards private
life and its portrayal in art at the time.
His office, up a further flight of stairs beneath the roof rafters, is brighter, more relaxed and modern, with
catalogues but fewer works of art. Photographs on one table show him with human rights activist Natan
Sharansky, hunting bears in remote Kamchatka with his business partner German Khan, and with Vladimir Putin.
He is discreet about his own relations with the Russian president and veers the conversation away from politics.
All he will say is that "Alfa had absolutely no connection with Trump". There were claims in a purported intelligence
document published by BuzzFeed suggesting such a connection, an inference that is now the subject of legal
action.
He is also circumspect about Boris Berezovsky, the maverick businessman and politician who was a longstanding
acquaintance. Berezovsky fled Russia in 2000 after falling out with Putin and settled nearby in Virginia Water until
his mysterious death in 2013. Aven says he long ago broke off contact from this "complex figure", but is finishing a
book on "the time of Berezovsky" in the 1990s.
In reality Aven's office is his phone, from which he is inseparable. It rings repeatedly and buzzes still more often
with texts as he moves between his house in Surrey and two others in Russia - in central Moscow and in the
nearby town of Barvikha - as well as in Ukraine, where he manages Alfa-Bank's growing operations.
Outside his Surrey house, the 8.5 acres of green lawns, tended by several gardeners and framed by mauve
rhododendrons, provide plenty of space for large open-air sculptures. Opposite the entrance is Lynn Chadwick's
"Sitting Couple", a nod to Aven and his late wife, who spent most of her time in the UK and oversaw the garden and
the couple's art collections.
At the end of a short path to the right of the entrance courtyard is a giant Soviet border guard sculpted by Aven's
friend Grisha Bruskin. To the left is Louise Bourgeois's mother and daughter spiders, which he says he used to
tease his children with at night.
Overlooking the gatehouse is a giant bear reared up on its hind legs. "Everyone thinks it's Russian, but it's French,
by [François-Xavier] Lalanne," he says.
On one flank of the house, Henry Moore's "Reclining Figure" (see main image), bought for £19m, rests on a plinth. "I
like his passion and the very unusual perception of space, like the Expressionists," he says.
To the rear is a specially commissioned work by Antony Gormley, a hunched up abstract human figure made from
angular pieces of metal that could symbolise DNA. Aven got to know the artist through his work as a trustee of the
Royal Academy's development trust. Thanks to this role and others he now hosts patrons and collectors to show
off his art.
For a number of years, he was reluctant to loan out any of his own works at a time of insecurity over property
rights and difficulties in obtaining insurance and security guarantees.
Now he has greater confidence and enthusiasm for sharing: his works have been lent to the Jewish Museum in
Moscow, the Tate in London, the Museum of Modern Art in New York and recently the Royal Academy for its
Russian art exhibition this year. Others will soon go to New York and Tel Aviv.
"I am lending more and more," he says. "Russian art deserves it." He hopes to be able to persuade the Victoria and
Albert Museum to put on a show based around his porcelain collection. In the future, he dreams of a private

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museum to house his works.
Yet he believes they would be overshadowed by other state collections if it were in Moscow, and in London he
questions whether there would be sufficient interest. Instead, he is considering Riga, for which he retains an
affinity because of his Latvian grandfather.
Russia has changed radically in recent years, and Aven's own personal life has shifted following his wife's death in
2015 and his subsequent remarriage, causing fresh reflection on his cultural interests.
"If I was starting again, I would have done something different," he says. "This was an all-Russian collection. Step
by step it's becoming international. I'm tempted by the connections between 20th-century Italian, German and
Russian art, melded by the forces of totalitarianism."
Andrew Jack is the FT's head of curated content
Favourite thing
Aven chooses "Les maisonnettes rouges" (1922) by Marc Chagall. "I bought this in an auction at Sotheby's in
London in 2015 [the recorded price is £3.3m]," he says. "It turned out I was bidding unknowingly against my
business partner German Khan who had also started to collect works by Russian painters of Jewish origin. The
painting is simultaneously about Russia, the Jewish attitude towards life - that of eternal movement - and of
course it is also of the highest artistic quality."
CREDIT: By Andrew Jack


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BP chief 'poisoned' in Russia plot, claims former
colleague
   telegraph.co.uk/news/2018/04/29/bp-chief-poisoned-russia-plot-claims-former-colleague/

By Robert Mendick, Adrian Gatton




The chief executive of BP was poisoned in a plot believed to have been orchestrated by the
Russian security services, a former employee has told the Telegraph.

Bob Dudley, the American boss of the British oil giant, was forced to flee Moscow after blood
test results indicated he was being poisoned slowly, the ex-employee has claimed.

Rumours that Mr Dudley was poisoned began to circulate in 2014, some six years after he
left Russia in August 2008. At the time, Mr Dudley was a senior executive in BP, running a
highly profitable joint venture called TNK-BP.

But it is claimed by a former employee that the Russian authorities wanted to oust Mr Dudley
and put in place a plan to slowly poison him. Ilya Zaslavskiy, who worked for TNK-BP for four
and a half years, believes only the Russian intelligence agency the FSB had the expertise to
administer a toxin slowly enough to harm Mr Dudley but stop far short of killing him.

The alleged poisoning took place two years after the murder of Alexander Litvinenko, who
was exposed to radioactive polonium-210 in London, and a decade before the attempted

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assassination of Sergei Skripal, who was targeted with nerve agent in Salisbury.

Five years after Mr Dudley left Moscow, TNK-BP was sold to the state-owned Rosneft. In
return BP, by then being run by Mr Dudley, was paid a £12 billion lump sum and given a 12.5
per cent stake in Rosneft.

Mr Dudley shook hands on the deal at a ceremony in Russia, attended by the Russian
president Vladimir Putin.

Mr Zaslavskiy said: “The whole idea was to oust Bob Dudley and about 150 western
managers.”

Mr Zaslavskiy, now head of research at the Free Russia Foundation, an anti-Putin think tank
in Washington, and a fellow with the Chatham House policy institute in London, went on:
“The harassment of Western staff took place on many levels. They followed people; they
broke into their apartments. One was warned it wasn’t safe to return to Russia.

“With Dudley and a few senior managers they also started to open different court cases
against them personally rather than just BP. That was the first hint to Dudley he should get
out. But he wouldn’t. He was stubborn.

“He thought he could run the company because he had the law on his side so he stuck it out
in Moscow.

“This went on for several months and finally they decided to send him a better message by
poisoning his food. Obviously we could never prove who exactly poisoned him.”

Mr Zaslavskiy added: “I was aware of these claims but I had it confirmed in 2016 by a former
colleague who was a close adviser to Dudley. He told me that the poisoning took place in the
summer of 2008. They think the poison was put in Dudley’s food, maybe by somebody inside
the office.

“They did extensive lab tests in Britain and it was confirmed that the poisoning had taken
place in Russia. His blood showed signs of poisoning. I have now had this confirmed by a
good source close to Dudley and I have no reason to doubt it.

“The reason BP wanted to do the tests was Dudley had felt ill. I don’t know the symptoms
but I do know they were sufficient for him to get very concerned. It wasn’t like regular food
poisoning. It wasn’t just once. It was happening over weeks. Initially he couldn’t figure out
what was wrong with him.

“Dudley left Russia secretly and quickly after the diagnosis. He left Moscow by the back
door. He left early in the morning and he left abruptly. He didn’t go back to London office of
BP. He went to a secret location in Europe.”

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Mr Zaslavskiy suggested that the British Government should have stood up to the Kremlin at
the time of the alleged poisoning. Its failure to do so effectively encouraged Moscow to
attack Col Skripal in Salisbury without fear of previous reprisals.

Mr Zaslavskiy added: “This was after the poisoning of Litvinenko. I blame some of this on the
British Government and MI6 for not standing up to the Russians in the first place. It is
absolutely astonishing what British security services allowed the Russians to get away with
back then.

“The poisoning had to be done by professionals to make sure that Dudley did not die. They
just wanted to give him a message. It was definitely done by professionals who could
administer this poison over weeks.

“But who definitely carried out the poisoning, I don’t know. I don’t know the substance. I don’t
know any of that. My source wasn’t open to talk about this.”

BP has declined to comment about the allegation and refuses to say whether Mr Dudley was
or was not subjected to a poison attack.

Last week at a meeting with journalists Mr Dudley was asked what advice he would give to
young executives starting out in the oil business. His response was: “Stay away from
Russia” before adding: “I know there are some friends here from Russia - so - that’s just a
joke. I do enjoy working there. I lived there for nine years with my family.”

A senior BP source said: “TNK-BP was an extremely successful business financially. It was
also extremely noisy at that time. Certainly at various times life was made difficult and it was
difficult to operate. But we are not going to comment whatsoever about Bob.

“Certainly pressure was put on him using regulatory means and things like that. But nobody
will ever comment about these allegations of poisoning.”




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When Trump won, Putin deployed his oligarchs
  politico.com/story/2019/04/18/mueller-report-putin-trump-1282648




 President Donald Trump and Russian President Vladimir Putin in Helsinki on July 16, 2018. The special
    counsel’s report details ways Kremlin intermediaries tried to woo those around Trump. | Brendan
                                     Smialowski/AFP/Getty Images

After an election marred by Moscow's attempts to buoy Donald Trump's candidacy, the
Russian president wanted to cash in.

In December 2016, a few weeks after Donald Trump’s surprise election victory, Russian
president Vladimir Putin convened what a Russian oligarch described as an “all-hands”
meeting with some of his country’s top businessmen. A main topic of discussion: U.S.
sanctions against Russia.

One of the oligarchs present was Petr Aven, co-founder of Alfa Bank, Russia’s biggest
commercial bank. Aven had recently met with with Putin one on one to discuss the sanctions
and what to do about them. Putin said he had been struggling to get messages to Trump’s
inner circle, and urged Aven to take steps to protect his bank from additional U.S. penalties,
according to special counsel Robert Mueller’s report, which details the episode. Aven
perceived that as an order, not a request, according to Mueller, and understood “that there


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would be consequences if he did not follow through.”

Aven quickly understood that his mission was to contact the Trump transition team, and
began an effort to contact Trump’s son-in-law, Jared Kushner.

Mueller’s nearly 450-page report granularly describes this and related episodes, revealing
how Putin explicitly encouraged his country’s wealthiest and most powerful businessmen to
make contact with Trump’s transition team after the election. The directives help explain the
“flurry” of contact the oligarchs made with Trump’s associates in the weeks following the
reality TV star’s unexpected victory, Mueller wrote.

Even though Mueller did not establish any conspiracy between Trump’s team and Russia,
the special counsel’s report shows how important it was to Putin to establish a backchannel
line of communication to Trump’s transition team — and how receptive Trump’s associates
were to the overtures.

“As soon as news broke that Trump had been elected President, Russian government
officials and prominent Russian businessmen began trying to make inroads into the new
Administration,” Mueller’s team wrote in their final report.

In other words, after Trump pulled off his surprise victory in an election marred by Russia’s
attempts to sow discord and buoy Trump’s candidacy, Putin wanted to cash in.

The attempts entailed outreaches “sanctioned at high levels of the Russian government,
through business rather than political contacts.” Putin’s chief concern, according to Mueller,
was getting the incoming Trump administration to roll back the U.S. sanctions hampering the
Russian economy.

Among the oligarchs working to make inroads with Trump was Aven, the co-founder of
Russia’s biggest private financial institution, Alfa Bank; Kirill Dmitriev, the head of Russia’s
sovereign wealth fund; and Sergey Gorkov, the head of the Russian-government owned
bank Vnesheconombank, or VEB.

Two of the wealthy moguls succeeded.

Dmitriev was able to get a Putin-approved U.S.-Russia “reconciliation plan” to Kushner, who
passed it to Secretary of State Rex Tillerson. And Gorkov scored a meeting with Kushner
during the transition period to discuss U.S.-Russia relations, according to Mueller.

Andrew Weiss, the vice president for studies at the Carnegie Endowment for International
Peace, where he oversees research on Russia and Eurasia, called the details of this
outreach “striking.”

“It wasn’t just, 'we need to build bridges for the sake of future dialogue,'” Weiss told

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POLITICO. “It was designed to head off further sanctions and, in Dmitriev’s case, to create a
blueprint for recasting U.S. relations with Russia.”

And although Aven was rebuffed in his overtures, it was not for a lack of effort. At one point,
Aven enlisted an American business associate, Richard Burt, formerly a U.S. ambassador to
Germany, to help get through to Kushner.

According to Mueller, Aven told Burt that “someone high in the Russian government” had
expressed “interest in establishing a communication channel between the Kremlin and the
Trump transition team.”

Burt apparently found Aven’s request odd, but nonetheless approached Dmitri Simes, head
of the Center for the National Interest, a Washington, D.C.-based think tank founded by
Richard Nixon, about setting up a meeting.

But Simes demurred, according to the report, citing the heightened media scrutiny
surrounding Russia’s election interference.

Aven then dropped the matter. Putin didn’t.

The report says the Russian president “continued to inquire about Aven's efforts to connect
to the Trump Administration in several subsequent quarterly meetings.”

Steve Hall, who served as the CIA’s chief of Russian operations during Barack Obama’s
second term, told POLITICO that tasking oligarchs to conduct “hybrid wars and information
operations” is par for the course for Putin.

But Hall, a public critic of Trump’s attacks on the intelligence community, said it is
“inconceivable” that the oligarchs were Putin’s only method of infiltrating Trump’s inner circle.

“He’s going to rely on all the tools in his toolbox to go after these important targets,” he said.

Indeed, Mueller’s report includes a hefty section detailing the myriad ways Kremlin
intermediaries — including fake online personas and others hiding their Moscow links —
tried to woo those in and around the unlikely presidential candidate.

But the document did not address one of the most confounding mysteries that lingers from
the election.

Alfa Bank, the institution Aven co-founded, had a computer server pinging a Trump
Organization server during the 2016 race. The FBI reportedly investigated the pinging and
said there could be an innocuous explanation, but never provided a conclusive reason for
the server activity.



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Still, where Aven failed, Dmitriev seemingly triumphed, using many of the same tactics.

Dmitriev scored meetings with both Erik Prince — an informal Trump campaign and
transition team adviser — and a Kushner friend named Rick Gerson. Dmitriev, who Mueller
says referred to Putin as his “boss,” worked with Gerson on the reconciliation proposal,
implying that Putin had blessed the plan.

The offer apparently involved “jointly fighting terrorism” and “developing ‘win-win’ economic
and investment initiatives.”

The Russian machinations portray “both how real that effort was and how much high-level
buy-in it had within the Kremlin,” said Weiss. “And the fact that Kushner passed this along to
Tillerson suggests that these policies were not a nonstarter — they had the attention of
Trump’s senior-most staff.”

Dmitriev’s intermediary to Trump’s team was George Nader, a business associate who
worked for the United Arab Emirates’ royal court.

Nader began cooperating with Mueller’s team in March 2018 and was given at least partial
immunity for his testimony. Nader told Mueller that Dmitriev pressed him for an introduction
to Kushner and Trump’s son, Donald Trump Jr. Dmitriev, Nader said, wanted Nader to
convey to the incoming Trump administration that Russia wanted “to start rebuilding the
relationship in whatever is a comfortable pace for them.”

According to Mueller, Nader did just that over dinner with Erik Prince in January 2017. Prince
then agreed to meet with Dmitriev in the Seychelles later that month.

In an interview with the House Intelligence Committee, however, Prince characterized that
meeting as an impromptu encounter during an unrelated business trip. “I didn’t fly there to
meet any Russian guy,” he told lawmakers.

He also told Congress that he met Dmitriev by chance at the bar and talked “over a beer.”
According to Mueller, however, the two met in Nader’s villa for 30-45 minutes the same day
Prince arrived. They met again at a restaurant to discuss Russia’s involvement in Libya.

And then there’s Sergey Gorkov, the CEO of Russia’s state-owned Vnesheconombank.

Gorkov secured a meeting with Kushner in December 2016 through Russian ambassador
Sergei Kislyak, who insisted that Kushner meet “with someone who had a direct line to
Putin,” according to Mueller. Kushner told the special counsel that he could not remember
them discussing sanctions, and investigators were apparently unable to establish the true
nature of their conversation.

The meeting, however, like the others, appears to have had Putin’s blessing.

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An investment bank executive who spoke with Gorkov before his trip to New York recalled
Gorkov saying that the Russian president had approved of the meeting — and that he would
be reporting back to Putin upon his return.




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Oligarchs, as U.S. Arts Patrons, Present a Softer Image
of Russia
  nytimes.com/2019/10/06/arts/russia-oligarchs-arts.html

Graham Bowley                                                                       October 6, 2019




Credit...Video by Mark T. Davis

Vladimir O. Potanin, a Russian billionaire who made his fortune in banking and natural
resources, has been a donor and board member of the Guggenheim Museum since 2002.
More recently he gave $6.45 million to the Kennedy Center in Washington, which used some
of the money to install the “Russian Lounge,” a meeting space, in the performing arts
complex created, in part, by Congress. His name is now inscribed on a wall there.

At the New Museum in Manhattan, another wealthy oligarch, Leonid Mikhelson, helped
underwrite a 2011 exhibition through his foundation, which is dedicated to the appreciation of
Russian contemporary art. Two years later, the museum named him a trustee, a position he
held until last year — three years after the company he directs was placed under sanctions
by the United States government.

Fort Ross, a California state historic park that commemorates a 19th-century Russian
settlement in Sonoma County, was struggling in 2010 when Viktor F. Vekselberg, another
oligarch, stepped in to help financially. His foundation continued as a patron until last year,
when sanctions were imposed on him and his company, and the park’s caretakers stopped
taking his money.


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Since the fall of the Soviet Union, rich Russians have emerged as influential patrons of the
arts and Western cultural organizations have often been the beneficiaries. Carnegie Hall, the
Metropolitan Museum of Art, the Art Institute of Chicago, the Brooklyn Academy of Music
and Lincoln Center are among those who have received gifts from moneyed Russians or the
companies they control over the past decade.

Though wealthy patrons have long used the arts to advance their individual tastes and social
standing, much of the Russian giving is different. While the oligarchs also promote their
personal preferences and support a wide range of cultural activities, they often employ
philanthropy to celebrate their homeland, depicting it as an enlightened wellspring of
masterworks in dance, painting, opera and the like.

These patrons have been quite public in their philanthropy, and there is little evidence that
their donations have been directed or coordinated by Moscow. But they all enjoy good
relations with the Kremlin — a prerequisite to flourish in business in Russia — and their
giving fits seamlessly with President Vladimir V. Putin’s expanding efforts to use the “soft
power” of cultural diplomacy as a tool of foreign policy.

The effect, however cultivated, helps burnish the image of a nation whose aggression in
Ukraine and election meddling have led it to be viewed by many as a hostile power.

“When Western publics think about Russia, Putin wants them to think about Pushkin, Tolstoy,
Tchaikovsky,” said Andrew Foxall, a Russia expert at the Henry Jackson Society in London.
“What he does not want Western publics to think about is the actions of his regime that goes
to war with its near neighbors.”

The Russian giving, and the strained relations between the countries, has created something
of a minefield for American cultural organizations, many of which depend on philanthropic
support and embrace shared aesthetic experiences as opportunities for bridge- building. It
presents them with an ethical challenge: are they putting themselves at risk, however
unwittingly, of helping to promote a one-sided view of a country that the United States is
officially sparring with?

Two institutions accepted large donations from an oligarch whose company had been placed
under sanctions by the American government. A third took money from a company that had
been similarly penalized.

In two other cases, the cultural philanthropy was endorsed by the Russian Embassy, which
for years has solicited oligarchs to help it promote Russia in America.

In other instances, from California to Brooklyn, American venues have hosted performances
by Russian troupes whose operations are underwritten by companies or individuals under
sanctions.

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None of the transactions were illegal because the Russian donors were subject to limited
sanctions that only restrict access to financial markets, not full blocking sanctions that
generally freeze their American assets and bar doing business with a United States business
or person. Still, experts said, accepting such donations runs counter to the spirit of United
States policy designed to isolate some Russian interests.

“The whole point of sanctions is to prevent access,” said Alina Polyakova, a fellow at the
Brookings Institution. Yet, because of their wealth, she said, individuals under government
sanctions “are still allowed into these high echelons of cultural power.”

One Russian company employed culture to continue interacting with a high-powered
American audience, even after it had been put under sanctions.

The company, VTB, a Russian-government-owned bank under limited sanctions since 2014,
held two galas at the Kennedy Center. The first, in October 2016, a month before the
American presidential election, featured a special performance by stars of the Bolshoi Ballet.
The VTB logo decorated both the stage and the uniforms of the wait staff, and VTB’s
president, Andrey Kostin, spoke.

Among the people invited were at least two State Department officials, including Daniel
Fried, a senior official responsible for sanctions policy who had already been lobbied by
representatives of the bank. Mr. Fried, as the Center for Public Integrity first reported,
declined the invitation.

“I was not going to the Kennedy Center for a VTB thing and be photographed with them,” he
said in an interview. “The optics were terrible. We are not their friends.”




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                                              Image




      Members of the Bolshoi Ballet appear at a performance at the Kennedy Center in Washington
    that was sponsored by VTB, a Russian bank under sanctions, whose logo appears onstage. The
           image was posted on social media by the company that helps to promote the VTB
                                  brand.Credit...The New York Times

Several of the American arts organizations declined to comment on whether they had given
Russians a platform to spin public perception of their country. The Kennedy Center defended
hosting the galas underwritten by VTB, describing its role as simply a landlord. “The
Kennedy Center rents to all, while providing no judgment on the content or artistic quality of
said events,” said a spokeswoman, Rachelle Roe.

But it also accepted a donation from VTB in 2017. The center said it had recently decided it
would no longer accept money from the bank since its president, Mr. Kostin, was placed
under full sanctions last year.

“The climate has changed since 2016,” said Ms. Roe.

Surprisingly little attention has been paid to these Russian efforts, even as the Kremlin is
accused of using more insidious methods to sway American public opinion and elections.
The United States, of course, also employs cultural diplomacy through a program run out of
the State Department whose preachy use of the Voice of America during the Cold War is
well established. But several experts said the Russian version is more coordinated, more
baldly designed to muddy the discussion at a time when that country is perceived by many to


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be overly aggressive.

Michael R. Carpenter, a former National Security Council adviser to President Obama, said
he had noticed years ago how the oligarchs were using cultural philanthropy to stay in
contact with influential American political, diplomatic and business leaders.

“That access can be used to advance your business interests,” he said, “or the Kremlin’s
interest.”

The cultural diplomacy of Communism
Russia’s rich traditions in ballet, fine art and orchestral music did not disappear during the
days of the Soviet Union. But they became quite insular.

For decades, the production of art was tightly controlled by the state. Censorship was the
norm. The Bolshoi toured, of course, but some of its excursions became threadbare affairs,
its programming at times chained to ideological themes.

That all changed after the fall of Communism as the wealth concentrated in a powerful set of
business leaders fueled an explosion of artistic interest and outreach.

Dmitry Rybolovlev spent $2 billion in a few short years capturing works by the likes of
Picasso and Leonardo.

Mr. Vekselberg, an oligarch, and Mr. Kostin, a banker, joined the boards of the Mariinsky
Theater and the Bolshoi, and helped, either personally or through their companies, to send
them on polished world tours.

The spending evoked an era when 19th-century Russian czars and industrialists were
among the world’s most extravagant arts patrons. Some of the newly rich, after forging
fortunes in hardscrabble industries like natural resources, followed a patriotic impulse to
recapture Russian cultural works smuggled abroad by nobles, sold by the Bolsheviks or
otherwise lost after the revolution.

In 2005, Mr. Potanin’s foundation helped finance an 800-year survey of Russian art, from
icons to 19th-century paintings, called simply “Russia!” at the Guggenheim. Mr. Putin spoke
at the opening.

“Such events,” Mr. Putin said, “are the best and most eloquent way to understand a country
that possesses huge humanistic and spiritual potential, a country such as Russia.”

More recently, Mr. Mikhelson, whose company, Novatek, is under limited sanctions, has
staged exhibitions of contemporary art, often focusing on Russian artists, through his V-A-C
Foundation.

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Helen Weaver, a spokeswoman for Mr. Mikhelson’s foundation, said: “The foundation’s work
is always about building bridges and fostering understanding through culture.”

Several experts on Russia said that the spending by oligarchs can resemble bouquets to Mr.
Putin who is known to smile on efforts to project the national interest abroad.

“That is what you do if you don’t want to do something dirtier,” said Anders Aslund, an
analyst at the Atlantic Council. “You are a patron of culture if you are trying to escape
tougher demands from the Kremlin.”

A spokeswoman for VTB, the bank under limited sanctions, said in a statement “that the
state or its representatives do not influence VTB’s decisions to sponsor museums, theaters,
artistic groups. If we get any requests from state representatives, we review them according
to standard procedure.”

But the Russian government has made clear, as it said in a 2016 statement of principles,
that “‘soft power’ has become an integral part of efforts to achieve foreign policy objectives.”
The following year, the Foreign Ministry created a working group of advisers, including
government officials and corporate executives, “to coordinate steps to strengthen Russian-
American cultural ties, preserve and develop Russian-associated memorial sites and
heritage sites in the United States, and implement relevant future projects,” according to a
document provided to The New York Times by the Russian government.

Its efforts include the commemoration of a Russian site, Fort Elizabeth, on the island of
Kauai, to mark the 200th anniversary of a Russian presence in Hawaii.

Some of the philanthropy was driven by the former Russian ambassador to the United
States, Sergey I. Kislyak. A master networker in Washington, Mr. Kislyak helped arrange Mr.
Potanin’s gift to the Kennedy Center, solicited help for Fort Ross and spurred an American
philanthropist, Susan Carmel, to create an institute at American University that promotes
Russian culture and history.

The ambassador later became entangled in the controversy over Russian meddling in
American affairs. He returned to Moscow in 2017. The embassy he left behind declined to
comment further on questions The New York Times posed about Russia’s pursuit of cultural
diplomacy.

“If the purpose of your article is ‘to investigate,’ rather than to promote Russian-American
cultural ties, I’m afraid we cannot provide you further assistance,” said Nikolay Lakhonin, the
embassy spokesman.

Michael McFaul, the American ambassador to Russia from 2012 to 2014, recalled how Mr.
Kislyak once told him that he had employed Russian culture as a tool to “get deeper into the


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fabric of society” in the United States. Mr. McFaul said he made limited efforts to do the
same in Russia, once helping to bring through the Chicago Symphony, but never with the
kind of resources the oligarchs offered.

“I remember joking with Kislyak when I saw him in Washington that he was able to convince
these major business people to make serious investments,” he said.

Several oligarchs, or the companies they control, help underwrite the operations of the
Mariinsky Theater, which coordinates cultural activities for several troupes that regularly tour
in the West, including the world famous Mariinsky Orchestra. The organization is led by
Valery Gergiev, the master conductor and ally of Mr. Putin, who, as head of state, has met
regularly with the Mariinsky board.

The oligarchs resist the idea that their spending advances a national agenda.

Petr Aven, for example, leads one of Russia’s largest banks and has contributed financially
to exhibitions on Russian art at the Tate Modern and Royal Academy of Arts in London,
where he is also a trustee. The companies he helps direct have also helped underwrite
exhibitions at museums like the Guggenheim.

But a spokesman for Mr. Aven said “he has not funded or contributed art to any exhibition at
the behest of or in coordination with the government of Russia.”

One oligarch’s efforts in the United States
Along the Pacific Coast, a two-hour drive north of San Francisco, visitors to Fort Ross find a
3,400-acre California state park that was once the southernmost Russian settlement in North
America.

The park recreates the 19th-century lifestyle of the Russians who scratched out an existence
by farming and fur-trading long before California became a state. Visitors tour the stockade,
the Russian Orthodox chapel and a windmill like the one used by the settlers. The signs are
in English and Russian, and overhead the flag of the Russian company that once ran the
settlement often flies.

Some exhibits note the contributions of the Alaskans who joined the settlement as well as
the indigenous Kashaya. But when schoolchildren visit, they sometimes dress as Russian
settlers, marching with muskets across the park, shouting in Russian, “Levoy. Levoy. Levoy.”

Left. Left. Left.

“We are working hard not to focus just on the Russian era,” said Sarah Sweedler, who runs
the Fort Ross Conservancy, a nonprofit that helps operate the site, “but Russia is the reason
for the park, after all.”

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It’s certainly the reason Mr. Vekselberg, the oligarch, stepped up at Mr. Kislyak’s request to
create a private foundation, funded by his company, to help the park. The Russian president
at the time, Dmitri Medvedev, attended the signing of the funding agreement with Mr.
Vekselberg and Gov. Arnold Schwarzenegger in California.

Over the next eight years, the foundation donated more than $1.5 million to the park, paying
for projects like the hiring of a bilingual tour guide.

“The contribution is modest,” said Ms. Sweedler, “and the influence they wield on the
program is nonexistent.”

Last year, though, Ms. Sweedler said the conservancy read a Justice Department memo on
sanctions and stopped taking the money. Mr. Vekselberg and his company, Renova Group,
had been among the entities slapped with sanctions by the United States Treasury, which
cited “a key role in advancing Russia’s malign activities,” including its occupation of Crimea,
aggression in eastern Ukraine, support of President Bashar al-Assad in Syria, “attempting to
subvert Western democracies, and malicious cyber activities.”

Some sanctions are based on behavior, but many companies or individuals, like Mr.
Vekselberg, were punished largely because they are viewed as influential supporters of Mr.
Putin who benefit from the actions of his regime.

Mr. Vekselberg, who is fighting the sanctions, declined to be interviewed.

Ms. Sweedler views the Russian investment in Fort Ross as a harmless cultural interaction,
an important counterpoint to saber-rattling. Others see something more deliberate.

“For me it did raise alarm bells,” said Mr. Carpenter, the Russian specialist in the Obama
administration. “Fort Ross was part of a soft power operation.”

Mr. Carpenter said the outpost was important enough to Russia that Sergey Lavrov, the
Russian foreign minister, urged the Americans to turn it into a national park.

Anatoly I. Antonov, the current Russian ambassador to the United States, was exuberant in
his appreciation of Fort Ross after a tour last year. “It feels like in some Washington
buildings, the air is spoiled with anti-Russian sentiment,” he said. “The air is different here.
And people are different, too.”

It is far from the only cultural initiative that Mr. Vekselberg, 62, launched after making his
fortune during the rough and tumble privatization of Russia’s aluminum and oil industries in
the 1990s.

In 2004, he spent about $100 million to secure the return of a collection of imperial Fabergé
eggs and created a museum to showcase them. Though Russia experts do not see Mr.

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Vekselberg as personally close to Mr. Putin, the effort synced with the president’s mission to
bring Russian cultural artifacts back to Russia.

Later, with other oligarchs, he helped build a Jewish Museum and Tolerance Center in
Moscow, saying it would help paint Russia in a different light.

“The average American has developed this stereotype. They have a very wary approach to
Russia, with the story of the evil empire and so forth,” he said at the time. “Americans who
come here to work or visit, often for business, and come to this museum will assess what is
going on in Russia in a different way.”

Mr. McFaul, the former ambassador, said he views Mr. Vekselberg, whose family owns
homes in New York and Connecticut, as one of the more Western-oriented oligarchs. “I do
think he considers himself a bridge-builder between the U.S. and Russia,” Mr. McFaul said.

But there have been rough spots.

Last year, agents for the special counsel Robert Mueller stopped Mr. Vekselberg at an
airport, checked his electronic devices and sought to question him. Mr. Mueller’s team was
interested in Mr. Vekselberg’s contact with Michael Cohen, President Trump’s former lawyer.
The two men had had a meeting at Trump Tower in January 2017, just before President
Trump’s inauguration. Mr. Vekselberg attended the inauguration with his cousin, Andrew
Intrater, an American citizen and major donor to the event.

Prosecutors say Mr. Vekselberg is affiliated with Mr. Intrater’s firm, Columbus Nova, and
were intrigued by $500,000 in payments the company made to Mr. Cohen for what was
described as consulting work.

Mr. Vekselberg has denied being involved in the payments, and said he is only a client of his
cousin’s firm. The investigators have not accused either man of wrongdoing.

Among the organizations that have received financial support from Mr. Vekselberg or his
company are Lincoln Center, Carnegie Hall, the Museum of Modern Art and the Tate Modern
in London.In a 2017 accounting, a Renova official said the company had spent $13.5 million
on “arts and culture” in the nine years ending in 2016.

In many of these settings, the culture being promoted is Russian. Before Renova was hit
with sanctions, for example, it helped fund a series of ballets and an opera in 2015 at the
Brooklyn Academy of Music by the Mariinsky Theater, which the academy described as “the
beating heart of Russian culture.”

Mr. Vekselberg’s company was not the venue’s only Russian patron. A few years earlier, the
Mikhail Prokhorov Fund, named after the billionaire who then owned the Brooklyn Nets,
announced a gift of $1 million to help underwrite an exchange program with the arts

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organization: “TransCultural Express: American and Russian Arts Today.”

In announcing the gift, Mr. Prokhorov said he was happy to “share some of the contemporary
culture of Russia, the place I am proud to call home.”

Catherine Cheney contributed reporting from California and Michael Kolomatsky from New
York. Susan Beachy contributed research.




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DEFENDING THE UNITED STATES
AGAINST RUSSIAN DARK MONEY
           A report by Anders Åslund and Julia Friedlander




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change as long as the Russian elite can use Europe’s infrastructure.” 28 Navalny’s statement is key




                                                           “
to understanding why Russian abuse of Western financial jurisdiction is a foreign policy and
national security concern.



                                                             I have the impression that
                                                             this whole net of one-day
                                                             firms is controlled by one
                                                             group of people.”
                                                             Central Bank of Russia Chairman Sergei Ignatiev
                                                             leaves after the International Monetary and
                                                             Financial Committee (IMFC) meeting during the
                                                             Spring Meeting of the IMF and World Bank in
                                                             Washington, April 20, 2013. REUTERS/Yuri Gripas




Why are Russian offshore funds a risk for the United States?
Anonymous foreign funds are risky for many reasons. 29 They can be used for espionage,
industrial espionage, terrorism, drug trade, human trafficking, illicit arms trade, sanctions evasion,
bribery, disinformation, political interference, money laundering, or simply tax evasion. Usually,
several crimes go together, but without a clear, demonstrable link between a financial asset and
a criminal act, it is difficult for authorities to target them. Why exactly should we be worried about
Russian money in the United States? Presumably, most of the Russian funds held offshore belong
to rich Russian businessmen and the system of economic fealty described in this paper makes it
hard to operate in Russia and remain truly independent. Sophisticated Russian money laundering
practices then exploit weaknesses in the US AML regime. Members of Putin’s inner circle,
themselves often wealthy executives, have been directly implicated in disrupting the democratic
process in the United States. Putting this logic chain together, a threat pattern emerges.
Anonymous Russian money in the United States is substantial, fast-moving, and, in several well-
annotated cases, directed toward political influence.

However, the great concern is the Kremlin forcing big Russian private businessmen to work for it.
On the one hand, these businessmen have a large share of their assets in the West, notably in
the United States. On the other hand, they still have substantial assets in Russia. The Kremlin can
beat them both in Russia by confiscating their Russian assets and in the West through Western
sanctions. Therefore, Russian oligarchs are becoming ever more dependent on the Kremlin the
richer they get, because the Kremlin controls their assets both in the West (indirectly) and in
Russia (directly) and they have more to lose.

The Mueller report offers ample evidence of Kremlin pressure on private businessmen. “Petr
Aven, a Russian national who heads Alfa-Bank, Russia’s largest [private] commercial bank… told
the Office that he is one of approximately 50 wealthy Russian businessmen who regularly meet


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with Putin in the Kremlin; these 50 men are often referred to as ‘oligarchs.’ Aven told the Office
that he met on a quarterly basis with Putin… Aven said that he took these meetings seriously and
understood that any suggestions or critiques that Putin made during these meetings were implicit
directives, and that there would be consequences for Aven if he did not follow through.” 30
Currently, Forbes assesses Aven’s wealth at $5 billion. 31

The Mueller report continues: “According to Aven, at his Q4 2016 one-on-one meeting with Putin,
Putin raised the prospect that the United States would impose additional sanctions on Russian
interests, including sanctions against Aven and/or Alfa-Bank. Putin suggested that Aven needed
to take steps to protect himself and Alfa-Bank.” 32 Thus, Putin threatened Aven and the Alfa
Group, the biggest Russian private business group with total assets of about $50 billion, both
with sanctions from the Russian state and from the United States. The Russian president’s own
threat was implicit but he also implied that he could make the US government sanction Alfa
Group and Aven if they did not obey him. Aven knows Putin very well and has met with him
regularly since 1991.

Another Russian oligarch, Oleg Deripaska, maintained even closer links with the Kremlin and Paul
Manafort, who was then-Republican presidential candidate Donald J. Trump’s campaign manager
for a few months in 2016. Manafort began working for Deripaska in 2005 and Manafort’s
longtime deputy, Rick Gates, explained to the FBI: “Deripaska used Manafort to install friendly
political officials in countries where Deripaska had business interests. Manafort’s company
earned tens of millions of dollars from its work for Deripaska and was loaned millions of dollars
by Deripaska as well.” 33 Deripaska has been close to the Kremlin for over two decades. He has
also been the Kremlin’s main “businessman” in Montenegro, Armenia, and Kyrgyzstan.

A third prominent Russian businessman, to whom the Mueller report devotes twelve pages, is
Kirill Dmitriev, the CEO of the state-owned Russian Direct Investment Fund, a sovereign wealth
fund. Dmitriev has an outstanding professional resume and US background (Stanford, BA;
Harvard, MBA; McKinsey; and Goldman Sachs), and he is Putin’s point man to the US elite. His
efforts to promote Putin’s contacts with the new Trump administration included meetings with
Lebanese American businessman and convicted sex offender George Nader and Blackwater
founder Erik Prince. 34 The Russian Direct Investment Fund is perceived as one of Putin’s slush
funds. Its particular purpose is to develop relations with top US businessmen.

A fourth Russian businessman whom the Kremlin sent to seek contacts with the Trump
administration was Sergey Gorkov, CEO of VEB, a Russian state-owned funding institution. VEB is
another less sophisticated, but much bigger, Putin slush fund. Gorkov met with Trump’s son-in-
law, Jared Kushner, in New York in December 2016 after the elections. The Mueller investigation
did not identify any evidence of anything substantive to have transpired during the Gorkov-
Kushner meeting. 35 Soon afterward, in May 2018, Gorkov was sacked, which might indicate that
he had failed in his endeavor.




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